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 1                     UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF CALIFORNIA
 3                            OAKLAND DIVISION
 4
 5   - - - - - - - - - - - - - - - -
 6   PAULINE VELEZ,                        )
 7                  PLAINTIFF,             ) CASE NO.
 8   V.                                    ) 20-CV-5170 KAW
 9   DEPARTMENT OF VETERANS AFFAIRS, )
10                  DEFENDANT.             )
11   - - - - - - - - - - - - - - - -
12
13
14
15                     DEPOSITION OF PAULINE VELEZ
16                       THURSDAY, APRIL 29, 2021
17
18
19
20
21                      BEHMKE REPORTING AND VIDEO SERVICES, INC.
22                         BY:   CYNTHIA F. DAMMANN, CSR NO. 10610
23                                     455 MARKET STREET, SUITE 970
24                                  SAN FRANCISCO, CALIFORNIA 94105
25                                                      (415) 597-5600

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 7
 8             Deposition of PAULINE VELEZ, taken on behalf
 9   of DEFENDANT, via Zoom videoconference, with the
10   witness located in Berkeley, California, commencing at
11   9:51 A.M., THURSDAY, APRIL 29, 2021, before Cynthia F.
12   Dammann, Certified Shorthand Reporter No. 10610,
13   pursuant to Notice.
14
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 1   APPEARANCES OF COUNSEL:
 2   FOR PLAINTIFF:
 3           HOYER & HICKS
 4           BY:   RICHARD HOYER, ATTORNEY AT LAW
 5                 (VIA VIDEOCONFERENCE)
 6           4 Embarcadero Center, Suite 1400
 7           San Francisco, California 94111
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 9           E-mail:    Rhoyer@hoyerlaw.com
10
11   FOR DEFENDANT:
12           U.S. DEPARTMENT OF JUSTICE
13           UNITED STATES ATTORNEY'S OFFICE
14           BY:   VALERIE E. SMITH, ASSISTANT U.S. ATTORNEY
15                 (VIA VIDEOCONFERENCE)
16           1301 Clay Street, Suite 340S
17           Oakland, California 94612
18           Telephone:    (510) 637-6985
19           E-mail:    Valerie.smith2@usdoj.gov
20
21   ALSO PRESENT - (VIA VIDEOCONFERENCE):
22           COLEEN WELCH, ESQ., DEPARTMENT OF VETERANS AFFAIRS
23           FLYNN HUNTLEY, ZOOM MODERATOR
24
25

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12                              PAGE     LINE
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 1                 THURSDAY, APRIL 29, 2021; 9:51 A.M.
 2
 3                             PAULINE VELEZ,
 4      having been first duly sworn, testified as follows:
 5              THE WITNESS:   I do.
 6                                  -oOo-
 7                              EXAMINATION
 8   BY MS. SMITH:
 9        Q.    So good morning, Dr. Velez.     My name is Valerie
10   Smith.     I represent the defendant in this action that
11   you've brought which is pending in the Northern
12   District of California.      The purpose of today's
13   deposition is for me to ask you questions about the
14   underlying incidents and allegations that form the
15   basis of your complaint.
16              Before we get into substantive questions, I
17   want to go over some rules with you, and I do this for
18   everyone.     And so going forward, I ask that you give
19   verbal responses.     We have a court reporter here whose
20   job is to record every answer and question, so please
21   do not give responses of "uh-huh" or shake your head.
22   She cannot transcribe those.
23              Do you understand?
24        A.    Yes.
25        Q.    Please keep your voice up and speak clearly so

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 1   that the court reporter can transcribe you accurately.
 2              Do you understand?
 3        A.    Yes.
 4        Q.    Okay.   If you do not hear a question
 5   completely -- I know things happen on Zoom -- please
 6   ask me to repeat it.      Otherwise, I will assume that you
 7   heard my question.
 8              Do you understand?
 9        A.    Yes.
10        Q.    Okay.   If there's a question that I ask that
11   you do not understand, please let me know and I will
12   try my best to rephrase the question.
13              Do you understand?
14        A.    Yes.
15        Q.    Unless you tell me otherwise, I will assume
16   that you have understood and heard my question.
17              Do you understand?
18        A.    Yes.
19        Q.    If you don't know the answer to a question,
20   please do not guess.      Tell me that you do not know.
21              Do you understand?
22        A.    Yes.
23        Q.    I only expect you to testify to events that you
24   remember.     If I ask you a question and you don't
25   remember, please tell me that you do not remember.

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 1              Do you understand?
 2        A.    Yes.
 3        Q.    Okay.   Please wait for me to finish my question
 4   completely before you answer so that the court reporter
 5   can fully transcribe the question and the answer.
 6              Do you understand?
 7        A.    Yes.
 8        Q.    Okay.   Do you understand that you have taken an
 9   oath to tell the truth today during this deposition?
10        A.    I do.
11        Q.    Okay.   And do you understand that that is the
12   same oath that you would take if we were in the
13   courtroom?
14        A.    I understand.
15        Q.    Okay.   If you realize that something is
16   inaccurate or an earlier answer was inaccurate or
17   incomplete, please let me know and I'll give you the
18   chance to make that correction.
19              Do you understand?
20        A.    Yes.
21        Q.    You may also request the right to review a copy
22   of today's transcript.      After your review you may
23   correct any errors that you find in the transcript.
24              Do you understand?
25        A.    Yes.

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 1        Q.    And if you make changes to the transcript, I
 2    will be able to comment on those changes if this case
 3    goes to trial.
 4              Do you understand?
 5        A.    Yes.
 6        Q.    Okay.   If you need to take a break, please let
 7    me know.    That's fine.    I ask though that if there's a
 8    question pending, that you answer the question before
 9    we take a break.
10              Do you understand?
11        A.    Yes.
12        Q.    Okay.   And do you fully comprehend English?
13        A.    I hope so.
14        Q.    Okay.
15        A.    Yes.
16        Q.    Just so the court reporter gets your answer,
17    yes?
18        A.    Yes.
19        Q.    Okay.   And so you understand the rules of the
20    deposition that we've just gone over?
21        A.    I do.
22        Q.    Okay.   Is there any reason why you cannot
23    testify truthfully and accurately today?
24        A.    No.
25        Q.    Okay.   Do you have any physical or mental

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 1    condition that could interfere with your ability to
 2    testify today?
 3        A.    No.
 4        Q.    Do you have any physical or mental conditions
 5    that impair your memory?
 6        A.    No.
 7        Q.    Okay.   Have you taken any medications,
 8    prescription or over the counter, in the last 24 hours?
 9        A.    No.
10        Q.    Have you failed to take any medications in the
11    last 24 hours that you should have taken?
12        A.    No.
13        Q.    Have you consumed any alcohol in the last
14    24 hours?
15        A.    Yes.
16        Q.    Okay.   And when did you consume that alcohol?
17        A.    Last night.
18        Q.    Okay.   And how much?
19        A.    Maybe a quarter of a cup of wine.
20        Q.    Okay.   Do you believe that consuming a quarter
21    of a cup of wine last night will affect your ability to
22    testify truthfully and accurately today?
23        A.    No.
24        Q.    And did you use any drugs such as narcotics or
25    marijuana in the last 24 hours?

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 1        A.    No.
 2        Q.    So as you know, we're conducting this
 3    deposition via video.      And you are currently in
 4    Berkeley, California?
 5        A.    Yes, I am.
 6        Q.    Is anyone in the room with you right now?
 7        A.    Mike is going in and out since this is a shared
 8    office.
 9        Q.    Okay.
10        A.    My husband.
11        Q.    And are you reading -- I'm sorry?
12        A.    I also -- there's a housekeeper that works
13    today, and so I told her to stay away from this room,
14    but she's in the area.
15        Q.    Okay.   And are you reading or reviewing
16    anything?
17        A.    No.
18        Q.    Okay.   And do you have any Internet browsers or
19    other documents in front of you?
20        A.    No.
21        Q.    Okay.   Unless a document is provided to you by
22    the court reporter, please do not pull it up.
23        A.    Okay.
24        Q.    And you're represented by Richard Hoyer here
25    today?

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 1        A.    Correct.
 2        Q.    And he is an attorney from Hoyer & Hicks?
 3        A.    I assume so.   I haven't checked where he's an
 4    attorney, but I know his name is Mr. Hoyer.
 5        Q.    Okay.   And when did you first meet Mr. Hoyer?
 6        A.    I don't remember exactly.      Several months ago.
 7        Q.    Within the last year?
 8        A.    Correct.
 9        Q.    And how did you become aware of his law firm or
10    Mr. Hoyer specifically?
11        A.    Through an Internet search.
12        Q.    Did anyone -- did an individual recommend him
13    or just through the Internet?
14        A.    Through the Internet.
15        Q.    Did anyone -- sorry.     Let me rephrase that
16    question.
17              Did you ever retain him before?
18        A.    No.
19        Q.    Okay.   Has anyone else represented you on this
20    matter other than Mr. Hoyer and his firm?
21        A.    No.   My husband helped me with the original
22    stuff but not -- no one's represented me otherwise.
23        Q.    And is your husband an attorney?
24        A.    No.   He's a physician.
25        Q.    Okay.   So he would not have represented you.

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 1        A.    Okay.   I don't understand the language.
 2        Q.    That's okay.   If you need clarification, please
 3    ask for clarification if you don't understand my
 4    question and I can rephrase it for you.
 5        A.    Yeah, no.   The technicalities, I'm sure that
 6    the word "retain" means different things to a lawyer
 7    than to the rest of us.
 8        Q.    Did you meet with your attorney, whether by
 9    phone, Zoom, or in person, to prepare for your
10    deposition today?
11        A.    We met to review that it was happening.
12        Q.    Okay.   And when did you meet?
13        A.    Monday this week.
14        Q.    And you don't have to tell me about the
15    substance of your conversation.       That's attorney-client
16    privilege.
17              How long did you meet for?
18        A.    Approximately 15 minutes.
19        Q.    Okay.   And who was present during that meeting?
20        A.    Mr. Hoyer and his assistant, Nicole.
21        Q.    Okay.   And did you review any documents or
22    videos regarding the subject of this lawsuit in
23    preparation for this deposition?
24        A.    No.
25        Q.    Other than an attorney, have you discussed this

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 1    lawsuit with anyone?
 2        A.    No.    Some other -- not discuss the lawsuit, no.
 3        Q.    Okay.    What about your husband?
 4        A.    Well, yes.   He helped me prepare the lawsuit.
 5        Q.    Okay.    And when you say helped you prepare the
 6    lawsuit, what do you mean by that?
 7        A.    Well, we sat down and wrote it and read the
 8    regs and figured out what had to be submitted when and
 9    what documents needed to be submitted.
10        Q.    And did he help you prepare the complaint?
11        A.    I assume so.   We discussed it, and then we
12    wrote it and edited it together.
13              MR. HOYER:   Well, I'm going to caution the
14    witness not to reveal confidential communications with
15    her husband.
16    BY MS. SMITH:
17        Q.    And --
18        A.    Okay.
19        Q.    -- does he know you're being deposed today?
20        A.    Yes.
21        Q.    Okay.    And did you talk to him about today's
22    deposition?
23        A.    Only to the extent that it was happening.
24        Q.    Okay.    Did you take any notes during those
25    conversations with your husband?

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 1        A.    No.
 2        Q.    Okay.   And did you take any notes during your
 3    conversations with your attorney?
 4        A.    No.
 5        Q.    Okay.   Other than your husband and counsel, did
 6    you speak about today's deposition with anyone else?
 7        A.    No.   I put that I was on annual leave on my
 8    calendar.
 9        Q.    Okay.   And other than your husband and counsel,
10    your attorney, did you talk to anyone about the lawsuit
11    that you brought?
12              MR. HOYER:   Vague as to time.
13              THE WITNESS:    I'm not sure what you mean by
14    that.
15    BY MS. SMITH:
16        Q.    Did you discuss the substance of your lawsuit
17    with anyone other than your attorney and your husband?
18              MR. HOYER:   Vague as to time.
19              THE WITNESS:    I still don't really understand,
20    like, what or when.      I mean, it's -- I've discussed
21    with other individuals in the organization that I was
22    upset at the actions but not about --
23    BY MS. SMITH:
24        Q.    Okay.   And did you inform them that you were
25    filing a lawsuit?

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 1        A.    Yes.
 2        Q.    Okay.   Who did you inform that you were filing
 3    a lawsuit?
 4        A.    Various people in the organization -- I can't
 5    really remember -- when they'd ask me about how I was
 6    responding to the action.
 7        Q.    Okay.   But who specifically did you inform that
 8    you were filing a lawsuit within the organization?
 9        A.    I would think that -- I wouldn't be able to
10    tell you all of the people, but I know that some of the
11    people that are close to me, such as my secretary,
12    Cheryl Marshall, is aware.      The admin individual that I
13    used to work with, Martha Figueroa, would know and
14    probably -- I would assume that Derrick Shelton knows.
15    I would think that Gloria Salter knows, but I don't --
16    I can't think of other people.
17        Q.    That you would have told?
18        A.    Yeah.   And "told" is a strong word.      They're
19    aware.
20        Q.    Okay.   And did you discuss the substance of the
21    lawsuit with Cheryl Marshall?
22        A.    No, not details.
23        Q.    Okay.   Did you discuss the substance of the
24    lawsuit with Martha Figueroa?
25        A.    Same answer.

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 1        Q.    And did you discuss the substance of the
 2    lawsuit with Derrick Shelton?
 3        A.    No.
 4        Q.    What about Gloria Salter?
 5        A.    No.
 6        Q.    Okay.   Have you written or emailed anyone other
 7    than your attorney regarding the allegations of this
 8    lawsuit?
 9        A.    Not that I remember.
10        Q.    Do you have any handwritten notes or documents
11    regarding the allegations of this lawsuit?
12        A.    Not -- perhaps I've written them when I met,
13    like, with Mr. Stockwell, but I don't know that I have
14    them, you know.     I sometimes doodle things on a piece
15    of paper but not that I have compiled.
16              MS. SMITH:   So I'm going to ask for production
17    of any of those documents, Mr. Hoyer, and just request
18    that she do a thorough search in order to determine
19    whether or not they exist.
20              MR. HOYER:   Okay.   We'll -- I'll wait for a
21    request from you.
22              MS. SMITH:   I'll follow up in writing,
23    Mr. Hoyer.
24    BY MS. SMITH:
25        Q.    So are there any photographs -- I have to ask

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 1    this question to make sure that I've exhausted my
 2    search for documents, Dr. Velez.
 3               Are there any photographs related to the
 4    lawsuit?
 5        A.    No.
 6        Q.    Okay.   Are there any text messages regarding
 7    the substance of this lawsuit?
 8        A.    Not that I remember.
 9        Q.    Okay.   I just request that you do a search to
10    make sure that we've obtained that information, and
11    I'll follow up in writing with your counsel.
12        A.    Let me ask you a question.      By a statement like
13    "the substance of this lawsuit," what do you mean?
14        Q.    I mean discussing the allegations, the factual
15    allegations.
16        A.    The answer to that is no.
17        Q.    Okay.   And so can you just provide for us your
18    full name on the record?
19        A.    Pauline Mercedes, like the car, Velez,
20    V-e-l-e-z.
21        Q.    I was just thinking the other day how much I
22    like your middle name.
23        A.    Well, it's been handed down from at least five
24    generations of women.
25        Q.    Do you have any nicknames?

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 1        A.    No.
 2        Q.    And have you ever been -- I'm sorry.       Go ahead.
 3    I didn't mean to cut you off.
 4        A.    My mother calls me Polo, P-o-l-o, but that's
 5    not -- it's not a widely, you know --
 6        Q.    Okay.   Have you ever gone by any other names?
 7        A.    In Spanish Paulina, not Pauline, but no other
 8    name.
 9        Q.    Okay.   Just so we have a complete record,
10    what's your date of birth?
11        A.    June 7th,
12        Q.    Have you ever given any other date of birth as
13    yours?
14        A.    No.
15        Q.    Okay.   And we can just -- I'm going to ask you
16    what your social security number is, but for the
17    purposes of the record we can just put the last four.
18        A.    So I never remember unless I write it, so I
19    will write it down on a piece of paper.
20        Q.    Okay.   Thank you for telling me what you're
21    doing.    I appreciate that.
22        A.    All right.   It's
23        Q.    Okay.   Have you ever used any different social
24    security number?
25        A.    No.

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 1        Q.    Where were you born?
 2        A.    Indiana, a town called Angola in Indiana.
 3        Q.    And you're a U.S. citizen?
 4        A.    Correct.
 5        Q.    Okay.   What -- what do you consider to be your
 6    national origin?
 7        A.    Columbian.
 8        Q.    And -- sorry.    I had feedback.    What race do
 9    you identify as?
10        A.    Hispanic.
11        Q.    What gender do you identify as?
12        A.    Female.
13        Q.    Have you ever been convicted of any crimes?
14        A.    No.
15        Q.    Other than this case, have you been a plaintiff
16    in a civil lawsuit before?
17        A.    Yes.
18        Q.    How many times?
19        A.    Once.
20        Q.    Okay.   And when was that lawsuit filed?
21        A.    I don't remember.    Approximately 2000.
22        Q.    Okay.   Where was that case filed?
23        A.    So let me just tell you that I filed an EEO
24    complaint against the Air Force and the VA, and those
25    records should be available, but I do not remember the

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 1    exact dates of any of that.
 2        Q.    Do you know what court it was filed in?
 3        A.    No.
 4        Q.    Do you -- was it the same court that this case
 5    was brought in or different, or do you not remember?
 6        A.    I don't remember.    I remember a courthouse in
 7    downtown San Francisco, but I don't remember.         I don't
 8    remember which court.
 9        Q.    That does help narrow it down, believe it or
10    not.
11              Did you have an attorney for that action?
12        A.    Yes.
13        Q.    Who was that?
14        A.    Oh, I don't remember his name, but it was from
15    the Minami & Wu firm in San Francisco.        Jack, Jack.
16    His name was Jack Lee.
17        Q.    Okay.   And other than you, the Air Force, and
18    the VA -- when you say "VA" you're referring to
19    Department of Veterans Affairs?
20        A.    Correct.
21        Q.    Okay.   So going forward you can use the
22    abbreviation VA when referring to the Department of
23    Veteran Affairs.
24        A.    Okay.
25        Q.    Okay.   Other than you, the VA, and the Air

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 1    Force, were there any other parties to that lawsuit?
 2        A.    Not that I know of.
 3        Q.    Okay.   And were you deposed in that case?
 4        A.    Yes.
 5        Q.    And did you give testimony in court in that
 6    case?
 7        A.    Yes.
 8        Q.    What was the outcome of that lawsuit?
 9        A.    Mostly in my favor.
10        Q.    What do you mean by that?
11        A.    What I remember -- and like I said, it's very
12    vague at this point in my memory -- there were several
13    allegations and the jury was -- I won the -- a couple
14    of them and didn't on a couple of others I guess is the
15    best way for me to explain it.
16        Q.    With regards to the allegations brought against
17    the VA, what happened to those claims?
18        A.    The VA settled relatively quickly, and so
19    the -- what went to court was only with the Air Force.
20        Q.    Okay.   Thank you for clarifying that.
21              Have you ever been a defendant in a civil
22    lawsuit?
23        A.    That's a hard question for me to answer because
24    I don't really understand what being a defendant is.
25    I've had to testify.     I have been accused of other EEO

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 1    activity or employment lawsuits, but nothing that has
 2    gone to court.
 3        Q.    Has a -- sorry.    If you want me to clarify,
 4    would that help?
 5        A.    Please.
 6        Q.    Okay.   Has someone ever brought a lawsuit, a
 7    complaint against you?
 8        A.    I think that's what I was trying to answer is
 9    that people have filed complaints.        I have never ended
10    up in court with that situation.
11        Q.    Okay.
12        A.    So I don't know what that means.
13        Q.    When you say "other situations," are you just
14    referring to EEO and work actions?
15        A.    Yes.    Work actions and then also with patient
16    actions.
17        Q.    Okay.
18        A.    So I've been involved in cases where -- I was a
19    trauma surgeon at Highland, and I was -- did trauma at
20    UC Davis as well.     So there have been -- there were
21    several occasions where I ended up in court because
22    somebody was alleging something and I -- but I don't
23    know what -- generally we ended up getting bundled as
24    "the hospital" since there would be about seven or
25    eight or nine or ten of us, but not that were involved

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 1    in the care of a particular patient.
 2        Q.    Okay.
 3        A.    So that's why I'm having a hard time clarifying
 4    what does that mean.     So I've testified in court, but
 5    I've never been found to be, you know, singly
 6    responsible, at least in medicine, such that my name
 7    gets reported to the National Data Practitioner Bank or
 8    that there's a lawsuit personally against me.
 9        Q.    Okay.   So you have testified in court.
10              Has a court ever found you not credible?
11        A.    No.
12        Q.    Has a court ever ruled on your credibility?
13        A.    No.
14        Q.    Okay.
15        A.    Not that I know of.
16        Q.    So other than testifying in court related to
17    your prior EEO action with the Air Force and the VA and
18    testifying in court for actions related to your -- a
19    medical practice, is there any other testimony that
20    you've provided in court?
21        A.    No.
22        Q.    Okay.   And did you provide depositions in those
23    actions related to your medical care?
24        A.    A few times.
25        Q.    Okay.   How many times have you been deposed?

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 1        A.    I don't remember.
 2        Q.    More than five times?
 3        A.    I would think so because I've been deposed for
 4    medical things starting when I was in my twenties.
 5        Q.    Okay.   To the best of your ability, can you
 6    approximate how many times you've been deposed?
 7        A.    Oh, a dozen times.
 8        Q.    I do know that's an approximation.       Okay.
 9              Have you ever had a lawsuit brought against you
10    by the Department of Treasury for tax purposes?
11        A.    Oh, I don't know.
12        Q.    What do you mean you don't know?
13        A.    Is this like an IRS thing?
14        Q.    Correct.
15        A.    Oh, we've had a couple of audits.       I don't know
16    if that's what you're talking about.
17        Q.    Okay.   And did you ever end up in court
18    regarding any of those audits?
19        A.    Not that I remember.
20        Q.    Has there ever been a lawsuit where they allege
21    that you improperly claimed money was spent on special
22    education of an autistic child as a business expense?
23        A.    Oh, yeah.   That's -- we have an autistic child
24    and -- yes, that -- there's probably -- there's --
25    there was some to-do about that with the IRS.         My

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 1    husband handled most of that, but since we file
 2    everything jointly, I'm sure I was named in it.
 3        Q.    Okay.   Did you ever testify in that?
 4        A.    Not that I remember, no.
 5        Q.    Okay.   Do you know what the outcome of that
 6    matter was?
 7        A.    No.
 8        Q.    Okay.   Other than what we've discussed, are
 9    there any other lawsuits that you've been a party to?
10        A.    Not that I remember.
11        Q.    Have you ever been a third-party witness in a
12    civil lawsuit?
13        A.    What does that mean?
14        Q.    Meaning you're there testifying on behalf of
15    either the plaintiff or the defendant.
16        A.    Is that what you -- I don't -- I don't know.
17    If some of the depositions that I've had have been as a
18    third party, I wouldn't know the difference.
19        Q.    Okay.   Have you ever filed for bankruptcy?
20        A.    No.
21        Q.    Have you taken out any loans based on a
22    possible monetary recovery in this case?
23        A.    No.
24        Q.    Does any person or company have a lien against
25    any monetary recovery in this case?

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 1        A.    No.
 2        Q.    Have you assigned the rights you may have in
 3    connection with this lawsuit to anyone?
 4        A.    No.
 5        Q.    And other than the EEO claim involving the Air
 6    Force and the VA, have you brought any other lawsuits
 7    against U.S. government or government agency?
 8        A.    No.
 9        Q.    What's your current address?
10        A.


12        Q.    And how long have you lived there?
13        A.    Well, probably about close to 30 years.        My
14    oldest son is 28, and I was here about a year before
15    that.
16        Q.    And do you live with anyone else?
17        A.    Oh, yeah.   Husband, daughter, son, sometimes
18    others.
19        Q.    Did you discuss the lawsuit with your son?
20        A.    He's autistic.    He wouldn't -- he wouldn't
21    understand if I tried to discuss it.
22        Q.    So no?
23        A.    No.
24        Q.    Okay.    And what about your daughter, have you
25    discussed the substance of your lawsuit with your

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 1    daughter?
 2          A.    No.
 3          Q.    Okay.   If we could have Exhibit 1, what's been
 4    premarked Exhibit 1 shown to the witness.
 5          A.    How is it going to come up?
 6          Q.    They'll put it on your screen for you.
 7          A.    Okay.
 8          Q.    And then they can give you access to scroll
 9    through it or they can give me access to scroll through
10    it.    You can look at it and tell me when you're done
11    with page 1 and I can scroll to the next page.
12          A.    Okay.
13          Q.    Behmke, if you could please pull up Exhibit 1.
14                (Whereupon Exhibit 1 was shown to the witness.)
15    BY MS. SMITH:
16          Q.    Dr. Velez, would it be easier for you to be
17    able to scroll it, or do you want to tell me once
18    you've had the opportunity to look at page 1 and I
19    scroll through it?
20          A.    Oh, it's easier for me to scroll through it,
21    obviously.
22          Q.    Thank you.   I think you should have control to
23    be able to scroll through it.
24          A.    Doesn't look like -- oh, maybe.    Yeah.    Okay.
25          Q.    So why don't you take a minute.    It's an 8-page

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 1    document.      Take a minute to look through it and let me
 2    know when you're done so I can start asking you
 3    questions.
 4          A.    (Witness reviews document.)    Okay.
 5          Q.    So you've had the opportunity to review what's
 6    been marked as Exhibit 1.
 7                Did you prepare this document?
 8          A.    I would think so.   I -- I have a file, as does
 9    my secretary, and sometimes either one of us updates
10    it.
11          Q.    Okay.   And what is this document?
12          A.    This is my curriculum vitae.
13          Q.    Is it complete and accurate?
14          A.    Well, there's a few things that have been added
15    since this.
16          Q.    And what specifically are you indicating has
17    been added since this document was provided to me?
18          A.    I now run the vein service at UCSF.
19          Q.    Okay.   Anything else?
20          A.    I don't think -- in the COVID time, I haven't
21    done any presentations.
22          Q.    Okay.   I just will demand that an updated copy
23    be provided to us.      I'll follow up with your counsel.
24          A.    Okay.
25          Q.    How long have you been running the vein service

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 1    at UCSF?
 2          A.    Since July of 2020.
 3          Q.    Okay.   And other than that, is there anything
 4    else that's missing from this document?
 5          A.    Not that I can see.
 6          Q.    Okay.   Now, if you could scroll to your
 7    experience related to your employers.        Okay.   Thank
 8    you.    So we're on page 2, and it goes on to page 3 of
 9    this exhibit for professional experience.
10                In relation to any of these other employers,
11    have you ever been subject to discrimination,
12    retaliation, or disparaging remarks as to those other
13    jobs?
14          A.    No.   Most of these individuals are not
15    employers.        I worked there, but they did not employ me.
16          Q.    What do you mean by that?
17          A.    My salary was paid by the VA, and I was not --
18    they did not pay me a salary, such as -- for instance,
19    the Queens Hospital in Honolulu, I was operating on
20    veterans with a contract at Queens Hospital, so I had
21    privileges at Queens Hospital, but they did not employ
22    me.
23          Q.    Okay.   You did not receive compensation for
24    your work done there?
25          A.    Correct.

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 1          Q.    So let me rephrase the question.
 2                Have you ever been subject to discrimination,
 3    retaliation, or disparaging remarks at any other job?
 4          A.    No.
 5          Q.    And that's other than the Air Force
 6    allegations?
 7          A.    That was your original question, the Air Force
 8    and the VA.
 9          Q.    So if you can scroll down to the beginning of
10    your professional experience, I believe it's on page 3.
11          A.    Here it says "Professional Experience."      I
12    don't know what page -- there's no page numbers on
13    here.
14          Q.    It's the PDF page at the very top.     If you
15    could just scroll down.      We're going to go back to the
16    earliest in time.
17          A.    Oh, I see.
18          Q.    So where are you currently employed?
19          A.    At VA Northern California.
20          Q.    Okay.   And when did you begin working at the
21    VA?
22          A.    That's also somewhat ambiguous.    So as a
23    resident I was employed by the VA.        That would have
24    been starting in 1985, but that was not a full-time
25    employment at the VA.

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 1        Q.    Okay.   When did you become a staff surgeon at
 2    the VA?
 3        A.    In 1990.
 4        Q.    What were you a staff surgeon -- did you
 5    specialize in something?
 6        A.    I did -- at that point I was doing laparoscopy,
 7    thoracic, and vascular surgery.
 8        Q.    Okay.   And since 1990, have you ever left the
 9    employ of the VA?
10        A.    Completely left, no.     I've taken breaks but not
11    completely left.
12        Q.    Okay.   How long -- so I'm just looking at --
13    from 1990 to 1992, it indicates staff surgeon, vascular
14    surgery section, Martinez VA Medical Center.
15        A.    Correct.
16        Q.    How -- what was your next position after that
17    within the VA?
18        A.    I was acting chief -- well, I changed -- I
19    think actually in this area -- and I don't know how
20    it's documented or if it is here, yeah.        Acting chief
21    of surgical service starting in 1992.
22        Q.    Okay.   And what was -- what region was that
23    for?
24        A.    VA Northern California.
25        Q.    And was this considered to be a promotion?

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 1        A.    I guess so.
 2        Q.    How did you become acting chief?
 3        A.    The hospital closed and most of the surgeons
 4    left the organization and somebody had to rebuild it,
 5    so I stayed and built it.
 6        Q.    Okay.   Did you have to go through a selection
 7    process to become the acting chief?
 8        A.    No.   The chief of staff asked me if I would be
 9    the acting chief.
10        Q.    Okay.   It indicates on your résumé that you
11    were in that position from 1992 to 1999.
12              Why did you leave this position?
13        A.    I was acting chief, which meant that in 1999
14    they recruited and selected a permanent chief.
15        Q.    Did you hold any other positions within the VA
16    simultaneous to this position?
17        A.    I'm not sure that there was another position to
18    hold at that point.
19        Q.    Okay.   If you could just scroll up.
20        A.    To where?
21        Q.    Actually, Behmke, if I could have control, it
22    will be easier.     I can go ahead and direct Dr. Velez's
23    attention to a specific section.       Thank you.
24              It indicates that -- I'm just going to direct
25    your attention here where -- just below assistant chief

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 1    on page 3 it says staff surgeon vascular surgery
 2    section, San Francisco VA Medical Center, 1996 to
 3    present.
 4          A.    Correct.
 5          Q.    As a staff surgeon at the San Francisco VA
 6    Medical Center, who was your supervisor?
 7          A.    Currently, it's Warren Gasper.    Initially, it
 8    was Joseph Rap.
 9          Q.    And what is their position?
10          A.    The chief of the vascular section, but I don't
11    have an employment relationship with them.         I am
12    without compensation so that I can provide continuity
13    of care for veterans from Northern California who get
14    operated on in San Francisco.
15          Q.    Okay.   After your time as acting chief ended,
16    what was your position within the Northern California
17    VA?
18          A.    Assistant chief.
19          Q.    Is that your current position?
20          A.    Correct.
21          Q.    And that's assistant chief specifically of
22    surgical service?
23          A.    Correct.
24          Q.    Okay.   I also see on here from January to
25    February 2011 you acted as associate director of the

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 1    East Bay VA Northern California Health Care System.
 2        A.    Yeah.    I think that was a second or third time
 3    that I was acting associate director.
 4        Q.    Okay.    And did you have to go through a
 5    selection process for that?
 6        A.    No.   Acting positions are generally just
 7    appointed by the supervisor of that position.
 8        Q.    Okay.    What were your duties and
 9    responsibilities as acting associate director?
10        A.    I was supervising the administrative services
11    and -- about half of the administrative services, such
12    as IT, fiscal, BDMS, other administrative services.
13        Q.    Sorry.   What does BDMS stands for?
14        A.    Benefits Data Management Service, I think.
15    Don't hold me to that.      It's -- nobody called it by its
16    actual name, so I don't know exactly what the acronym
17    stands for.
18        Q.    Okay.    And so I see here on page 3 there's the
19    acting chief position from 1999 to present, and that
20    information is correct?
21        A.    Correct.
22        Q.    Okay.    Would you consider being acting chief
23    and then going to assistant chief, do you consider that
24    to be a demotion?
25        A.    Generally it would be.     The man who was

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 1    selected to be the chief of surgery was the retiring
 2    chairman of UC Davis, and he's an iconic surgeon and it
 3    made sense to bring in a -- in essence, a superstar to
 4    the organization to help build the new service in
 5    Sacramento.      To work, you know, with and for him did
 6    not feel like a demotion.
 7        Q.    Did you have to go through the selection
 8    process in order to become the assistant chief?
 9        A.    He selected me.
10        Q.    And did you go through an interview process?
11        A.    No.
12        Q.    Have you always been posted at Martinez as
13    assistant chief?
14        A.    Yes.
15        Q.    Are you under a position description for this
16    position?
17        A.    I don't think so, but -- yeah.      Physicians
18    don't generally have position descriptions, and I do
19    not know if there is one.      If there is one, I don't --
20    I have not seen it.
21        Q.    Okay.   Are you aware of any other assistant
22    chiefs being under position descriptions?
23        A.    Well, clinical assistant chiefs, no.
24    Administrative assistant chiefs I assume do have
25    position descriptions.

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 1        Q.    And what is the difference between the
 2    administrative and clinical?
 3        A.    The clinical are all the doctors who run the
 4    clinical services, and administrators are the support
 5    services:    human resources, information technology,
 6    engineering, things like that.
 7        Q.    Okay.   What is your chain of supervision as
 8    assistant chief?
 9        A.    Can you clarify what that means?
10        Q.    Yes.    So who -- what's your chain of command?
11        A.    Who supervises me?
12        Q.    Correct.
13        A.    The chief of surgery and then the chief of
14    staff.
15        Q.    And who is currently the chief of surgery?
16        A.    Currently, it's Scott Fuller.
17        Q.    And who is currently chief of staff?
18        A.    Bill Cahill, or William Cahill.
19        Q.    Okay.   What are your duties and
20    responsibilities as assistant chief of surgical
21    service?
22        A.    The reality is as assigned by Dr. Fuller.
23    Because I'm based in Martinez, my responsibilities
24    historically and currently are to over -- have
25    oversight over the functions of the East Bay campuses.

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 1    Martinez is the largest one.       So it's Fairfield, Mare
 2    Island, Martinez, and Oakland.
 3        Q.    When you say "oversight," what do you mean by
 4    that?
 5        A.    The day-to-day problems of space, making sure
 6    support staff is there, making sure processes of
 7    sterility, operating issues are dealt with, that --
 8    those sorts of functions.
 9        Q.    Okay.   And so you have administrative duties
10    associated with your position as assistant chief?
11        A.    Correct.
12        Q.    And other than what you've just stated, is
13    there anything else that you have administrative duties
14    other than the day-to-day operations?
15        A.    Well, the day-to-day operations and then the
16    reporting and tracking of issues associated with the
17    operating room in Martinez or central office.
18        Q.    Okay.   How much of your time is spent on
19    administrative issues currently?
20        A.    I would have to guess somewhere between --
21    well, the -- it's highly variable from week to week,
22    month to month, and it most likely averages somewhere
23    between five and ten hours a week.
24        Q.    Okay.   And how long has it averaged five to
25    ten hours a week, over what time period?

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 1        A.    So most of that time there have been episodes
 2    for usually up to six months at a time when we are
 3    trying to build something new where it may take more
 4    time, such as when we were establishing surgical
 5    services at David Grant I had to meet with them on a
 6    regular basis.    So I -- over the last 20 years, it has
 7    been most of the time.
 8              There are episodes of time in which it can take
 9    up significantly more or -- even in this last year
10    where we had the chief of the eye section have an
11    emergency leave and then another one retire.         So all of
12    a sudden we were recruiting for five or six positions
13    simultaneously.     Then it takes more time.
14        Q.    Okay.   How many assistant chiefs of surgical
15    service are there for the Northern California VA?
16        A.    That is a question that I can't answer because
17    my understanding is that there is one official
18    assistant chief, but I know that Dr. Hundahl called
19    several people assistant chiefs of various different
20    things within surgery.
21        Q.    Okay.
22        A.    So I -- I can't answer that.
23        Q.    Okay.   When you say there's one official
24    assistant chief, who are you referring to?
25        A.    In the organizational chart in human resources,

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 1    my name is in that slot.
 2        Q.    Okay.   And are you compensated financially for
 3    your role as assistant chief of surgical service?
 4        A.    I know that it -- so physicians are compensated
 5    by tier and depending on supervisory level, and it does
 6    put me in a second level tier, which is like section
 7    chiefs.
 8        Q.    Okay.   What is a section chief?
 9        A.    Like the person who oversees ear, nose and
10    throat surgeons, neurosurgeons, orthopedic surgeons,
11    the eye department, those are section chiefs.
12        Q.    Okay.   And is there a section chief of vascular
13    surgery?
14        A.    Correct.
15        Q.    Who would that be?
16        A.    Naseem Hedayati.    H-e -- I have to write that
17    down, too.    Just a second.    H-e-d-a-y-a-t-i.
18        Q.    And who does --
19        A.    She reports to Dr. Fuller.
20        Q.    Okay.   So you're compensated as a physician
21    tier two.    Is that correct?
22        A.    Correct.
23        Q.    Thank you.   I just wanted to make for sure I
24    understood what you were talking about.
25              Does this role require you to do clinical work

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 1    as well?
 2          A.    Yes.
 3          Q.    And what type of clinical work do you engage
 4    in?
 5          A.    Mostly vascular surgery, sometimes general
 6    surgery.
 7          Q.    And Dr. Hedayati, is that -- am I saying that
 8    correctly?
 9          A.    Hedayati.
10          Q.    Hedayati.   Thank you.
11                Do you know if Dr. Hedayati is also required to
12    do clinical work?
13          A.    Yes.
14          Q.    And does Dr. Hedayati also -- are you aware
15    whether or not she has administrative responsibilities?
16          A.    I know she has administrative responsibilities.
17          Q.    Okay.   And to your knowledge what are her
18    administrative responsibilities?
19          A.    Running that section, oversight of the vascular
20    lab, the other surgeons in that section.
21          Q.    Okay.   As assistant chief, does anyone report
22    to you?
23          A.    In Martinez, the nurse practitioners and the
24    physician assistant I believe may be the only ones who
25    report to me at this point.

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 1          Q.    Okay.   And how long have they been reporting to
 2    you?
 3          A.    For as long as we've had those positions.
 4          Q.    Okay.
 5          A.    But probably since 1990, '91.
 6          Q.    And how many people would you say that consists
 7    of, approximately?
 8          A.    Currently there are five of them.     Oh, and the
 9    vascular labs also reports to me.
10          Q.    I'm sorry.   You cut out.   Vascular lab?
11          A.    The technician for the vascular lab, and
12    there's a nurse that works with us that also reports to
13    me.
14          Q.    Okay.   And do you complete annual evaluations
15    for those individuals?
16          A.    Yes.
17          Q.    Is there anyone else that reports to you as
18    assistant chief?
19          A.    I would have to -- it has changed so many times
20    over the years that I don't want to say with certainty
21    that the answer is no, but I believe that currently
22    there isn't.        I don't -- I haven't gotten the message
23    about whose evaluation I need to fill out.
24          Q.    Okay.   And you said previously other
25    individuals reported to you?

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 1        A.    Yeah.   Many more.
 2        Q.    Okay.   What time period did they report to you?
 3        A.    What does that mean?
 4        Q.    I guess when did they -- like, when did you
 5    have other people who reported to you?
 6        A.    Oh, from 2000, 2001 up until probably about
 7    2018, 2016.    I had most of the surgeons that worked in
 8    the East Bay reported to me, which would have been
 9    about, oh, 20 to 30 of the surgeons as well as other
10    administrative staff.
11        Q.    Do you know when they stopped reporting to you?
12    You said either 2016 or 2018?
13        A.    There -- oh, from about somewhere around -- I
14    don't -- I don't really remember exact dates, but to
15    the best of my recollection it would have been
16    somewhere starting in about 2012, maybe 2013 various
17    different section chiefs -- Dr. Hundahl transferred the
18    primary supervision of some of the surgeons to various
19    section chiefs, but for the most part I would -- I only
20    know that I wasn't supervising somebody when I would
21    not get a reminder to say you have a performance
22    appraisal to complete.
23        Q.    Okay.
24        A.    That's why I'm highly ambiguous as to when this
25    really happened.

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 1        Q.    Okay.    So your understanding of why those
 2    individuals -- let me rephrase the question.
 3              So what's your understanding of why you no
 4    longer supervise these individuals?
 5        A.    That Dr. Hundahl decided to manage things
 6    differently.
 7        Q.    Do you hold any other positions within the
 8    Northern California Health Care System other than
 9    assistant chief and --
10        A.    That's it.
11        Q.    -- the staff surgeon section --
12        A.    No.
13        Q.    -- at San Francisco?     Anything else currently?
14        A.    Well, San Francisco's not part of the VA
15    Northern California.     It's -- San Francisco -- so the
16    San Francisco VA -- I -- is a separate organization.
17    VA Northern California is the name of the health care
18    system that I'm in, and it -- it includes the -- a
19    portion of land that goes from Oakland up Highway 5, in
20    essence, through the middle of the state.         The
21    San Francisco VA takes the San Francisco peninsula and
22    goes up 101, the west side of the state.
23        Q.    Okay.    Thank you.
24        A.    It's a little complicated.
25        Q.    Right.   I also see on your résumé at the bottom

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 1    of page 2 site manager, Martinez Outpatient Clinic, VA
 2    Health Care System from 2001 to 2018.
 3              Were you --
 4        A.    Correct.
 5        Q.    -- assigned to a specific location, or were you
 6    working at a specific location?
 7        A.    Yeah.   Martinez.
 8        Q.    Okay.   And you indicated -- in here, it
 9    indicates from 2001 is when you started.
10              How did you become site manager?
11        A.    I applied for the position and was selected.
12        Q.    Was there a formal job posting prior?
13        A.    Yes.
14        Q.    Okay.   Do you have a copy of that?
15        A.    No.
16        Q.    How did you apply for the position?
17        A.    I don't remember if in 2001 it was online yet
18    or whether it was on paper, but I had to submit
19    documents to human resources and then was scheduled for
20    interview.      There was a selection committee, and I
21    know I -- I remember interviewing and being selected.
22        Q.    Who was on the selection committee?
23        A.    Oh, I would not remember at this point.        I know
24    that the chief of staff and the associate director were
25    involved in it, but I don't remember who -- I don't

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 1    even remember who the associate director was at the
 2    time.
 3        Q.    Who was the chief of staff at the time?
 4        A.    Dr. Brian O'Neill.
 5        Q.    Sorry.   Can you say the last name again?
 6        A.    O'Neill.   Brian O'Neill.
 7        Q.    What did the application entail?
 8        A.    I don't remember.
 9        Q.    Okay.    Do you remember who the deciding
10    official was?
11        A.    No, I do not.
12        Q.    Okay.    And you were interviewed by a selection
13    committee, you said?
14        A.    Correct.
15        Q.    Was there any grade assigned to this position
16    or GS assigned to this position at the time?
17        A.    Yeah, I'm sure there was.      I don't remember
18    what it was though.
19        Q.    Was there a salary assigned to the site -- to
20    this position?
21        A.    So the position was announced so that
22    physicians, nurses, or administrative staff could
23    apply.    So there was probably different applications or
24    different salaries assigned based on what -- what one
25    comes into the position as.       Physician salaries are not

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 1    set by the GS level.     They are set with a different
 2    mechanism.
 3        Q.    Were you provided any compensation associated
 4    with -- financial compensation associated with this
 5    position?
 6        A.    It would have brought a couple thousand dollars
 7    more a year as part of this position.
 8        Q.    Was --
 9        A.    I can't remember.
10        Q.    Sorry.   Let me ask --
11        A.    Okay.    Go ahead.
12        Q.    Let me just clarify my question.
13              Did it change your position -- your physician
14    pay?
15        A.    Yes.
16        Q.    How?
17        A.    So there was an extra -- there was an added
18    salary to the physician pay that I was receiving.
19        Q.    What was that?
20        A.    That's why I said there was a few -- couple
21    thousand dollars a year that was added.
22        Q.    Did you have any documentation supporting that
23    there was a couple thousand dollars associated with
24    this position?
25        A.    I would be hard-pressed to find anything at

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 1    this point from 2001.
 2        Q.    And you were selected for this position?
 3        A.    Correct.
 4        Q.    And after being selected for this position, did
 5    your classification as a physician tier two change?
 6        A.    On the physician side of it, it didn't.
 7        Q.    Okay.   Did you receive a separate paycheck
 8    associated with this position?
 9        A.    No.   That's why it's so complicated.      No.
10        Q.    When you say a couple thousand, is that over
11    the course of your entire time as site manager?
12        A.    No.   Per year is what I said.
13        Q.    Okay.   And so how -- approximately how much per
14    year were you receiving based on this position?
15        A.    I don't remember.    It -- what I remember was --
16    and once again it gets very complicated because the
17    physician salaries and compensations then underwent a
18    massive change after this, and so I don't know how that
19    figured into it.     But what I was told at the time -- I
20    can't remember if it was two, three, four, somewhere in
21    the single digit -- low single digit thousands that was
22    extra on my paycheck at the time.        I don't remember the
23    exact number.
24        Q.    That was over the course of the year?
25        A.    Correct.   It was an additional couple thousand

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 1    a year.
 2        Q.    Okay.   And was there a position description for
 3    this role?
 4        A.    I think we already discussed that, but the
 5    answer is there was, yes.
 6        Q.    And was that position description updated at
 7    any point in time?
 8        A.    Not that I know of.     Sorry.   The dog is in
 9    here.    So the heavy breathing is just the dog.
10        Q.    What were your duties and responsibilities as
11    site manager?
12        A.    When I was first selected, site managers were
13    in charge of the budget for the site and we were in
14    charge of looking at sort of the business of running
15    the site such that in Martinez, for instance, we were
16    able to sell excess time for MRI to the county, for UV
17    therapy to the county in order to support some of the
18    programs we wanted to have, and in -- we were also
19    tasked with trying to meet wait times and do whatever
20    we could to take care of patients in a timely fashion
21    across the system.
22              In Martinez, there is a long-term care facility
23    in addition to a clinic, and so we had oversight for
24    some of the issues in the long-term care facility as
25    well.    And in general, it -- the site manager's job is

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 1    to make sure that people have space, computers, can do
 2    the work, and sort of maximize the efficiency of the
 3    campus.
 4        Q.    Okay.   And in 2017 what was your understanding
 5    of your duties and responsibilities as site manager?
 6        A.    It was similar.    The difference was that -- the
 7    service that I told you the acronym of before that you
 8    didn't understand, BDMS, it was now taking care of the
 9    scheduling, which is something that the site manager
10    physician used to have oversight of, the schedulers and
11    the employees that were doing that in order to be able
12    to meet access times.      So the scheduling was no longer
13    under the site manager.
14              Some of the clinical responsibility, there was
15    a push to get service chiefs in Sacramento to take more
16    responsibility, but otherwise it was quite similar, and
17    then the fiscal re -- the financial responsibility was
18    eliminated about -- I think about four or five years
19    after they started the experiment --
20        Q.    Okay.
21        A.    -- in 2001.
22        Q.    So during your time as site manager, your
23    duties and responsibilities were changing?
24        A.    Correct.
25        Q.    Okay.   And those changes were based on

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 1    institutional needs?
 2                MR. HOYER:   Lacks foundation.
 3                THE WITNESS:    I don't know what they were based
 4    on.
 5    BY MS. SMITH:
 6          Q.    What's your understanding of why those changes
 7    were made?
 8          A.    Human beings are always changing.
 9          Q.    Sorry.   I ran out of ink.
10                And as site manager, who did you report to?
11          A.    Initially, I reported to the chief of staff,
12    and then I reported to the associate director.
13          Q.    Okay.    Over what time period did you report to
14    the chief of staff?        Or I can ask the question
15    differently.
16                When did you start reporting to the associate
17    director?
18          A.    Yeah.    Either way I can't answer it.   I don't
19    remember exactly.        I know that it was approximately ten
20    years ago.      There was a switch approximately ten years
21    into it.
22          Q.    So approximately 2011?
23          A.    2010, 2011, somewhere in there, but I don't
24    really remember.
25          Q.    Okay.

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 1        A.    I had to work with both individuals quite a
 2    bit, and so I really did not pay attention to who
 3    exactly was my supervisor.
 4        Q.    Would you classify -- would you characterize
 5    the payment you received for the site manager position
 6    as a bonus?
 7        A.    I guess.   I -- I don't know.
 8        Q.    Was it -- did you have to receive a performance
 9    evaluation in order to receive any compensation for
10    this position?
11        A.    Oh, no, no, no.    If that's the question, the
12    answer is clearly not a bonus.       There was a certain
13    amount that I got regardless, and in addition to that,
14    I received a bonus based on the performance of the
15    site.    So the reality of the way I'm paid, which is why
16    it's very difficult for me to disaggregate it, is that
17    I received a bonus on the surgical side based on
18    certain metrics that surgery was being held to, or I as
19    an individual surgeon was being held to, and I received
20    a bonus on the administrative side as my site manager
21    position based on the administrative function.
22        Q.    And how often did you receive that bonus?
23        A.    Every year.
24        Q.    And was -- I -- I don't know if you recall or
25    not, but was that bonus a consistent amount, or did it

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 1    vary?
 2          A.    It varied, although, I mean, it was several
 3    thousand dollars.
 4          Q.    Can you approximate how much it was?
 5          A.    No.   Probably three, 4,000, somewhere in there.
 6    I -- I -- I really don't -- I'm sure fiscal or somebody
 7    has those records but --
 8          Q.    Okay.   And during the time that you were in the
 9    role of site manager, what was the -- what you referred
10    to as "added salary" that you received?         How much was
11    that?
12          A.    I'm not sure you're -- I'm not sure that we're
13    on the same wavelength because if I'm going to answer
14    the question the way I understand it, it's exactly what
15    we already said, a couple of thousand a year.         That was
16    part of my salary.        So I'm not understanding the
17    question.
18          Q.    Well, okay.    So you said it was a couple
19    thousand a year, but what's the range of a couple
20    thousand?      That doesn't mean anything to me.
21                MR. HOYER:    A couple thousand is 2,000, isn't
22    it?
23                THE WITNESS:    Yeah.   It's 2,000, 3,000.   I
24    mean, I think I already said the range.         The range was
25    somewhere between 2,000 and 4,000 and I don't remember

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 1    exactly what number.
 2    BY MS. SMITH:
 3          Q.    Okay.   So let me just repeat back to you what I
 4    understand the financial compensation that you've
 5    described is, and please correct me if I have anything
 6    wrong.
 7                So every year you received what you've
 8    described as an added salary of approximately in
 9    between 2,000 and $4,000 and you would also receive a
10    potential bonus based on performance for administrative
11    duties every year and that varied between 3,000 and
12    $4,000?
13                MR. HOYER:   Misstates the testimony.
14                THE WITNESS:   I -- I would have to look at the
15    record.      I don't want to -- I don't want to commit to X
16    number of thousands because when I look at my pay stub,
17    I can't tell what's what.       So I -- you know, it -- I
18    would get a notice saying you're getting this bonus.
19    So I'd get some sort of email saying it, but then when
20    I look at my paycheck and stuff -- sometimes I'd notice
21    it, but a lot of times I couldn't tell what was going
22    on.
23    BY MS. SMITH:
24          Q.    Okay.   But in terms of actual, like,
25    compensation, you're testifying it came in two

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 1    different forms for the site manager position:          this
 2    added salary and potentially a bonus every year?
 3        A.    Yes.
 4        Q.    Okay.   Is there anything else?
 5        A.    No.
 6        Q.    Okay.   Have you ever received a bonus for your
 7    work as an administrative chief -- or, sorry, assistant
 8    chief?
 9        A.    What -- okay.    Now I'm once again a little bit
10    confused.    In addition to the different salary because
11    I'm a tier two physician, is that the question?
12        Q.    Correct.
13        A.    I think we already covered that.       On the
14    clinical side, I would get a bonus based on my own
15    clinical performance.      So there are multiple
16    categories:      how many patient complaints you have, how
17    timely was your charting done, what researcher
18    presentation that you're doing.       Based on that, on
19    those metrics, then I would get a bonus.
20        Q.    Okay.   So what determined whether or not you
21    got a bonus based on your performance at the site?
22              MR. HOYER:   The question's vague.      Performance
23    as a surgeon or performance administratively?
24              THE WITNESS:    Correct.
25    BY MS. SMITH:

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 1        Q.    Yeah.   I can clarify the question.
 2              So what determined whether or not you received
 3    a bonus administratively?
 4        A.    My understanding of what controlled that was
 5    that the director's bonus was based on a series of
 6    criteria that are handed down from central office.
 7    Those criteria were then divided up towards the site
 8    managers, and if we met those metrics, then we also got
 9    a bonus.
10        Q.    Okay.   And is that separate and distinct from
11    any administrative bonus you may have received as an
12    assistant chief?
13        A.    As an assistant chief of surgery, I did not
14    receive an administrative bonus.       I received a bonus
15    based on my entire function as a surgeon.
16        Q.    Okay.   So have you ever received a bonus as an
17    assistant chief and a site manager in the same year?
18        A.    Every year, yes.
19        Q.    And do you have documentation for that?
20        A.    I don't think so, unless I -- it's pay stubs or
21    emails, and I don't have the documentation.
22        Q.    So I'll make a follow-up written request, but I
23    am demanding documentation for that.
24              And according to your résumé, in 2018 you no
25    longer served as site manager.       Why not?

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 1        A.    I received a letter from Mr. Graham removing me
 2    as site manager.
 3        Q.    And was there a reason given for this action?
 4        A.    When he gave me the letter and we met, he gave
 5    me no reason.
 6        Q.    And just for clarification purposes, he didn't
 7    tell you there was no reason?
 8        A.    He said that they had -- that they, meaning
 9    Mr. Stockwell and himself, had felt that they needed me
10    to do clinical work and not administrative work.
11        Q.    Okay.   So did he describe to you that it was
12    based on a business decision?
13        A.    He did not.
14        Q.    Do you believe it was a business decision?
15        A.    No.
16        Q.    Why not?
17        A.    There was no business case for it.
18        Q.    What do you mean by that?
19        A.    They didn't save any money, they did not change
20    the function, nobody -- I would have thought that if
21    there was a business decision, I would have seen it.
22    And I probably -- if there was a business decision, I
23    would have thought that I would have participated in
24    making that business decision since I probably have
25    more business background than either of them.

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 1        Q.    Do you normally participate in business
 2    decisions being made?
 3        A.    Historically, yes.
 4        Q.    Do you have any evidence that this was not a
 5    business decision?
 6              MR. HOYER:   Calls for a legal conclusion with
 7    respect to the word "evidence."
 8    BY MS. SMITH:
 9        Q.    Do you understand my question, or would you
10    like me to rephrase, Dr. Velez?
11        A.    Rephrase it because I don't understand exactly
12    what --
13        Q.    Okay.   Do you have any documentation to support
14    that this was not a business decision?
15        A.    No.
16        Q.    And how were you notified regarding this
17    information?
18              MR. HOYER:   Asked and answered.
19              THE WITNESS:   Yeah, I think I already said
20    he -- I had a meeting with him and he gave me a letter.
21    BY MS. SMITH:
22        Q.    Okay.
23        A.    After telling me I did a great job, he gave a
24    letter saying he no longer needed me there.
25        Q.    Who made this decision based on your

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 1    understanding?
 2        A.    The letter was handed to me by Mr. Graham.
 3        Q.    Okay.   So was it your understanding that this
 4    decision was made by Mr. Graham?
 5        A.    I would not make that -- I would not draw that
 6    conclusion, no.      It's an organization -- it's a
 7    hierarchical organization.      That decision was -- my
 8    understanding is that decision was not his personal
 9    decision.
10        Q.    Oh.   So what was your understanding of who was
11    the decision maker?
12        A.    The Pentad.
13        Q.    I'm sorry.    What does that mean?
14        A.    The director, associate directors, nurse
15    executive, chief of staff, that group.
16        Q.    And you believe Pentad made that decision?
17        A.    Or certain members of Pentad, yes.
18        Q.    Okay.   What, if anything, do you have to
19    support that conclusion?
20        A.    I've been in the organization for 20 years,
21    30 years.
22        Q.    So this is based on your experience within the
23    organization?
24        A.    Correct.
25        Q.    So you don't know who made that decision?

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 1        A.    No.
 2        Q.    If I can have Exhibit 2 brought up.
 3              MR. HOYER:   Counsel, we've been going more than
 4    an hour.    Can we take a break?
 5              MS. SMITH:   Yeah.   We can take a five-minute
 6    break and come back at 11:15?
 7              MR. HOYER:   Okay.
 8              THE WITNESS:    Okay.
 9              (Break, 11:10 a.m. to 11:19 a.m.)
10              MS. SMITH:   The last thing I asked was for
11    Exhibit 2 to be pulled up.        You can go ahead and give
12    control to Dr. Velez so she can take a look at the
13    entire document.
14              (Whereupon Exhibit 2 was shown to the witness.)
15    BY MS. SMITH:
16        Q.    Dr. Velez, if you could let me know once you've
17    had the opportunity to review the document that's been
18    premarked as Exhibit 2.
19        A.    Was I -- was the last line that if I had any
20    questions, to ask Dr. Hundahl?        Was there anything
21    below that?
22        Q.    I don't know.    Can we leave Exhibit 2 up?
23        A.    Can you scroll down just a little bit?
24        Q.    Do I have control?      No, I do not.
25        A.    I don't.   At least -- oh, I do.     There you go.

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 1    All right.    Thanks.   First couple times I did this,
 2    nothing happened.
 3        Q.    Okay.   So have you had the opportunity to
 4    review Exhibit 2?
 5        A.    Yeah.
 6        Q.    Do you recognize it?
 7        A.    Yes.
 8        Q.    What is it?
 9        A.    This is the piece of paper Mr. Graham handed me
10    at the end of our meeting.
11        Q.    And that was when you were informed
12    regarding -- let me rephrase the question.
13              That was the meeting you previously discussed?
14        A.    Yes.
15        Q.    Okay.   Is this a true and accurate copy of the
16    letter that you received?
17        A.    Yes.
18        Q.    Okay.   And do you consider the information
19    contained in this memorandum to be a demotion?
20        A.    Yes.
21        Q.    Why?
22        A.    It was a change in assignment, it significantly
23    limited the scope of what I was doing on campus, it
24    removed me from supervising the administrative office
25    of the campus, and I believe that Mr. Graham understood

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 1    it as the same way given the way he presented it.
 2        Q.    What do you mean by that, when you say "the way
 3    he presented it"?
 4        A.    He -- he stated -- so as I previously
 5    described, he handed me this after approximately a
 6    one-hour meeting where he was telling me what I great
 7    job I did, and then he handed this to me and he said
 8    something along the lines of, Oh, you can keep doing
 9    what you're doing, you know, it's like you're -- you're
10    doing a great job, we love what you're doing, and then
11    he said, Well, we just couldn't find any other VA that
12    did it this way and so therefore that's what we're
13    doing.
14              And I immediately reacted to him and said this
15    is -- this is, like -- you know, you just finished
16    telling me what a great job I did, and he was somewhat
17    apologetic, but, you know, it was clear that he was
18    just doing what he was supposed to be doing.
19        Q.    When you say it was clear he was just doing
20    what he was supposed to be doing, what do you mean by
21    that?
22        A.    It relates to what my previous statement was
23    when you asked if he was the one who made the decision.
24        Q.    Okay.   So you -- at the time, you did not
25    believe he was the one who made the decision?

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 1        A.    Correct.
 2        Q.    Okay.   You said that this was a change in an
 3    assignment and it significantly limited the scope of
 4    your duties?
 5        A.    Correct.
 6        Q.    What specifically did it limit your duties?
 7    Like, what -- how did it change?
 8        A.    So as a site manager, I had some influence and
 9    ability to do things on the campus, such as help build
10    new programs.     For instance, the brain injury program
11    was primarily developed on the Martinez campus because
12    of what I did.    The research buildings were built
13    because of the work that I did as site manager and
14    getting people together to put in proposals.         I had
15    some oversight and responsibility for some of the other
16    medical services to help solve problems that would
17    improve patient care.
18              Additionally, I had some control over what the
19    administrative services that support the clinical
20    services, how they functioned on campus so that it
21    facilitated the -- our ability to deliver health care.
22        Q.    Is there anything else?
23        A.    Oh, yeah.   I didn't hear either.      Sorry.   No.
24        Q.    You're talking about you had some oversight
25    over other medical services to help solve problems.

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 1              What types of problems were you helping to
 2    solve?
 3        A.    Oh, wait list for gastroenterology for getting
 4    colonoscopies done, access in mental health.         Over the
 5    years, there were many, many occasions in which
 6    coordinating the cardiology appointments where, if BDMS
 7    leadership was caught creating problems in the
 8    cardiology clinics, they would come to me and I would
 9    negotiate, intermediate, or whatever to solve those
10    problems so that the patients coming for pacemaker
11    clinic were not given appointments to the person doing
12    echos, for instance, those kinds of problems that would
13    arise in a health care system.
14        Q.    What specific administrative duties are you
15    claiming were removed?
16        A.    So I had -- and they were removed slowly.        This
17    memo was sort of the last of a string of things.          I had
18    oversight over the --
19        Q.    Sorry.   I just want to make for sure we're
20    talking about following the issuance of this letter.
21        A.    Correct.   So that's what I'm saying.
22        Q.    Okay.
23        A.    This letter is the culmination of a process
24    that had started a couple of years before, which is why
25    it is hard for me to believe that this was an

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 1    individual decision by Mr. Graham only.        And part of
 2    that process removed my oversight over the patients
 3    relations people, so the people who got the complaints.
 4    That's somewhat significant in that if you don't know
 5    what complaints there are, then you don't know what
 6    issues you need to work on to work to solve on the
 7    campus.    These were specific to the location.
 8              There was a removal of an administrative
 9    officer, and then there was a removal of the secretary
10    position.    And ultimately -- I don't know what Martha's
11    role or title was, but this letter removed my
12    administration of her.      So we went from -- I went from
13    supervising upwards of, I don't know, 30, 40
14    individuals on the administrative side of the campus to
15    a couple at the time of this memo.
16        Q.    Okay.   So just for clarification purposes,
17    following the issuance of this memo, what specific
18    administrative duties changed?
19        A.    I was no longer in charge of the space
20    committee; I was no longer in charge of the Martinez
21    site committee, which really met with all the
22    representatives of the services on campus and -- on a
23    weekly basis; I was no longer a part of many of the
24    organizational committees that allocate resources; I
25    was -- I no longer had the authority to -- and in fact

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 1    that was one of the things that I discussed with
 2    Mr. Graham on that day when he said you can continue to
 3    do what you're doing.      I said, With what authority will
 4    I go to the assistant chief of medicine and tell him to
 5    do things if I am merely the assistant chief of surgery
 6    and not the site manager?
 7        Q.    Okay.   So what authority are you claiming you
 8    lost?
 9        A.    The title of "site manager" gave me the
10    authority to approach most every service on campus to
11    solve or change how we were doing business on the
12    campus to improve the outlook.       Without that title
13    there is -- I have no authority to just walk up to
14    somebody on a different service and ask them to do
15    something or even to meet with me if it doesn't involve
16    surgery.
17        Q.    So what became the process then?
18        A.    Ostensibly the process became that various
19    different services were to ask the chief of staff or
20    the associate director for help and that they would be
21    taking care of it.     They -- the idea was that it would
22    function the way Sacramento functions.        The difference
23    is that virtually every service chief is located in
24    Sacramento.
25        Q.    Are there service chiefs located at Martinez?

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 1        A.    A few.
 2        Q.    Which once are located at Martinez?
 3        A.    The BDMS service chief is in Martinez.        Human
 4    resources was located in Martinez.        I don't know if it
 5    is anymore.    That's Chris Howell.      Clinical services,
 6    nutrition is -- the dieticians are service chief.          The
 7    audiology service chief and the neurology service chief
 8    are located in Martinez.       But all the large ones --
 9    radiology, medicine, surgery, all the nurse
10    executives -- are located in Sacramento.
11        Q.    In 2017, what roles were you financially
12    compensated for?
13        A.    I would assume that it would be both the site
14    manager and assistant chief of surgery.
15        Q.    Do you have a documentation as to that
16    breakdown?
17              MR. HOYER:   Asked and answered.
18              THE WITNESS:   No.
19    BY MS. SMITH:
20        Q.    Okay.    How do you know that you were being
21    financially compensated for the position of site
22    manager in 2017?
23        A.    There's no way for me to -- as I discussed
24    earlier, when I look at the pay stubs, it's not broken
25    out that way and I have no way of knowing which portion

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 1    of which paycheck goes to what.       Physician salary is --
 2    it's extremely difficult.      It's not like you're paid X
 3    number of dollars an hour and, you know, that's it.          It
 4    doesn't work that way.
 5        Q.    And in 2018, what roles were you financially
 6    compensated for?
 7        A.    So the federal government obviously ends on
 8    September 30th.     So I would assume that for fiscal year
 9    2018, for most of that year, I was compensated the same
10    way.
11        Q.    And following this letter, did you see a
12    decrease in your pay?
13        A.    I have to be honest with you.      I don't exactly
14    look at my pay stub.
15        Q.    Have -- since 2018, has there been a decrease
16    in your salary?
17        A.    I don't know.
18        Q.    Have you suffered any financial loss since the
19    removal of these duties?
20        A.    Well, I think the biggest out-of-pocket expense
21    was that this hit me extremely hard because I pretty
22    much built the campus and the functions of that campus.
23    We have actually done in Martinez exceptional work for
24    a clinic that is associated with the medical center far
25    away, and it -- the removal actually -- I ended up

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 1    going to a therapist pretty much for the first time in
 2    my life and paid a significant amount of money for
 3    that.    So that's probably the biggest quote-unquote
 4    financial loss.
 5              I am sure -- and also, it is complicated, but
 6    my whole salary situation is complicated by the fact
 7    that if we get a pay raise then for -- a cost of living
 8    pay raise at the beginning of the year, then it would
 9    mask a pay deduction from a previous year.         So it's
10    hard for me to untangle that, but it's quite easy for
11    me to say that I was profoundly depressed.
12        Q.    Okay.   So in terms of financial loss, you're
13    talking about the amount that you paid for your therapy
14    and you're unable to determine whether or not there was
15    one in your salary?
16        A.    I would assume that there's a drop, but I would
17    have to -- I mean, I'd need to have somebody in fiscal
18    service help me decipher things as to what went from
19    where and -- because it's not transparent to me.
20        Q.    So do you have any documentation regarding the
21    amounts paid for therapy?
22        A.    Yes.
23        Q.    Okay.   So I'm going to demand production of
24    those.
25              And were they paid out of pocket, or were they

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 1    paid through insurance?
 2        A.    Mostly out of pocket.      Initially I got the
 3    insurance to pay some of it eventually.
 4        Q.    Okay.   So you were reimbursed for some of these
 5    out-of-pocket expenses?
 6        A.    I believe so.    It's --
 7        Q.    Do you -- sorry.
 8        A.    As you know, insurance -- with insurance
 9    deductibles, et cetera, you know, I don't -- I don't
10    know at the end of the year how much actually got paid.
11        Q.    Okay.   So to your best estimate as you sit here
12    today, what do you estimate your out-of-pocket expenses
13    to be for therapy?
14        A.    I don't know.    I'd have to ask my husband.
15    He's the CFO in the household.
16        Q.    Okay.   So I'd demand that information.
17              In terms of any documentation regarding any
18    potential decrease in salary, do you have any of those
19    documents?
20        A.    No.   I think the agency would have those
21    documents.
22        Q.    What documents are you referring to?
23        A.    The computations that they do for payroll to
24    what's coming from where.      When I get a paycheck, I
25    just see what was deducted for, like, social security.

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 1    I don't see how much is coming from what pocket.
 2        Q.    I also see on your résumé -- oops.       On
 3    Exhibit 1, if I could click over to Exhibit 1, there
 4    was also a chief of surgery at Contra Costa Regional
 5    Medical Center.
 6        A.    Correct.
 7        Q.    And how long have you been there?
 8        A.    So I am currently just a consultant, and I
 9    rarely go.      I only go when they have some sort of
10    emergency that has to be dealt with.        I was at Contra
11    Costa County shortly after they closed the Martinez VA,
12    primarily as a way of being able to take care of
13    patients who needed to be transferred from Martinez to
14    the county hospital, which is about a mile and a half
15    away.    At that point, it went to part-time status at
16    Martinez, and I was the chief there for about four
17    years or so.
18        Q.    Okay.
19        A.    Yeah.
20        Q.    Well, that says consultant.      I believe it says
21    somewhere on there chief of surgery 1992 to 1996.
22        A.    Oh.
23        Q.    Okay.   Now you act in the role of a consultant
24    currently?
25        A.    Yeah.   Very little.

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 1          Q.    Okay.   Are you compensated financially for your
 2    consultant work there?
 3          A.    I don't think the last -- I don't know that I
 4    am.    I haven't been there for several years.       The last
 5    time I was there, it was because the orthopedic surgeon
 6    ripped a guy's vein underneath his shoulder when he was
 7    trying to fix a dislocated shoulder, so they called me
 8    in.    I ran in there urgently and fixed the vessel and
 9    left, so I don't remember if they paid me or not and
10    what it was.
11          Q.    Okay.   So we've discussed the Contra Costa,
12    which is a current position, the staff surgeon at
13    San Francisco.
14                Are you compensated for the staff surgeon
15    position at San Francisco?
16          A.    I believe I already answered that.     It's a
17    without compensation position.
18          Q.    Okay.   Can we scroll up, please, or I can have
19    control?      Can you scroll up?   Thank you.
20                The UCSF volunteer clinical instructor from
21    September 2018 to the present, are you financially
22    compensated for that role?
23          A.    I am not.
24          Q.    Okay.   Do you have any other sources of income
25    other than your employment with the VA?

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 1        A.    Yes.    Remember I said that this was not
 2    completely up-to-date starting in July of 2020.          I run
 3    a vein clinic every other week, and that's in
 4    San Francisco, UCSF.
 5        Q.    What is that financial compensation?
 6        A.    I believe it's, like, 1,600 for a day.
 7        Q.    And so how many days a month are you there?
 8        A.    On average, two.
 9        Q.    Any other sources of income?
10        A.    No.
11        Q.    Okay.   Have you ever served in the U.S.
12    military?
13        A.    No.
14        Q.    That gets rid of a whole page of questions.        I
15    just want to double-check something.
16              Following receipt of the August 20th, 2018 memo
17    from Mr. Graham, did you have the same clinical duties
18    as you had prior to receiving that letter?
19        A.    Yes.
20        Q.    Okay.   So your clinical duties did not change?
21        A.    No.
22        Q.    These are questions that I have to ask.
23        A.    Okay.
24        Q.    Do you have a history of drug or alcohol abuse?
25        A.    No.

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 1        Q.    Do you have -- have you ever been treated for
 2    drug or alcohol abuse?
 3        A.    No.
 4        Q.    Have you ever had inpatient mental health care?
 5        A.    No.
 6        Q.    Have you ever used illegal drugs?
 7        A.    No.
 8        Q.    If I can have Exhibit 3, what's been previously
 9    marked as Exhibit 3 shown to the witness.         If you need
10    me to resend it, please let me know, Behmke.         I think I
11    sent it three times.
12              EXHIBIT ASSISTANT:    I apologize.     Which exhibit
13    is that?
14              MS. SMITH:   3.
15              (Whereupon Exhibit 3 was shown to the witness.)
16              MS. SMITH:   And if you could give Dr. Velez
17    control.
18    BY MS. SMITH:
19        Q.    Dr. Velez, what's in front of you as Exhibit 3
20    is the 25-page complaint filed in this lawsuit without
21    the attachments.     So why don't you just take a look and
22    make for sure that it is what I purported it to be and
23    let me know if you recognize the document.
24        A.    (Witness reviews document.)      If I'm just
25    reporting if this is the document, the answer is yes.

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 1        Q.    Okay.
 2        A.    Do you want me to read the whole thing again?
 3        Q.    No.    As long as you're familiar with the
 4    document, and you're saying you are, yes?
 5        A.    I am.
 6        Q.    Okay, good.   So you recognize the document in
 7    Exhibit 3?
 8        A.    Yes.
 9        Q.    Okay.   It is the complaint filed in this
10    lawsuit?    It's the complaint filed in this lawsuit?
11        A.    Correct.
12        Q.    Okay.   And who wrote this complaint?
13        A.    Myself, with my husband's help.
14        Q.    Okay.   Is everything in this complaint true and
15    accurate?
16        A.    To the best of my knowledge.
17        Q.    If I could have control.     I'm going to be going
18    to specific paragraphs, and I'll ask you questions
19    about them.
20        A.    Okay.
21        Q.    Before I ask you questions, I'll give you the
22    opportunity to read the paragraph.
23        A.    Thank you.
24        Q.    I'm just waiting until I have control.        There
25    we go.    Okay.   So I'm going to go up to Paragraph 9.

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 1    Once you've read Paragraph 9, please let me know.
 2        A.    Okay.
 3        Q.    In Paragraph 9, you refer to yourself as the
 4    "go-to person for other physicians experiencing
 5    discrimination."
 6        A.    Yes.
 7        Q.    Is this a self-proclaimed go-to person?
 8        A.    Yes.
 9        Q.    And how did you become what you describe as the
10    "go-to person"?
11        A.    I think that it was widely known in the
12    organization that I had prevailed when most people just
13    drop out of an EEO lawsuit against the Air Force.
14        Q.    How do you know that you were the go-to person?
15        A.    Because people who came to me said that when
16    they asked around, they were told to go talk to
17    Dr. Velez.
18        Q.    Okay.   Did the EEO office ever refer people to
19    you?
20        A.    No.
21        Q.    Did you have any job duties related to the EEO?
22        A.    No.
23        Q.    Okay.   I'm going to refer you to Paragraph 11.
24    Once you've had the opportunity to review it, please
25    let me know.

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 1        A.    (Witness reviews document.)      Okay.
 2        Q.    The first sentence in Paragraph 11 states
 3    "Starting in 2012, there was a dramatic rise in the
 4    number of EEO complaints filed by Dr. Velez's
 5    colleagues."
 6              How did you know that there was a dramatic rise
 7    in the number of complaints?
 8        A.    So as we previously discussed, I had been
 9    acting chief of surgery for quite a few years and then
10    assistant chief with Dr. Blaisdell, which meant that he
11    handed me a lot of the basic administrative functions
12    of the service.     My description of him is he was -- he
13    would jump from one mountaintop to the other, and I had
14    to fill in all the valleys.       So I knew that there had
15    been no EEO complaints for the previous ten years.
16              I also started -- I mean, I knew from people
17    who came to me -- so I knew that there was the Bonzani
18    situation.    I think -- I don't know when Angela Wong
19    was, but there were several events that prompted an
20    outside group to be called in -- I think the following
21    paragraph, you know, refers to that -- to look at
22    Dr. Hundahl's management style.       And following their
23    departure when the administration's handling of
24    Dr. Hundahl didn't change, it -- he started doing more
25    of it against other people in the service.         So that's

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 1    what I'm referring to in that paragraph.
 2        Q.    Okay.   But did you actually know how many EEO
 3    complaints were being filed?
 4        A.    I -- I know before that -- before 2000 -- I
 5    don't know when Dr. Blaisdell left, but probably '11 or
 6    something like that.     There had been, in surgical
 7    service, none that I was aware of, and I would have
 8    been aware of at least some if there were -- if there
 9    was more than two, I probably would have been aware of
10    at least one.     After that, I was aware of several, and
11    even though I may not have spoken to the individuals
12    directly, other members of the department would say.
13              Such as with the Bonzani case, I did not ever
14    speak to him directly, but through Dr. Valley, who's
15    the anesthesiologist in Martinez, I knew that that was
16    going on.    At that point anesthesia was under surgery.
17    So I knew that was happening.
18        Q.    Okay.   So the information that you had
19    regarding EEO activity after Dr. Wisall (phonetic) left
20    was all --
21        A.    Dr. Who?
22        Q.    Wisall?
23        A.    Oh.   No.   Blaisdell, B-l-a-i-s-d-e-l-l.
24        Q.    After Dr. Blaisdell left was from other
25    employees reporting it to you?

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 1        A.    Other surgeons generally or other physicians --
 2        Q.    Okay.
 3        A.    -- reporting to me.
 4        Q.    Okay.   And prior to Dr. Blaisdell leaving, how
 5    were you aware of EEO activity?
 6        A.    Dr. Blaisdell would have kept me informed
 7    because he frequently asked me to help him with any --
 8    I guess I would call them routine administrative issues
 9    in the service.     He was -- he was into program
10    building.    He was not into dealing with details.
11        Q.    Okay.   So the information was not provided to
12    you from EEO?
13        A.    No, I didn't ask EEO.
14        Q.    Okay.   And in Paragraph 11, it also indicates
15    that you defend and advocate on behalf of colleagues.
16              What does this mean?
17        A.    So I help them -- so a variety of things.
18    When -- with Dr. Forest and Dr. Dow, I wrote to the
19    director, to the chief of staff.       I -- I talked to them
20    and figured out how to have them defend themselves
21    against the actions of Dr. Hundahl.        With Dr. Martin, I
22    met with human resources and the chief of podiatry,
23    Dr. Lazareno, to try to mediate some resolution to his
24    ongoing harassment of her.
25              With Dr. White, I helped him -- I mean, he

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 1    wasn't even wanting to -- he -- he was devastated, and
 2    so I helped him write up his response to some of the
 3    complaints.     Those are the type of things that I mean
 4    by that.
 5        Q.    Okay.   Who did you help write complaints?       And
 6    when you say "complaints," are you referring to EEO
 7    complaints, or are you referring to grievances?
 8        A.    So almost all the actions being taken against
 9    these individuals masqueraded as either clinical
10    concerns or fitness for duty concerns, those kinds of
11    things, and so I helped them put together the
12    information to respond to those complaints, and then I
13    also pointed them into the -- in the direction of, you
14    know, if you feel that this is because you are an older
15    female or, you know, an Asian male, this -- make sure
16    you go talk to EEO, make sure you don't miss your
17    deadline, those kind of things.
18        Q.    Okay.   Did you actively participate in anyone's
19    EEO processes?
20        A.    What does "actively participate" mean?
21        Q.    Were you a witness to someone's --
22        A.    No.
23        Q.    -- EEO complaint?
24        A.    No.
25        Q.    Okay.   Thank you for asking for clarification.

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 1          A.    Well, right.   I did speak to the EEO -- the
 2    person in charge of EEO at the facility with a couple
 3    of these individuals, but I was not a witness in any
 4    sense of a -- you know, a court case or anything like
 5    that.      None of these went to court.
 6          Q.    Okay.   Who was the EEO person that you spoke
 7    to?
 8          A.    Ooh, the person before Kevin, and I can't
 9    remember.      We've had about five or six.    I don't
10    remember.      He was an African American, about
11    60-year-old male, and I met him in the Oakland clinic.
12    I remember exactly where I met him and where he was
13    sitting, but I don't remember his name.
14          Q.    Okay.   And so over what time period did you
15    assist these colleagues?
16          A.    I think probably 2000 -- so I was gone a lot of
17    2010.      So it would have been probably somewhere around
18    2012 to -- to recently.
19          Q.    When you say "recently," how recently are you
20    referring to?
21          A.    Well, I mean, I think that Dr. Lee is still
22    having issues that haven't been resolved.         So he -- he
23    will call me and say, you know, hey, should I do this
24    or, you know, how should I respond to this?         And so
25    then I go, well, you know, go here, go there, I would

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 1    do this or I would do that.       I'm not -- you know, I'm
 2    not giving him any legal advice.       It's professional
 3    stuff.    It's how do you deal with the fact that the
 4    residents aren't allowed to work with you, how do you
 5    get coverage, that kind of stuff.
 6        Q.    Okay.   I'm going to direct your attention to
 7    Paragraph 12.     I'm going to make sure it doesn't go on
 8    to the next page.     So Paragraph 12 is on the bottom of
 9    page 3 and on to page 4.      Let me know when you've had a
10    opportunity to review it.
11        A.    (Witness reviews document.)      Okay.
12        Q.    And were you a witness in the matter of Bonzani
13    versus McDonald?
14        A.    No.
15        Q.    Okay.   So how were you aware of this lawsuit?
16        A.    We were aware because many of the individuals
17    in the organization actually went to the court, knew
18    who was testifying on what day, et cetera.          I mean, it
19    was widely known.
20        Q.    I'm going to direct your attention to
21    Paragraph 13.     Oops, sorry.    I passed it.     Why don't
22    you take a minute to review Paragraph 13 and let me
23    know when you're done so I can ask a question.
24        A.    (Witness reviews document.)      Okay.
25        Q.    Did you ever make any EEO complaints related to

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 1    the subjects of Paragraph 13?
 2        A.    No.    I'm -- I have a very low -- or high
 3    threshold to want to make EEO complaints or make any
 4    complaints.      I -- my approach was -- to a certain
 5    extent was described toward the end of the paragraph.
 6    I went to talk to Mr. Mastalski and to talk to Dr. --
 7    to Mr. Stockwell directly, and I tried to work it out.
 8        Q.    I'm going to scroll down to Paragraph 15 and
 9    have you review that as well.       Let me know once you've
10    had the opportunity to read Paragraph 15.
11        A.    (Witness reviews document.)      Okay.
12        Q.    Did you ever make any EEO complaints related to
13    the subjects contained in Paragraph 15?
14        A.    No.
15        Q.    Okay.    I'm going to go on to page 6, Claim 1.
16        A.    I get dizzy watching that.
17        Q.    Sorry.   I'm trying to make it as easy as
18    possible.    So Claim 1 starts on the bottom of page 6.
19        A.    Yes.    Are you going to show me the whole thing?
20        Q.    Yeah.    I'm going to scroll down.     I'll go down
21    to the next page.     Hopefully that will work.      There.
22        A.    (Witness reviews document.)
23        Q.    I'd like to draw you're attention to Lines 10
24    through 15.
25        A.    Okay.

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 1        Q.    You allege that the records submitted to the
 2    OEDCA -- I want to make sure I got that acronym
 3    correct -- was not an appropriate factual record.
 4              What do you allege was missing from the record
 5    related to your claim?
 6        A.    So if -- and this is to the best of my
 7    knowledge because I do not really remember exactly
 8    the -- I would have to go look at the language itself.
 9    But to the best of my knowledge, there were things --
10    there was a statement in the report that of course
11    Dr. Hundahl was a credible witness.
12              Dr. Hundahl was well known not to be a credible
13    witness, as we discussed up on the Bonzani case up
14    above.    There was no attempt to even find out the facts
15    by looking at both sides of the situation so that none
16    of the people that I said could be witnesses or that
17    they should interview were interviewed.
18              The report was based entirely on interviewing
19    Mr. Graham, Mr. Stockwell, Dr. Cahill, and Dr. Hundahl.
20    I don't remember anybody else, but those were the
21    principals, saying that of course what they're saying
22    is true.    And, I mean, I've been a supervisor long
23    enough to know that if I only get one side of the
24    story, I only got one side of the story, and the report
25    was one side of the story.

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 1        Q.    So who do you allege would have information
 2    regarding the decision to remove the site manager
 3    duties?
 4        A.    So the report did not even look at -- if there
 5    was a business decision, where's the business decision?
 6    Show me -- show me what analysis was done.         The report
 7    did not even attempt to look at was there really a
 8    clinical need.    As we saw in the letter initially, the
 9    statement was, well, we just couldn't find any other VA
10    that did it quite this way, and then a few weeks later
11    I was told, oh, it was a business decision.         So I think
12    that that was the information -- the kind of
13    information that any self-respecting report would have
14    looked at.
15        Q.    And what witnesses do you allege would have had
16    that information?
17        A.    I -- I don't remember exactly who I said for
18    them to look -- to talk to, but at a minimum I said,
19    well, at least find out what -- talk to the people that
20    I have defended to find out if this is true, and then I
21    said that they should look into what the substance of
22    this was.    And there was no effort even to find out
23    what the gender, race, or anything else of the other
24    similarly situated people were until I asked them to.
25    And then they came back and said we don't know.

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 1    Basically there was a list of, you know, 20 white
 2    males, and on race it said can't tell, can't tell,
 3    can't tell, can't tell.      So that's why I said it was
 4    vacuous.
 5        Q.    Okay.   So I'm just trying to figure out --
 6    you're claiming that witnesses -- am I cutting out?
 7        A.    A little bit but not enough to not understand
 8    you.
 9        Q.    Okay.   Good.   I'm going to move a little bit
10    closer.    So you're claiming there was some witnesses
11    that were not interviewed.      I just want to make for
12    sure that we're clear on whether or not you identified
13    any witnesses who would have had information regarding
14    the decision to remove you from the site manager
15    duties.
16        A.    I had witnesses that may have told them some
17    things that -- it is my understanding that somebody who
18    is tasked with obtaining an appropriate factual record
19    would get information and then if they needed to,
20    figure out who else to get information from.         I gave
21    them -- I gave them a starting point, and they talked
22    to nobody.    And based on the complaints that I had, it
23    doesn't look like they tried to get any information.
24        Q.    So did you identify any individuals who would
25    have had information regarding the decision to remove

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 1    the site manager duties?
 2        A.    I gave them individuals that could have had
 3    information on some portions of my allegation, of my
 4    complaint.    It was related to why I was removed as a
 5    site manager, correct.
 6        Q.    So did you identify any individual involved in
 7    the decision-making process?
 8        A.    I don't remember if I included individuals that
 9    were potentially privy to that, such as Ken Fox, given
10    his behavior, but I -- I did identify individuals who
11    were witnesses to what I believe is discriminatory
12    behavior from, at a minimum, Dr. Hundahl.
13        Q.    Okay.   We'll get to the actual EEO complaint in
14    a minute, so we'll come back and revisit this a little
15    bit, so I won't go into it right now.        We'll just
16    continue to go through the complaint because that's a
17    whole other document, and I don't want things to get
18    too confusing right now.
19              On page -- in the complaint you allege that
20    there are similarly situated physician leaders, site
21    managers, and service chiefs who would be comparators.
22              So who specifically do you allege are
23    comparators?
24        A.    I believe I gave them a list of the names of
25    all the clinical service chiefs, physicians, site

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 1    managers as well as the section chiefs in surgery.
 2        Q.    Okay.   And why do you consider them to be
 3    comparators?
 4        A.    They are clinicians who also have
 5    administrative duties.
 6        Q.    Were any of those individuals site managers who
 7    also carried the title of assistant chief?
 8        A.    There are no -- how could we have two assistant
 9    chiefs of surgery in one organization?
10        Q.    Well, there's other assistant chief positions,
11    right?    It's not just --
12        A.    Yeah.   There's no other site manager that was
13    an assistant chief, but that's -- that's almost
14    immaterial.    You know, in an organization where there
15    are few titles, it's -- the probability that you would
16    have two exact combinations of titles would be
17    extremely small.
18        Q.    So how -- at the time, how many site managers
19    were there?
20        A.    I'm not exactly sure because I know Redding
21    used to have -- Redding and Chico were under one.          I
22    believe it had already been split to two.         So I think
23    it's Redding, Chico, McClellan, Fairfield/Mare Island
24    was together, Martinez, and Oakland.        So eight, I
25    believe.    I mean, it's -- I might be off by one.

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 1        Q.    And how many of those were physicians?
 2        A.    Originally -- well, the -- just before this
 3    there was three of us.
 4        Q.    Okay.   Who were they?
 5        A.    Dr. Jane Addagatla, Dr. Ron Chun, and myself.
 6        Q.    What was Dr. Addagatla's position?
 7        A.    She was -- she's sort of the physician leader
 8    for primary care.     Primary care has a sort of boss of
 9    primary care because there are a lot of those kind of
10    doctors at every facility, and she had that title plus
11    site manager title.
12        Q.    Okay.   So she was physician leader at a certain
13    location?
14        A.    McLellan.
15        Q.    Okay.   And Dr. Chun, what was his position?
16        A.    Same thing as Dr. Addagatla, primary care and
17    site manager.
18        Q.    And at what location was he primary care?
19        A.    Oakland.
20        Q.    Dr. Addagatla, do you know her national origin?
21        A.    She's Indian.
22        Q.    And do you know how she identifies her sex?
23        A.    Well, she dresses like a woman, she acts like a
24    woman, she has two kids, so I assume she's female.
25        Q.    Okay.   And for Dr. Chun, do you know his

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 1    national origin?
 2        A.    I believe he's of Chinese descent, but I don't
 3    know.    He's East Asian.
 4        Q.    And do you know how he identifies his sex?
 5        A.    Male.
 6        Q.    Okay.   So we'll go down to the Witnesses
 7    section on page 7 of Exhibit 3.
 8              MR. HOYER:   Valerie, is there any plan for a
 9    lunch break here?
10              MS. SMITH:   Yeah.   We can -- we can take a -- I
11    usually take lunch at, like, 1:30, but if you need to
12    take it earlier, we can do that.
13              MR. HOYER:   I'm going to fall over if we wait
14    till 1:30.
15              MS. SMITH:   Okay.   Do you want --
16              MR. HOYER:   How about we take lunch now and we
17    can come back at 1:00.
18              MS. SMITH:   I don't want to take 45 minutes for
19    lunch.    At most, I'd like to take a half hour.        Is that
20    okay?
21              MR. HOYER:   Well, I have to go get my food and
22    bring it back to the office and then eat it.         So
23    typically I take an hour, and I was trying to
24    compromise by suggesting 45 minutes.
25              MS. SMITH:   Well, I'm almost through the

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 1    complaint.    Can we just finish up these questions and
 2    then take our break?
 3             MR. HOYER:    Well, how long more do you think?
 4             MS. SMITH:    I have about four more questions.
 5             MR. HOYER:    Oh, okay.    Four more questions.
 6    Sure.
 7             MS. SMITH:    Well, that's fine.     Let's take our
 8    break now.    We can come back at 1:00.      That's fine.
 9             MR. HOYER:    Okay.   All right.    Thanks.
10             MS. SMITH:    For the record, it's 12:15 and
11    we're taking a break until 1:00 for lunch.
12             (At 12:15 p.m. a lunch recess was taken until
13    1:00 p.m. of the same day.)
14          (Nothing omitted nor deleted.       See next page.)
15
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 1                THURSDAY, APRIL 29, 2021; P.M. SESSION
 2
 3                           EXAMINATION RESUMED
 4    BY MS. SMITH:
 5        Q.    So we're back on the record at 1:00 o'clock,
 6    and we're continuing with Exhibit 3, the complaint.
 7    For Exhibit 3 -- I'm going to go down to page 10 where
 8    the claims start.      Oh, I guess it's not page 10.
 9              So Claim 1 is the exhaustion of administrative
10    remedies.    Claim 2, on page 10, related to retaliation.
11    On page 10 -- starting on page 10, you allege a claim
12    for retaliation based on EEO activities.
13              What specific EEO activities do you allege were
14    protected?
15              MR. HOYER:   I'm going to object the question's
16    vague.    Are you talking about the allegations in the
17    complaint?    If so, then the objection is the document
18    speaks for itself.     If you're asking for her beliefs,
19    that's a permissible question, but it's a different
20    question.
21              MS. SMITH:   Sure.   I can rephrase the question.
22    BY MS. SMITH:
23        Q.    So Dr. Velez, are you -- actually, I don't know
24    that I need the complaint anymore.        I don't think I
25    need the complaint anymore.

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 1              Dr. Velez, are you alleging a claim for
 2    retaliation based on EEO activities?
 3        A.    Yes.
 4              MR. HOYER:   Same objection.
 5    BY MS. SMITH:
 6        Q.    Okay.   And what specific EEO activity are you
 7    alleging that you engaged in?
 8              MR. HOYER:   Same objection.     I'm going to
 9    instruct the witness not to answer to the extent that
10    the question calls for the allegations that are in the
11    operative complaint.     If you're talking about her
12    beliefs, you can ask her about her beliefs, but if
13    you're asking contention interrogatories in the form of
14    a deposition question, that's improper.
15              MS. SMITH:   Actually it's completely proper,
16    Counsel.    That's the purpose of a deposition, for me to
17    explore the claims.     And so I do need to explore those
18    claims, and specifically I need to know what EEO
19    activity she alleges was protected.
20              MR. HOYER:   You can ask her about factual
21    questions because she's a factual witness.         She's not a
22    lawyer, and she's not representing herself in this
23    case.    So you can't ask her about her contentions or
24    the allegations that are made by her counsel as a party
25    in this case.

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 1              MS. SMITH:   Counsel, she drafted this
 2    complaint.    These are her own words, and so I'm asking
 3    her to explain what she believes this activity was that
 4    she engaged in that would have been protected.          She's
 5    not --
 6              MR. HOYER:   No.   Actually that's a different
 7    question.    That's a proper question.
 8              MS. SMITH:   Okay.
 9    BY MS. SMITH:
10        Q.    So Dr. Velez, what EEO activity did you engage
11    in that you believe was protected?
12        A.    So from the EEO training that we get in the VA,
13    it is my understanding that it is protected or that I
14    am allowed to, if not encouraged to, assist employees
15    who ask me in the process of what they consider to be
16    EEO complaints, and that's what I engaged in.
17        Q.    And approximately how many people did you
18    assist?
19        A.    I believe that they are listed in the
20    complaint, but I can go through in my head.         I assisted
21    about six or seven.     I answered questions for quite a
22    few more that I -- such as nursing staff or
23    housekeeping staff, cafeteria workers.
24        Q.    And do you know if those individuals, as you
25    claim assisted, do you know if they actually filed any

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 1    EEO complaints?
 2        A.    I know that several of them filed because --
 3    so, for instance, with Dr. Forest, I had somebody who
 4    was investigating her EEO call in, did a deposition for
 5    me, so I know that, and I know that Dr. Green filed
 6    something.    I know that Dr. Lee filed something.        So I
 7    do know that quite a few of them did.
 8        Q.    Okay.   Anyone else?
 9        A.    I do know that the nurse that I spoke to
10    that -- in the long-term care facility that was
11    discriminated against filed a complaint as well.          I
12    can't remember his name.      Manny something.     It must
13    have been Manuel.     I can't remember his full name.         I
14    know that one of the cafeteria workers filed a
15    complaint.    I mean, I -- that's the best I can do right
16    now.
17        Q.    And what was the basis of Dr. Forest's
18    complaint?
19        A.    So there's a basis that she was aware of, and
20    there was more that I was aware of.        She was aware of
21    Dr. Hundahl's passing of a requirement that she undergo
22    an evaluation without any evidence of any disability.
23    She was a -- she was a cancer survivor who was pretty
24    frail looking, and so he wanted to have her undergo a
25    series of occupational health evaluations without any

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 1    cause for it, and so -- so that's what she was --
 2    that's what the portion I believe that she was aware
 3    of.
 4                I don't know what other actions there were, but
 5    I know that they tried to remove her by withholding the
 6    credentialing packet from her and then asking me to
 7    submit a letter to her telling her she was being
 8    removed.      I did not submit that letter and complained
 9    to the chief of staff that this went against what we
10    were instructed in terms of reasonable accommodations
11    and that sort of discussion first and that there was no
12    basis for this.
13          Q.    Okay.
14          A.    But I do not believe Dr. Forest was aware of
15    that, so it may not be in her complaint, but I was
16    aware of that.
17          Q.    Okay.   And do you know when that complaint was
18    brought?
19          A.    I believe it's in that record, and I don't -- I
20    looked those things up when I wrote the complaint, you
21    know, the document we were just looking at, so it will
22    be in that date range.      I don't remember off the top of
23    my head.
24          Q.    Okay.   What about Dr. Green, what was the basis
25    of those EEO allegations?

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 1        A.    Green?   No.   White.
 2        Q.    Oh, I'm sorry.    I wrote down Green.     Dr. White.
 3        A.    Different color.    I might have said Green.      I
 4    don't know.      I wasn't thinking of him.    He's a
 5    completely different guy.
 6        Q.    Okay.    What about Dr. White?
 7        A.    Dr. White -- what was the basis again for his
 8    EEO complaint?
 9        Q.    Right.
10        A.    Is that your question again?
11        Q.    Yes.
12        A.    It was age.    He had hinted that he might
13    retire, and he was at the time the chief of ENT, lived
14    in Los Gatos and was working in Sacramento and wanted
15    to work in Martinez instead.       So they said that there
16    was some complaints about the quality of his care, did
17    a review of his practice, and said that there was
18    negligence on a variety of different cases, most of
19    which were quite trivial, like not getting a hearing
20    test after an ear procedure when in fact there were no
21    -- the appointments in audiology at the time were
22    almost impossible to get and the patient stated that
23    his hearing was better.
24              So -- and the basis for that was Dr. Hundahl in
25    fact at one point told some -- either Dr. White himself

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 1    or somebody else -- I can't remember.        It might have
 2    been the union president, Gloria Salter, who he told
 3    that Dr. White was somewhat demented, and having daily
 4    contact with him, I knew that that was false.
 5        Q.    Okay.   And what about for Dr. Lee, what was the
 6    basis of this EEO complaint?
 7        A.    I'm less familiar with that.      Similarly, that
 8    he was targeted by -- I don't remember his name, the
 9    previous chief of vascular surgery, and in terms of
10    quality of care issues, despite the fact that he really
11    had no different kinds of complications than anybody
12    else on the service, and it was particularly -- there
13    was no attempt to sort of do the usual thing that we
14    do, which is to work with people and try to figure out
15    is there really a problem, and it was not the usual
16    process.    So I -- I just helped him in terms of
17    pointing him to the direction of go talk to Kevin
18    Castnik (phonetic), if this is what you feel, this is
19    what you should do, you know, that kind of stuff.
20        Q.    And for the long-term care nurse, what was the
21    basis of their claim, EEO action?
22        A.    It was a Filipino male and was -- I don't
23    remember exactly what it was.       I do know that the
24    facility reinstated him and that he ended up leaving,
25    but I do know that -- I don't remember the details.          I

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 1    remember him talking to me one -- one afternoon or
 2    evening some -- one of the other physicians pointed him
 3    in my direction.     We sort of discussed what his
 4    problems were, what had happened, and similarly, I
 5    said, well, if this is what you think is going on,
 6    these are the people to contact, this is the process to
 7    go through.
 8         Q.    Okay.   What about for the cafeteria worker who
 9    you might recall his name as Manuel?
10         A.    No.   Manny was a nurse.
11         Q.    Okay.
12         A.    The nurse we just discussed was Manuel.       No.
13    The cafeteria worker was -- gosh.        I think she's Sonja,
14    but I don't remember if it's Sonja.        There's two of
15    them, Hispanic women, who were having problems, and I
16    don't -- I don't really remember details.         I do
17    remember that they talked to me when I was in line and
18    said, Oh my God, Dr. Velez, I'm getting harassed, and I
19    said, Well, you know, this is probably not the right
20    time to talk to me but if you want to, I'll talk to you
21    about it.
22         Q.    And in terms of harassment, what were they
23    referring to?
24         A.    They had a supervisor who was a black woman who
25    just had it out against the two Latinas who ran the

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 1    cash register and were claiming that they were giving
 2    away food and things like that.        That's all I remember
 3    from that story.     I don't remember what else.       I know
 4    that both of them felt they were being treated quite
 5    differently from the black employees that were working
 6    in the same spot.
 7         Q.    Okay.   Is there any other protected activity
 8    that you believe you engaged in that was the basis for
 9    retaliation?
10         A.    Oh, Dr. Martin was a big issue.
11         Q.    Okay.
12         A.    I think she's mentioned several times in the
13    complaint because that went on for quite a few years,
14    and I had been her direct supervisor for quite a few
15    years and -- (phone interruption).        Let me put this on
16    silent.     I unsilenced it during the break.      Sorry.    And
17    then -- that's -- that was a big story, big scandal,
18    ended up with Dr. Lazarino becoming her supervisor and
19    subsequently Dr. Lazarino being convicted of fraud.
20         Q.    What was the basis of Dr. Martin's complaint?
21         A.    I don't really know what the basis of her
22    complaint was.     I didn't -- that's not what I was
23    primarily engaged with.      I was engaged with her defense
24    of functioning as a podiatrist in Martinez, and that
25    was -- that was the extent of mine -- my involvement

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 1    with her.
 2         Q.    What time period did Dr. Martin's issue occur?
 3         A.    I would have to look at that -- the document
 4    that we were just looking at.       When it started, I
 5    believe that Dr. Lazarino left in 2015 maybe.          I think
 6    that's about when he -- when he left the organization.
 7         Q.    Okay.   I'm just going to go back because I
 8    forgot to ask about time frames.
 9               For the EEO action related to Dr. White, when
10    did that occur?
11         A.    I would look at the document we just looked at.
12    I put those time frames in there, and I don't remember
13    off the top of my head.      His was after Forest and I
14    believe shortly after Martin, but I don't remember.
15         Q.    And what about Dr. Lee, when did that EEO
16    occur?
17         A.    Dr. Lee's issues -- so he -- as they've just
18    sort have been recurrent and ongoing is the way I would
19    describe them.     He came to a settlement agreement with
20    the administration, and it was immediately violated.
21    And what they said that they had settled on and he
22    agreed to, they turned around and said no, never mind,
23    we didn't do that, but I don't know what status he's at
24    right now.     But it had been -- it went on for -- and is
25    sort of still ongoing.

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 1         Q.    In terms of the nurse Manny for the long-term
 2    care facility, when did that occur?
 3         A.    I don't know.   I don't remember.
 4         Q.    What about the caf -- sorry.
 5         A.    Those were both extremely brief, brief
 6    conversations that I remember.        There are probably
 7    others like that in the organization that I don't
 8    remember.
 9         Q.    Okay.   And what about with the cafeteria worker
10    Sonja, do you recall when that occurred?
11         A.    No.
12         Q.    Are there any other bases for your claim for
13    retaliation?
14         A.    Well, I do think that Dr. Hundahl was keenly
15    aware of my prior EEO activities with David Grant and
16    because of the -- he worked hard at trying to set up
17    sharing agreements with the Department of Defense for
18    that facility, and I -- so I do think he was keenly
19    aware of that.
20         Q.    And when -- when did that occur, early 2000s,
21    you said?
22         A.    Correct.   Before he came onboard, but he -- I
23    know that he told -- for instance, I know from Dr. Lee
24    that Dr. Hundahl was the one who told him about my EEO
25    activities with David Grant.       There was no reason for

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 1    him to tell him that unless it was something that
 2    signified for him.
 3         Q.    But he never told you any action was being
 4    taken --
 5         A.    Oh, no.
 6         Q.    -- because of your involvement in prior EEO
 7    activity?
 8         A.    He would not have told me that, no.
 9         Q.    Do you allege that anyone who was similarly
10    situated to you was treated differently than you
11    related to the site manager position?
12               MR. HOYER:   Counsel, we're back to alleged
13    allegations rather than her beliefs.        I'm going to
14    instruct the witness not to answer to the extent that
15    it calls for a legal conclusion and it's an improper
16    contention interrogatory in deposition.
17    BY MS. SMITH:
18         Q.    Do you believe that anyone who was similarly
19    situated to you was treated differently than you
20    related to the site manager position?
21         A.    There -- most of the similarly situated people
22    were not site managers, and so therefore there is no
23    question there.      Most of the similarly situated people
24    were section chiefs or service chiefs, not site
25    managers, and I do believe that I was treated

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 1    differently than they were treated on a variety of
 2    other issues that were similar issues but not the same
 3    issue.     There's not enough -- the "n" is too small in
 4    the doctor/site manager similarly situated group.           The
 5    only way to get a group that has any meaning is to
 6    expand the group.
 7         Q.    So in terms -- so in relation to the section
 8    chiefs, who are you alleging was treated differently
 9    than you?
10         A.    Well, the biggest -- the one that stands out
11    the most is Lazarino.
12         Q.    And who was -- what's his national origin?
13         A.    Well, with a name like Lazarino, I assume
14    Italian descent, but he -- he's a white guy that looks
15    and speaks like an American.       I don't -- I don't know.
16         Q.    And when you say "guy," you believe his sex to
17    be male?
18         A.    Yeah.   He had, like, six children.
19         Q.    And who was his -- what was his line of
20    supervision?
21         A.    Dr. Hundahl and Dr. Cahill, like mine, like
22    mine is now.
23         Q.    Okay.   And in 2018, what was your line of
24    supervision?
25         A.    Before or after this letter?

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 1          Q.    In -- let me rephrase that question.      I'll come
 2    back to that.       I'll come back to that.
 3                In terms of -- what was Dr. Lazarino's title?
 4          A.    He was chief of podiatry.
 5          Q.    And how do you allege that Dr. Lazarino was
 6    treated differently than you, or how -- what -- why do
 7    you believe he was treated differently than you?
 8          A.    Well, he was clearly protected by Dr. Hundahl
 9    and Dr. Cahill to the extent that neither of them did
10    anything when they were alerted that he was committing
11    fraud.      Neither of them did anything in his actions
12    against Dr. Martin and defamatory statements against
13    me.    Neither of them -- they, in essence, protected him
14    and gave him -- Dr. Hundahl, knowing that he had no
15    actual research program, signed his time cards when he
16    was in fact going to work for the shoe company that he
17    was -- that was committing the fraud.
18          Q.    So in terms of duties, how was he treated
19    differently than you?
20          A.    In terms of duties?
21          Q.    Yeah.
22          A.    He was -- he was given paid time away from the
23    VA where he was in fact doing private business.          He
24    was -- he was not held accountable for -- I mean, my
25    standard line was if I had done half of what he did, I

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 1    would have gotten fired.       He was protected when he was
 2    taking illegal actions against his employees, when he
 3    was doing illegal things in the organization.
 4         Q.    Okay.   Are there any other section chiefs that
 5    you believe were similarly situated and treated
 6    differently than you?
 7         A.    Well, to a certain extent I would say that at
 8    least in surgery Dr. -- oh God.        What was his first
 9    name?     Carson, I believe, was his name.      He was the
10    vascular section chief.      He was also allowed to do
11    things that violate office personnel management type of
12    rules.     He -- and, you know, he was -- he was not
13    removed from the position.       He was not -- his career
14    was not affected in any way.
15         Q.    When you say he was allowed to do things that
16    violated OPM rules, what are you speaking about?
17         A.    He -- well, I mean, I -- I -- I don't know this
18    for a fact.     I know it as hearsay.     He had -- he had a
19    relationship with a trainee.       He gave people time off
20    when they weren't in fact doing work.         These are things
21    that I know as hearsay.      I don't -- I don't have a
22    document that proves that, but I believe that he was
23    allowed to behave differently.
24         Q.    Now, Dr. Carson, what was his national origin?
25         A.    He's an American white guy.     I don't know what

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 1    his national origin is beyond that.        He never talked
 2    about any other national origin.
 3         Q.    Okay.   And in terms of sex, identify as male?
 4         A.    Correct.
 5         Q.    What was his title?
 6         A.    He was chief of vascular surgery.
 7         Q.    What was his chain of command?
 8         A.    Hundahl and Cahill.
 9         Q.    Is there anyone else -- any other section chief
10    that you believe who was similarly situated and treated
11    differently than you?
12         A.    Well, as far as I know, none of the service
13    chiefs or other section chiefs were removed of their
14    duty while being told that they were doing a great job.
15         Q.    As you sit here today, are there any other
16    individuals who you're alleging were similarly situated
17    to you?
18         A.    Than the ones that we've spoken to and named?
19         Q.    Yeah.
20         A.    Absolutely.
21         Q.    Okay.
22         A.    There's a whole list I think that we sent --
23    submitted at one point where I went through and wrote
24    down the names.       I would not be able to come up with
25    most of them right now, but I have submitted two -- in

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 1    one of these documents for the EEOC or OEDCA or one of
 2    those investigations, they asked me for "give me a list
 3    of people who you think are similarly situated," and I
 4    sent them a list.
 5         Q.    Okay.
 6         A.    I believe that that is one of the attachments
 7    in the complaint, but I don't know if we included that.
 8         Q.    Okay.   Can -- do you have your cell phone next
 9    to your computer?
10         A.    Maybe it's a little closer than it was.       I'll
11    pull it on the other side.
12         Q.    Thank you.   It's very possible that's giving us
13    feedback, so we want to try to fix that if we can.           All
14    right.     So we talked through the service chiefs,
15    section chiefs.     Let's talk about the other site
16    managers.
17               Are you alleging that any of the site managers
18    were treated differently than you?
19         A.    Well, at this point -- so yeah.      The only other
20    site manager that was also removed was Mr. -- Dr. Chun.
21    He was given the title of chief medical officer for
22    Oakland instead of site manager.        His chain of command
23    was like mine:     Graham and then Stockwell.      And
24    Dr. Addagatla, nothing changed with her, and the site
25    managers that were not physicians -- Maria

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 1    Miller-Carelock, Dawn Black -- and at that point the
 2    Chico person was different than he is now, and I don't
 3    remember his name.      They were not treated -- there was
 4    no change to their job.
 5         Q.    Okay.
 6         A.    Sorry.   My phone was falling off the --
 7         Q.    It's okay.
 8         A.    I put it on a chair, and it was slowly sliding.
 9         Q.    Do you believe that -- let me just rephrase
10    this question.
11               Why do you believe that the site manager duties
12    were reassigned?
13         A.    I don't -- I believe that Mr. Stockwell did not
14    like the fact that I had a voice on the campus and in
15    leadership, that frequently I defended minorities.           My
16    removal followed a time frame when several of the women
17    in the -- on the campus had filed sexual harassment
18    complaints and, because the system was not listening to
19    them, went to the media, and we had a town hall meeting
20    and I don't think that my support of these women was
21    appreciated.
22         Q.    Any other reasons?
23         A.    Yeah.    I don't think that I fit the mold.
24    I'm --
25         Q.    What do you mean by that?

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 1         A.    I'm not your -- I'm not -- people tend to feel
 2    most comfortable with individuals who are like them,
 3    and I feel that I am not like them.        Having grown up in
 4    Latin America and being of Latin descent, I'm the only
 5    one who gets up and dances at parties with the
 6    housekeepers.       I -- I have a different cultural way of
 7    responding to individuals and problems.         I have a
 8    different voice.      The Pentad and most of the
 9    administration is quite uncomfortable with that voice.
10         Q.    What -- what do you believe that voice
11    represents?
12         A.    It represents those of us who are not the
13    usual, for lack of a better term, you know, white
14    Anglo-Saxon Protestant male.       There are a few females
15    who do okay in that system, but even they are generally
16    few.
17         Q.    I see.   So do you believe that this action
18    was -- that the action reassigning your site manager
19    duties was taken based on your national origin and sex?
20         A.    In part, yes.
21         Q.    Okay.    Why do you believe that?
22         A.    Because it's too foreign and it's uncomfortable
23    for them.
24         Q.    Is there any -- did anyone make any statements
25    to you regarding your national origin?

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 1          A.    Well, so I don't -- you need to make that a
 2    little more precise.      Over the years people have
 3    commented on the fact that -- at the employee barbecue
 4    or whatever, when the music gets going, I start
 5    dancing.      They have commented on things like that, but
 6    I -- I think if you -- you need to make your question
 7    more, like, specific, like who?        Like, people all over
 8    the organization have made comments about my national
 9    origin but --
10          Q.    Okay.   We'll get to that a little bit later
11    on.
12                And why do you believe that the action taken
13    regarding the site manager duties was based on your
14    sex?
15          A.    I -- I think that -- in particular, I believe
16    that because of the problems that were occurring with
17    some of the women on campus.
18          Q.    Okay.   Can you expand upon that?    I'm not sure
19    I understand.       Because of the problems that were
20    occurring on campus?
21          A.    So we had -- there was a BDMS supervisor who
22    was harassing several employees.        I was pushing BDMS
23    administration to take some action against him, remove
24    him, move him out, this is wrong, we can't have this in
25    this organization.      That's -- that's the kind of things

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 1    I'm saying.
 2               These are the woman who went to the media,
 3    complained about it because they weren't getting any
 4    response from the organization, and I think when we had
 5    a town hall meeting, quite a few other women got up and
 6    complained, and my -- it appeared to me that what the
 7    organization wanted was someway to have this just go
 8    away.     And they knew that if I was involved, I would
 9    not be allowing it to just go away.
10         Q.    In terms of the other women who spoke at this
11    town hall meeting that you're describing, were there
12    any other actions that were taken related to them,
13    employment actions related to them?
14         A.    I don't know.   I only know what I heard at the
15    town hall meeting.      Several of them are people that I
16    hadn't seen before.      There was a homeless outreach
17    social worker that was quite upset.        There was somebody
18    from radiology who was quite upset.        I don't -- I don't
19    really -- I didn't follow up to find out what actions
20    were taken against them.
21         Q.    Okay.   Could there have been reasons other than
22    national origin, sex, and retaliation that were factors
23    or -- let me rephrase that question.        Let me strike
24    that last question.
25               Could there have been other reasons other than

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 1    national origin, sex, and retaliation for why the site
 2    manager duties were reassigned?
 3         A.    That's a hypothetical question.      Of course.
 4    There always could always be a thousand other reasons
 5    for anything in life.
 6         Q.    Okay.   And are there any other reasons, as you
 7    sit here today, other than what we've gone over why
 8    this action was taken?
 9         A.    None that I can -- that I can -- that are
10    credible in terms of the need to take this action.
11         Q.    Can you explain that?
12         A.    So I could come up with 20 reasons that I don't
13    believe are credible, such as, you know, we have a
14    shortage of appointments in the eye department.          Well,
15    having me not be a site manager is not going to fix
16    that since I don't know how to do the eye exams.          There
17    are lots of other reasons that one can state, such as
18    we need -- we need doctors to be doing doctor work.
19    Well, the amount of time that I spent doing doctor work
20    didn't change, so how can I believe that was credible
21    at this point?     That's what I mean by that statement.
22         Q.    So are you claiming or do you believe that you
23    were discriminated against based on your race?
24         A.    Race is a hard issue, isn't it?      That's why on
25    the census they say -- they have a whole thing for

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 1    Hispanics that is not black, Hispanics other than,
 2    right?     The people that I'm descendant from went to the
 3    mountains of Columbia in the late 1500s and early
 4    1600s.     They were from Europe when they went to
 5    Columbia.     Am I European?    Right.   You get the -- you
 6    get the answer.
 7         Q.    Let me rephrase the question for you.       I'm glad
 8    you know your family's history.        That's pretty amazing.
 9               But were -- so do you believe you were
10    discriminated against based on your national origin?
11         A.    To the extent that I behave differently -- both
12    of my parents spoke with thick accents.         I lived in
13    Latin America until I was 18 years old.         I am
14    culturally -- I may not look like one, and I may not
15    sound like a foreigner, but I am culturally not your
16    standard American.
17         Q.    Okay.
18         A.    I don't know how else to explain it.
19         Q.    I understand.   But my question is so do you
20    believe you were discriminated against based on what
21    you've described is your national origin?
22         A.    To the extent that that's what makes me
23    different, yes.     People -- people can be different
24    because their skin color's different, but people behave
25    differently because of where they were born and how

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 1    they were raised.     People of Indian descent do not
 2    behave the way that Indians behave because of the
 3    color of their skin.      It's because they were raised in
 4    India.
 5         Q.    Okay.   And do you believe that you were
 6    discriminated against based on your sex?
 7         A.    Because I'm female and because I support other
 8    females that are having issues, yes.
 9         Q.    Okay.   And how do you believe you were
10    discriminated against based on what you describe as
11    being different or national origin?
12         A.    This move is a move to push me out of a
13    leadership group.     That's how.     By pushing me to the
14    side so that at the meetings when they're discussing
15    budget, when they're discussing most of the moves of
16    the organization, I would not be a voice at the table.
17         Q.    Okay.   And who are you alleging is responsible
18    for this?
19         A.    People that I allege in the claim.      It's the
20    Pentad, the -- the individuals in the Pentad that have
21    something directly to do with this.        I don't believe
22    the associate director in Sacramento, for instance, had
23    much to do with this, but I -- and the nurse executive
24    may or may not have.      I don't know.    But for sure
25    Graham, Stockwell, Cahill, and to the extent that

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 1    Dr. Hundahl had a significant amount of animus towards
 2    me, if they conferred with Dr. Hundahl, since I'm a
 3    surgeon, that would have been the other person.
 4         Q.    Okay.   Anyone else?
 5         A.    Those are the -- those are the big key players.
 6    You know, if there's somebody in the organization that
 7    has an issue with me and -- you know, I mean, I've been
 8    there so long.     I can't imagine there aren't other
 9    people that have a problem, but those are not the
10    people who carried out this action.
11         Q.    And is this -- without being repetitive, how do
12    you believe you were discriminated against based on
13    your sex?
14         A.    I think we've already discussed that.       The only
15    thing I can say is because there were -- so let me just
16    back up a tiny bit, which is that part of the functions
17    of the site manager office was frequently to
18    intermediate some of these potential EEO problems in
19    the organization.
20               Both of my administrative officers over the
21    time that I was site manager -- Ernie Johnson, who is
22    an African American male, and Lee Miller, white female,
23    took mediation training -- were EEO mediators, and we
24    actively went out and sought problems that could
25    potentially be EEO problems when we heard them through

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 1    the organizational grapevine on the campus, and we went
 2    out and tried to resolve them.        We tried to find out
 3    what the problems were, find out what may be going on,
 4    see what we could do to stop the situation so that
 5    employees would be working in a nonhostile work
 6    environment.
 7         Q.    So I guess what you just described, is that
 8    what you believe your basis was for this discriminatory
 9    action?
10         A.    I would not say that's the basis, but that sets
11    the background for it.
12         Q.    Okay.   So what is your basis for belief that
13    the action related to the site manager position was
14    discriminatory?
15               MR. HOYER:   Other than what she's already
16    testified to?
17               THE WITNESS:   I was going to say I don't
18    understand what else you're trying to get to.
19    BY MS. SMITH:
20         Q.    I'm making for sure my record is complete, and
21    so I have to exhaust as much as I can.
22               Is there any other reason or belief as to why
23    this would have been a discriminatory action?
24         A.    I think if I was a standard white American
25    male, they would not have removed me.

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 1         Q.    Okay.
 2         A.    Is that the answer you want?
 3         Q.    I don't want any answer.     I want you to answer
 4    to the --
 5         A.    That's basically what I'm telling you.       I'm
 6    different.     I'm female.    I'm -- you know, I don't fit
 7    the mold.
 8         Q.    Is there any other -- is there anything else
 9    that you believe was the basis?
10         A.    I don't think so.
11         Q.    Okay.   Did you -- do you believe that you --
12    your duties following the August 20th, 2018 memo from
13    Mr. Graham resulted in less prestigious work?
14         A.    Absolutely.
15         Q.    Okay.   And how?
16         A.    For one thing, what I represented in the
17    organization and the extent of the organizational
18    impact, but secondly, to the outside world.          If you
19    look at my CV, you can see that I was acting chief
20    medical officer for Business 7.        Business 7 is --
21    that's the -- looking over all the medical care of
22    South Carolina, Georgia, and a little bit of Alabama.
23    It was a giant scope.
24               The type of work that I can say I do by
25    managing a place like Martinez would at least make it

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 1    clear that I have the ability to manage a much larger
 2    scope because I had been doing it extremely well.           I
 3    also worked in Central Office with the office that has
 4    oversight over the people who are two steps above
 5    Mr. Stockwell, and I -- those opportunities came to me
 6    primarily because I could say this is what I do, I have
 7    this administrative -- I have -- it's -- I'm not just a
 8    doc who does surgery and manages two or three
 9    surgeons.
10         Q.    Okay.   So in 2018, as a -- an assistant chief
11    before the memo, who did you report to or who was your
12    chain of command?
13         A.    I think we already answered this way back at
14    the beginning.     Mr. Graham and then Mr. Stockwell.
15         Q.    I want to make sure it's clear though.
16               In terms of your physician duties as the
17    assistant chief, who did you report to?
18         A.    So unfortunately the organization does not know
19    how to deal with a matrix organization, so I reported
20    to Mr. Graham and then Mr. Stockwell.         It was expected
21    that if there were problems with my surgery duties,
22    that Mr. Graham and Dr. Hundahl would have spoken to
23    each other.     So Dr. Hundahl filled out an evaluation
24    for me, but it was not -- it's -- it was not the sort
25    of official evaluation.      He was not the supervisor.         He

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 1    filled out an evaluation in order to determine the
 2    extent of my bonus as a surgeon.
 3         Q.    Okay.   So --
 4         A.    Is that helpful?
 5         Q.    I think that makes it clear to me --
 6         A.    Okay.
 7         Q.    -- as to your understanding of your chain of
 8    command.
 9               And then following the memo, what was your
10    chain of command?
11         A.    Hundahl and then Cahill.
12         Q.    Okay.   Did you report this complaint to anyone?
13         A.    You mean other than, like, the EEOC person
14    or --
15         Q.    Yeah.
16         A.    -- a medical provider?     No.   I mean, I --
17    reported to anybody?       I don't remember reporting it to
18    somebody.     I was quite upset.    So the people around me
19    knew that something was going on, and Mr. Graham sent
20    out a message telling everybody what was going on, so
21    everybody would talk to me.       So I don't remember
22    reporting the complaint, but I do remember talking
23    about my grievances.
24         Q.    Okay.   But did you file -- you filed a
25    grievance, correct?

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 1         A.    I filed whatever I was supposed to file.       I
 2    believe that's what I filed.
 3         Q.    Okay.   In the first steps of the EEO process?
 4         A.    You know, I get all these words wrong.       Just
 5    like patients got all their body parts wrong, I get all
 6    these words wrong.      So I don't know what -- what comes
 7    before what and what I did first and what I did second.
 8    I know I filed a complaint.       I know I met with people.
 9    I know I followed the follow-up to that complaint.            So
10    I know I followed the process.        I just don't know what
11    the words were.
12         Q.    Okay.   Now, you proposed that the position of
13    chief medical officer be created?
14         A.    Chief medical officer is what the organization
15    had on the campuses before the site manager process was
16    created.     It was also a position that existed at some
17    of the facilities that had a site manager that was a
18    nonphysician so that the medical care could be
19    coordinated at that position -- that facility.
20    Dr. Chun went back to being a chief medical officer
21    when he was removed as being a site manager.
22         Q.    Are there any other individuals that you're
23    aware of with the title of chief medical officer?
24         A.    You know, I don't know in Northern California
25    anymore because I'm not sort of going around looking.

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 1    There are -- there's a whole other level of people that
 2    are called chief medical officers, but that's a step
 3    above Dr. Cahill.     That's when I was acting chief
 4    medical officer in Business 7, but that's a different
 5    role.
 6         Q.    Okay.
 7         A.    There's a -- it's the same title used for two
 8    totally different roles.
 9         Q.    Okay.   When you proposed this, did you provide
10    a position description with duties as to what that
11    position would look like?
12         A.    No.   I didn't provide a physician description.
13         Q.    And who did you relay this request to?
14         A.    I don't remember who I relayed it to first, but
15    both Mr. Stockwell and Dr. Cahill were aware.          I might
16    have sent it in writing to Mr. Graham, but I don't
17    remember that part.
18         Q.    Now, when we talk about the -- Dr. Cahill,
19    Dr. Graham -- not -- sorry.
20               Dr. Cahill, Dr. Hundahl, Mr. Graham,
21    Mr. Stockwell, did any of them make any discriminating
22    remarks to you relating to your sex?
23         A.    Not to my face, no.
24         Q.    Okay.   Were you told you would be held to a
25    different standard because you were a woman?

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 1         A.    I've never been told that in my life, but I
 2    know that I have been in the past.
 3         Q.    And are you speaking specifically about the
 4    four individuals that we're talking about?
 5         A.    No.
 6         Q.    Okay.
 7         A.    Just in general.
 8         Q.    Okay.
 9         A.    You have to work twice as hard for half the
10    pay.
11         Q.    Did any of the individuals involved in the
12    reassignment of the site manager duties reference your
13    sex during that process?
14         A.    No.
15         Q.    Okay.   And I'm trying to avoid duplication, so
16    there's going to be some pauses between questions to
17    make for sure we're not duplicating questions.
18               What specific actions do you believe were taken
19    against you in retaliation for your EEO involvement?
20         A.    Besides what we've already talked about?
21         Q.    Are you just talking about the site manager
22    position?
23         A.    No.   I think that it started out with
24    Dr. Hundahl removing my supervisory responsibility over
25    many of the surgeons because it was only because I had

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 1    supervisory responsibility over Dr. Forest that he
 2    couldn't do what he wanted to do, or Dr. Dow because he
 3    couldn't do what he wanted to do.
 4               Before that, Dr. Aleva (phonetic), who I didn't
 5    even mention in this because it's even longer ago,
 6    Filipino male, so he started removing supervisory
 7    responsibilities so that I couldn't -- couldn't sort of
 8    interfere with what he wanted to do, and I think that
 9    therefore I believe that was in part retaliating for
10    the fact that I was, like, no, we cannot do illegal EEO
11    things to people, we can't, like, single out the Asian
12    urologist while I have a -- who's frail when I have an
13    even frailer white urologist that we are totally
14    ignoring.     I mean, that was the kind of thing that was
15    a problem at that     point.
16         Q.    Okay.   And so in terms of the action taken
17    earlier related to the site manager position, do you
18    believe that that was retaliation for your EEO
19    activity?
20         A.    I think it was a combination of that, correct.
21         Q.    Okay.   In addition to the other -- the national
22    origin and sex?
23         A.    Correct.
24         Q.    Okay.
25         A.    I think that that -- I think that was

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 1    particularly problematic for them.
 2         Q.    Okay.   And who do you believe retaliated
 3    against you for your participation in aiding the EEO
 4    complaints of other physicians?
 5         A.    For sure Hundahl, most likely Stockwell, most
 6    likely Cahill, and I believe that Graham was late to
 7    the scene and did not know as much, which is why I
 8    don't believe that this action just comes from him.
 9         Q.    Okay.   Do you believe that any -- are there any
10    individuals who actively participated in EEO -- aiding
11    other complaints and aiding other physicians, are there
12    other comparators to you in that realm?
13         A.    Other physician comparators, no.      The man that
14    I alluded to earlier, Ernie Johnson, who was my
15    administrative assistant, had been the union president
16    before, and like I said, he was an African American
17    male who worked as an EEO mediator as well, but he
18    signified quite a few people in terms of, you know,
19    telling them how to go through with an EEO complaint.
20    And most of what we try to do is try to prevent them.
21    If it was something that we couldn't prevent, then he
22    would give people that information.
23         Q.    Okay.   So as union president, he had specific
24    duties and responsibilities?
25         A.    No, no, no.   This was -- he had been union

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 1    president many years before.       He was an administrative
 2    assistant working for me, not a --
 3         Q.    Okay.   So as an administrative assistant, did
 4    he have any duties and responsibilities involving the
 5    EEO process?
 6         A.    No.
 7         Q.    Okay.   And do you believe that he was treated
 8    differently than you?
 9         A.    Well, over his career.     I mean, I -- I was his
10    supervisor for the last, I don't know, 10, 15 years of
11    his employment, so no.      But prior to that, I think he
12    was -- he was not promoted to the extent of his
13    abilities.
14         Q.    And do you believe that he was treated more
15    favorably than you?
16         A.    That's a hard question because I'm a person who
17    did most of his quote-unquote treatment, and I don't
18    think -- I believe that he got a promotion, moved up
19    the organization, and was quite valuable once he was
20    working for me.     He was somewhat sidelined before that,
21    so I don't believe the organization treated him more
22    favorably than -- than I've been treated, but I do
23    think that I allowed him to shine.        He was an
24    incredible employee.
25         Q.    Okay.   So I'm going to go into instructions

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 1    related to specific individuals.        We'll go through
 2    Mr. Graham, Dr. Hundahl, Mr. Stockwell, and Dr. Cahill.
 3    I fear these are going to feel very repetitive, but we
 4    have to have a clear record.
 5               Who is Timothy Graham?
 6         A.    Associate director.
 7         Q.    Okay.   And do you believe that Mr. Graham
 8    discriminated against you?
 9         A.    Yes.
10         Q.    Okay.   And how do you believe he discriminated
11    against you?
12               MR. HOYER:   Objection.
13    BY MS. SMITH:
14         Q.    What action do you believe he took to
15    discriminate against you?
16         A.    Well, I would say that the ultimate action was
17    to in fact go through and hand me this letter.          I
18    believe that the previous two associate directors were
19    asked to do the same thing and they didn't do it and
20    it -- and I believe that Mr. Graham did.
21         Q.    And when you say the prior two, are they
22    assistant or associate directors?
23         A.    Assistant directors.
24         Q.    Assistant directors?
25         A.    Associate directors?    Assistant directors?

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 1    What are they?     I don't know.
 2         Q.    We can call them ADs for now.
 3         A.    I was going to say it's an AD.      Well, one of
 4    them is a higher step than the other, and I don't know
 5    which one it is.     It's the higher step.
 6         Q.    Okay.   So the two prior ADs, why do you believe
 7    that they were told to take this action?
 8         A.    I think Mr. Stockwell had a problem with me,
 9    and I think that this is why what they -- they did
10    instead is when Mr. Mastalski was the associate
11    director, or AD -- associate -- there you go.          I got
12    the right one.     Once I'm not thinking, I got the right
13    one.
14               Mr. Mastalski did not -- what they did is they
15    took away my administrative assistant off -- or
16    administrative officer, whatever it was, CAO, chief
17    administrative officer, position away when Lee left.
18    Her husband was on active duty, and they got
19    transferred somewhere else.       And they took that
20    position away from me because he did not want to just
21    eliminate the site manager office but they were trying
22    to cripple me completely.       And so that was the action
23    that he agreed to, but he kept asking me questions and
24    trying to gauge what do you -- what exactly do you do,
25    those kinds of things, so that I -- I firmly believe

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 1    that this is what he was told to do and he just didn't
 2    feel that he could.      Then Mr. Howell actually told me
 3    that he didn't want to take this action.         He was acting
 4    associate director.
 5         Q.    Okay.   But did either one of these individuals
 6    tell you that they were told to take this action?
 7         A.    Mr. Howell.
 8         Q.    And who did he tell you told him to take this
 9    action?
10         A.    I mean, the only person that would make sense
11    would be Stockwell.
12         Q.    Did he tell you who told him to take that
13    action?
14         A.    I don't remember him telling me.
15         Q.    Okay.
16         A.    But I don't think he needed to.
17         Q.    Okay.   Do you know if Mr. Graham was aware of
18    your national origin?
19         A.    I would think that he would be since he had
20    heard me speak Spanish to Martha.        I've been a speaker
21    for the National Hispanic Month celebrations.          I mean,
22    I -- know, I don't know, but I would -- he would have
23    had to sort of had his blinders on not to know.
24         Q.    Do you know when he became aware of this
25    information?

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 1         A.    Oh, actually, no.    Never mind.    He absolutely
 2    knew.     He and I did a leadership VA program in 2010,
 3    and there was a night in the celebration of your
 4    origins.     And myself, a Puerto Rican woman and -- and I
 5    don't know what the other one was -- a Hispanic woman
 6    did a whole little spiel on Las Tres Marias, and we
 7    just sort of, like, had a joke about, you know,
 8    Maria 1, Maria 2, Maria 3.       We -- so he absolutely knew
 9    because he was standing there in front of me when that
10    was going on.
11         Q.    Do you know his --
12         A.    It was before he came to the organization he
13    knew.
14         Q.    Okay.   It must have been a fun night because
15    you got lively.
16         A.    Yeah.   Well, I got the sheets from the hotel
17    and made three long white skirts for us, big red flower
18    on our head and made fools of ourselves, but that's all
19    right.
20         Q.    Do you know what his national origin is?
21         A.    I know he's from the South.     I want to say
22    Kentucky or Tennessee, but I -- he's got a name like
23    Graham, and he looks white but --
24         Q.    Okay.   And he identifies as male?
25         A.    I believe so.

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 1         Q.    Okay.    Do you believe that Mr. Graham
 2    retaliated against you?
 3         A.    Didn't you already ask that?
 4               MR. HOYER:      Didn't you just ask that?
 5    BY MS. SMITH:
 6         Q.    I asked discrimination.
 7         A.    Okay.    I thought you said retaliated, but okay.
 8    Yeah.     Yes.
 9         Q.    Okay.    So yes to both discrimination and
10    retaliation.       Okay.
11         A.    Yes.
12         Q.    And what was his role in supervision?       What's
13    his role in the chain of command?
14         A.    He was my first line supervisor.
15         Q.    And who else does he supervise?
16         A.    He supervised the other site managers in the
17    East Bay, so Maria and Ron Chun, and he supervises
18    approximately half of the administrative service
19    chiefs, and I can never keep track of which one they're
20    supervising.       I know it wasn't engineering because he
21    was upset it wasn't engineering.        I believe it was
22    human source, BDMS, volunteer service, a few other
23    services.     I just don't -- housekeeping.      I know
24    housekeeping was one of his services.
25         Q.    Okay.    When did he start supervising you?

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 1         A.    When he arrived.    I don't remember when that
 2    was.    When he got the job.
 3         Q.    Okay.   And other than handing you the memo and
 4    having a conversation with you about the site manager
 5    duties, what was his role in the reassignment, do you
 6    know?
 7         A.    I don't know.
 8         Q.    Okay.
 9         A.    I mean, I don't understand the question really.
10         Q.    I guess my question would be do you know if he
11    was the decision maker regarding the reassignment of
12    site manager duties?
13         A.    That last question came up this morning.       I do
14    not believe that he was the sole decision maker.
15         Q.    Okay.
16         A.    But I think we already talked about that.
17         Q.    Okay.   So we've -- you've talked about
18    Dr. Hundahl.       What was his title?
19         A.    Chief of surgery.
20         Q.    Okay.   And what was -- how -- what was his
21    chain of command?
22         A.    You mean who his boss was?
23         Q.    Yeah.
24         A.    Cahill and then Stockwell.
25         Q.    And do you know if he was aware of your

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 1    national origin?
 2          A.    Sorry.   My daughter was walking in so I was
 3    just -- Hundahl, yes.       He would be aware of my national
 4    origin.
 5          Q.    Do you know when he became aware of that
 6    information?
 7          A.    No.
 8          Q.    And do you believe that Dr. Hundahl
 9    discriminated against you?
10          A.    Absolutely.
11          Q.    I'm sorry?
12          A.    I said absolutely.
13          Q.    Absolutely.   Sorry.   It took a minute to sink
14    in.
15                And other than what we've discussed as to how
16    he's discriminated against you, are there any other
17    reasons or are there any other "how" he has
18    discriminated against you?
19          A.    I mean, we've already discussed supervision.
20    We've already discussed some of the actions.          We talked
21    about things that he tried to do.        I think -- I mean, I
22    also think that he has a problem with strong women,
23    so --
24          Q.    And do you know his national origin?
25          A.    He's from -- his family is from New England.

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 1    He's a white guy from New England.
 2         Q.    Okay.   And identifies as male?
 3         A.    Correct.
 4         Q.    Okay.   We already previously discussed that you
 5    believe he retaliated against you for your EEO
 6    activities.
 7               Is there any other reason that he would have
 8    retaliated against you?
 9         A.    Well, partly it could be from the previous Air
10    Force activities because he -- he wanted to make his
11    name in Northern California for having put together a
12    bunch of sharing agreements with the Air Force, with
13    David Grant.       So I do think that it was a problem for
14    him I'd won a lawsuit against David Grant.         I think
15    that was a problem for him as well.
16         Q.    Do you know how he became aware of that
17    involvement?
18         A.    No idea, but obviously somebody told him
19    because he told other people, and it happened before he
20    came onboard.
21         Q.    Do you know if he was aware of your involvement
22    aiding other physicians in EEO complaints?
23         A.    Well, some of them obviously he would have
24    known that I was involved, such as Dr. Martin where --
25    there was sort of our emails where, you know, I tell

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 1    him -- I mean, I sent him an email saying what
 2    Dr. Lazarino is trying to do with Dr. Martin is wrong,
 3    she's the most productive person, there's no complaints
 4    about her care, et cetera.       So I sent him the
 5    statistics.     I said here I've got this white podiatrist
 6    doing this, I've got this other person doing this, I've
 7    got her doing this.      Dr. Lazarino complained about her
 8    being Jewish, about her being -- you know, behaving
 9    like a something-something Jewish woman, you know.
10               So I sent those messages back to Dr. Hundahl.
11    I mean, he had to be aware of that.        He was probably
12    aware of Dr. White.      He was obviously aware of
13    Dr. Forest.     So I would say that he was aware of
14    virtually everything I did because I was -- I don't
15    think that I did anything that I didn't make almost
16    public, like, that I share with other people in --
17    in the -- that needed to know.
18               So like with Dr. White, Dr. Orseck, who was a
19    supervisor, was aware that I was helping Dr. White.           I
20    mean, like, you know -- and so Dr. Hundahl, who was
21    Dr. Orseck's supervisor, was also aware.
22         Q.    Okay.   And who does he supervise as the chief
23    of surgical?
24         A.    So he's retired, but he supervised all the
25    section chiefs.     First line supervisor for all the

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 1    section chiefs, so the chiefs of the eye service, the
 2    ear, nose and throat, that kind of stuff.
 3         Q.    Of the medical side?
 4         A.    Correct.
 5         Q.    Okay.    As compared to the administrative side
 6    which was handled by --
 7         A.    Right.    Mr. Graham and --
 8         Q.    Got it.    Okay.   I just want to go back to
 9    Mr. Graham for a second.
10               Do you know if he was aware of your prior EEO
11    activity for the Air Force case?
12         A.    I have no idea if he did.
13         Q.    Okay.    Do you know if he was aware of you
14    aiding physicians and employees regarding EEO
15    complaints?
16         A.    I -- I do not know.
17         Q.    Okay.    So let's talk about Mr. Stockwell.      What
18    is his role?
19         A.    He's the director.
20         Q.    And does -- is he supervised by anyone?       What's
21    his role in the chain of command?
22         A.    Everybody is supervised by everybody.       So he
23    is -- up until we get to the president.         So his first
24    line supervisor would be the VISN director, and then
25    the VISN director is supervised by somebody in Central

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 1    Office.
 2         Q.    Okay.
 3         A.    Yeah.
 4         Q.    Do you know who?
 5         A.    What?
 6         Q.    Do you know who Mr. Stockwell supervises?
 7         A.    He supervises all the other members of the
 8    Pentad, and then there are a couple other branches, I
 9    think -- I don't know if -- you know, public affairs.
10    There's a few other accessory branches that he would be
11    the first line supervisor that cover the whole
12    organization.
13         Q.    Okay.   And do you know if he was aware of your
14    national origin?
15         A.    I would think so.    He was in the organization
16    many years ago when he was a junior, so he would have
17    been at employee barbecues, et cetera, back then, and
18    then he came back as a director.        Like I said, I -- I
19    have been, you know, speaker of the -- at the Hispanic
20    Appreciation Month or whatever on several occasions.
21    He's seen me dance.      He's seen me interact with people,
22    et cetera.
23         Q.    Do you know -- do you know at what point in
24    time he became aware of this information?
25         A.    Well, he could have been aware of this

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 1    information either in the '90s or back when he came
 2    back.     I don't know.
 3         Q.    Okay.   And do you believe that he discriminated
 4    against you?
 5         A.    Yes.
 6         Q.    Okay.   Why do you believe he discriminated
 7    against you?
 8         A.    For the -- he's the ultimate chain of command
 9    person, and so he had -- he has the ability and
10    authority to stop or change anything that anybody below
11    him does, and I believe that he is the person that had
12    probably the most problems with -- so he was under fire
13    when these women were complaining.        In fact, he was
14    under huge fire because he went on the same channel I
15    think that they went and complained and said, well, if
16    they don't like it, they can walk out the door.          There
17    was a huge uproar in the organization about that, and
18    so -- and so he was clearly under fire and -- and I
19    think that that was a problem for him.
20         Q.    Did he ever -- I already asked that question.
21               And you do believe he retaliated against you?
22         A.    Yeah.
23         Q.    Do you know if he was aware of your prior EEO
24    activity involving the Air Force?
25         A.    I would be surprised if he wasn't, but I don't

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 1    know.
 2         Q.    Do you know --
 3         A.    He's -- he's never said anything to me.
 4         Q.    Do you know if he was aware of you aiding
 5    physicians in EEO complaints?
 6         A.    I would assume so, since people like the chief
 7    of HR knew, that somebody would have told him.          So if
 8    Dr. Cahill, who reports to him, Dr. Hundahl, second
 9    line chief of HR who reports second in line to him
10    knew, I would assume that he would know as well, but I
11    don't know that for a fact.
12         Q.    Okay.   And do you know when he became a
13    director or when he became involved in your chain of
14    command?
15         A.    I don't remember when he arrived.      Probably
16    around 2014, 2013, somewhere in that time range.          But
17    that's easy enough to find.
18         Q.    Now, Dr. Cahill, what is his title?
19         A.    He's the chief of staff.
20         Q.    And where does he fall in the chain of command?
21         A.    He is under the director, but I don't exactly
22    know how the branch goes to the chief medical officer
23    in the VISN.       The chief medical officer in the VISN is
24    sort of responsible for the medical care and so
25    therefore has some sort of connection.         So I don't know

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 1    if it's director and then chief medical officer in the
 2    VISN, but it's -- I know the director's responsible
 3    for --
 4         Q.    The abbreviation for Pentad?
 5         A.    Pentad is the name.    It's not an abbreviation.
 6    It's -- Pentad means the five people in charge of the
 7    organization.      They call themselves a pentad, you know,
 8    like quadrad, pentad.
 9         Q.    Got it.   Dr. Cahill, do you know if he was
10    aware of your national origin?
11         A.    I would think so.
12         Q.    Did he ever make any comments about your
13    national origin to you?
14         A.    No.
15         Q.    Okay.   Did Mr. Stockwell ever make any comments
16    about your national origin to him -- to you?
17         A.    No.
18         Q.    Mr. Graham, did he ever make any comments about
19    your national origin to you?
20         A.    Not that I remember.
21         Q.    And Dr. Hundahl, did he ever make any comments
22    to you about your national origin?
23         A.    No.   But he rarely spoke to me.     He would speak
24    to other people but not to me.
25         Q.    Okay.   So we're back on Dr. Cahill.      Do you

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 1    believe that he discriminated against you?
 2         A.    Yes.
 3         Q.    And what action do you -- how do you believe he
 4    discriminated against you?
 5         A.    So Dr. Cahill was Dr. Hundahl's supervisor.
 6    Dr. Cahill is on several emails where people --
 7    Lazarino is really at the epitome of it, made either
 8    disparaging remarks or were doing things that just --
 9    he was on emails about Dr. Forest, about Dr. Dow, and
10    he never stood up to stop anything.
11               Dr. Cahill more than anybody else knew what the
12    problems were with Hundahl.       He was intimately involved
13    in the case -- the Bonzani case that I reference in the
14    report where the jury found Dr. Hundahl to be an
15    unreliable witness and personally liable for getting
16    rid of Bonzani and as well the emails that Dr. Lazarino
17    sent, and he still allowed Dr. Hundahl to proceed
18    and -- a lack of action or not -- not stepping into
19    what you're supposed to do is in my -- in my mind doing
20    something -- not doing something is also an action.
21         Q.    Okay.   And do you believe that Dr. Cahill
22    retaliated against you?
23         A.    I think that he had the same sort of problem in
24    terms of what -- my role in the organization.          He's
25    very much -- he's a Air Force guy who does whatever his

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 1    commander tells him to do, and I think that -- to that
 2    extent, I think that, yes.
 3         Q.    How did he retaliate against you?
 4         A.    So he had the ability to create a way to allow
 5    me to do something on the medical side that would have
 6    maintained some of the status that being a site manager
 7    was.   When I met with Mr. Stockwell and then with
 8    Dr. Cahill, it was clear that since Mr. Stockwell did
 9    not support that -- to me, it was clear.         He didn't say
10    that outright, but through his body language and what
11    he said, that he was going to follow the chain of
12    command and not do that, and so in that respect he's --
13    he -- he followed through with what -- you know, like I
14    said, lack of action is action in my book.
15         Q.    And for what -- what activity did you engage in
16    that -- what protected activity do you believe the
17    retaliation was based on?
18         A.    Assisting people in their EEO complaints is the
19    main thing and assisting people in some of the
20    personnel issues that -- such as -- you know, if you
21    have a physician who is temporarily ill, that is not
22    the time to take -- you know, you try to do reasonable
23    accommodations.     You don't just axe them.
24         Q.    Do you know what his national origin is?
25         A.    He's definitely -- oh, is he Mormon?       I think

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 1    he's Mormon.       He's a white guy.
 2         Q.    Okay.   So he identifies as male?
 3         A.    Very much so, yeah.
 4         Q.    Okay.   Do you know if he was aware of your
 5    prior EEO activity with the Air Force and the VA?
 6         A.    You know, I don't remember exactly when
 7    Dr. Hundahl -- I mean, Dr. Cahill came onboard, but I
 8    believe he has been there long enough that the answer
 9    would have been yes.
10         Q.    Okay.   And did you -- but you don't know when
11    he would have become aware of that information?
12         A.    Not at all.
13         Q.    Do you know if he was aware of your aiding
14    physicians and employees with EEO complaints?
15         A.    Yeah.   He was on many of those emails as well.
16         Q.    Okay.   Do you know when he became aware of
17    that?
18         A.    No.
19         Q.    Okay.   And what was his role in supervising you
20    in any way?
21         A.    Well, he became my second line supervisor, but
22    as the chief of staff, he had a lot of input in
23    terms -- early on when I was site manager and he was
24    chief of staff, he worked with me to try to do things
25    like get more colonoscopies done or the wait lists down

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 1    or things like that.      So, I mean, we had to interact
 2    even when he wasn't in quote-unquote my direct line of
 3    supervision.
 4         Q.    Okay.   Is there anyone else that you believe
 5    discriminated or retaliated against you by removing the
 6    site manager duties from you that we haven't discussed?
 7         A.    Those are the people in authority.
 8         Q.    Okay.   I just want to make for sure we've gone
 9    over every one.     I think we can take -- we've been
10    going about an hour and a half.        So let's take a
11    ten-minute break and come back.        It's 1:22, and we can
12    come back at 1:32.      I mean, 2:22.
13               (Break, 2:22 p.m. to 2:36 p.m.)
14    BY MS. SMITH:
15         Q.    So Dr. Velez, what types of damages are you
16    seeking?
17               MR. HOYER:   I'm going to -- I'm going to
18    object, calls for a legal conclusion.
19    BY MS. SMITH:
20         Q.    Are you seeking -- are you claiming lost wages
21    as a result of this incident?
22               MR. HOYER:   Same objection.
23    BY MS. SMITH:
24         Q.    Go ahead and answer, Dr. Velez.
25         A.    I mean, I -- I lost some wages.      I think the

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 1    main loss is opportunity.
 2         Q.    Okay.    What else are you claiming?    So some
 3    lost wages, lost opportunity.
 4         A.    Well, definitely lost status in the
 5    organization, and then it's taken me a couple of years
 6    to even come close to my previous level of energy and
 7    enthusiasm, and nobody's going to give me those years
 8    back.
 9         Q.    Okay.    So in terms of making a claim for
10    emotional damages and mental health --
11         A.    Right.   And just what I will accomplish in
12    life.     I mean, we're all here to get as much done or to
13    make as much impact as we can, and, you know, that's --
14    that's a big issue for me.
15         Q.    Okay.    Are you alleging any financial damages
16    other than some lost wages, as we previously discussed
17    those medical bills?      Are there any other economic
18    damages?
19               MR. HOYER:   I'm going to object, calls for a
20    legal conclusion.
21    BY MS. SMITH:
22         Q.    You can answer, Dr. Velez.
23         A.    I mean, I don't -- so obviously I will have
24    incurred legal fees.      Obviously I have no -- the
25    opportunity costs of moving to a different system.           As

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 1    many people in the VA have done before me, we retire
 2    from the VA and then go work somewhere else and get
 3    vested somewhere else.
 4         Q.    I'm not sure I understand that.
 5         A.    So in medicine in general but in the federal
 6    government in particular, a lot of individuals will
 7    work until they are of retirement age, they retire, and
 8    then they go work somewhere else and retire from that
 9    system.     So I had for years -- and I'm sure I could
10    easily had a standing offer from Kaiser Permanente to
11    join them.       So that's what I mean by that.
12         Q.    Okay.   And do you still have a standing offer
13    from Kaiser?
14         A.    Not at this point because Klusman (phonetic),
15    who is the chief at Walnut Creek, has since retired.
16         Q.    Okay.   And that standing offer was not
17    rescinded because of the reassignment of site manager
18    duties?
19         A.    No.   But I think that Klusman, one of his
20    statements was that they're always looking for
21    physician leaders.      So I do think that that will impact
22    what is available.
23         Q.    Okay.   And that standing offer, do you know why
24    that no longer exists?
25         A.    I just haven't pursued it.     I mean, for ten

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 1    years he would -- every time I'd see him in meetings
 2    he'd say, If you want to come work at Kaiser, just call
 3    me.
 4          Q.    Okay.   Now, in terms of legal fees, have you
 5    paid anything out of pocket?
 6                MR. HOYER:   I'm going to object.    What's the
 7    basis for discovering how much she paid in a retainer?
 8                MS. SMITH:   Because she's claiming that as part
 9    of her economic damages.
10                MR. HOYER:   No, no, no.   Fee agreements are not
11    discoverable.       It's in the Business and Professions
12    Code.      You can't discover that.
13    BY MS. SMITH:
14          Q.    In terms of any other economic damages, have we
15    discussed everything?
16          A.    I believe so.
17          Q.    Okay.   What do you calculate your total
18    economic damages to be?
19                MR. HOYER:   That calls for a legal conclusion.
20    BY MS. SMITH:
21          Q.    What do you believe --
22          A.    I'm not -- I've not done that conclusion.
23          Q.    Okay.   Have you -- do you believe there's a
24    position within the Northern California VA that is the
25    equivalent to the site manager position?

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 1         A.    I would think that something like the assistant
 2    chief of staff, the associate director's positions are
 3    sort of equivalent.      The -- yeah.    There's no --
 4    there's no good comparison.       In nursing they have a lot
 5    of associate chief nurses, but in -- on the medical
 6    side we don't have a lot of those types of positions.
 7         Q.    And have you applied or made any efforts to
 8    become an AD or an assistant chief of staff following
 9    the 2018 memo?
10         A.    No.    I've applied for chief of surgery, and
11    I've applied for director but not since that memo.
12    I've applied before -- well, no.        Since that memo, I
13    applied for chief of surgery, but I did not apply
14    for -- I applied for director before that.
15         Q.    Okay.   Do you know if there's been any opens --
16    openings in AD positions or assistant chief of staff
17    following this memo?
18         A.    Yes.    There was an opening for assistant chief
19    of staff based in Sacramento that I did not want to
20    move for and I did not want to go through that -- the
21    process.
22         Q.    Okay.
23         A.    I would be working for Cahill and Stockwell.
24    There is a current opening right now because Mr. Graham
25    will be -- was promoted to be director in Washington.

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 1         Q.    Okay.   And are you planning to apply for that
 2    position?
 3         A.    I've been thinking about it, but probably not.
 4    I don't want to do only administrative work, and I'm
 5    not sure that the organization would be flexible enough
 6    to value this.     Even though in the past many of the
 7    directors in the organization were physicians, this
 8    current group I don't think would support that.
 9         Q.    In terms of emotional damages as a result of
10    the removal from the site manager duties, what specific
11    emotional distress or emotional damages are you
12    claiming as a result of this?
13               MR. HOYER:   Calls for a legal conclusion.
14    BY MS. SMITH:
15         Q.    You can go ahead and answer.
16         A.    I mean, I don't know exactly what you mean by
17    "damages."     I know that I was profoundly depressed.        I
18    know that I -- my garden and house went to hell.          I
19    know that I became less effective as -- in everything
20    else that I do.
21         Q.    Anything else?
22         A.    Well, I was -- you know, it's been a very slow
23    recovery, and I don't think I'm there yet.
24         Q.    Okay.   How long -- when did you first start
25    experiencing symptoms of depression?

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 1         A.    August 2018.   I mean, I -- I was -- I was quite
 2    devastated.     I was basically slapped in the face or
 3    stabbed in the back, whichever way you want to say it.
 4         Q.    Okay.   And so as a result of those feelings,
 5    did you see anyone for -- a mental health provider?
 6         A.    Absolutely.
 7         Q.    Okay.
 8         A.    I went -- I believe the next day I spoke to one
 9    of the mental health providers in Martinez that I've
10    known for many years and -- and then she actually told
11    me that the VA had a process and somebody to go talk --
12    speak to, and I went and spoke to that person.          Yes, I
13    absolutely did.
14         Q.    When you say the next day, do you mean the day
15    after you received this letter?
16         A.    Yeah.   Because this letter I got, like, at
17    6:00 p.m. or 5:30 p.m.      He and I were scheduled to
18    meet, I want to say like at 4:00 maybe, and I think I
19    walked -- I walked out of his office and there was not
20    a soul on campus basically.
21         Q.    Okay.   And how -- I guess what has your
22    treatment been like?
23               MR. HOYER:    The question's vague.
24    BY MS. SMITH:
25         Q.    How many times -- how often are you going to

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 1    see a provider?      Is it a psychiatrist?     Is it a
 2    psychologist?
 3         A.    I saw a psychologist once or twice, and it
 4    seemed totally worthless.       I went -- I've been seeing a
 5    psychiatrist.      COVID really impacted this so that, you
 6    know, I just -- that sort of fell apart during COVID
 7    because the Zoom just didn't work very well for the
 8    whole thing.       So prior to that, probably every couple
 9    of weeks.     In general, I -- I'm basically a very sort
10    of strong, independent person, and so it -- I was not
11    the kind of person who could even deal with, you know,
12    going more frequently, but I probably should have.
13         Q.    And did you receive any kind of diagnosis?
14         A.    Depression.   I even -- I tried antidepressants
15    for a while, and they didn't seem to make any
16    difference.     So I stopped them, but I tried for several
17    months.
18         Q.    Okay.
19         A.    It just -- you know, I think it was situational
20    depression basically, not endogenous depression, and
21    therefore there was really no effect.
22         Q.    Do you know who diagnosed you, who provided the
23    diagnosis of depression?
24         A.    You mean my psychiatrist?
25         Q.    Yeah.

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 1          A.    Do I know who he is?   Of course I know who he
 2    is.
 3          Q.    What is his name?
 4          A.    All right.   His name is Nicholas Rosenthal.
 5          Q.    Where does he practice?
 6          A.    He currently practices out of his home in
 7    Berkeley.
 8          Q.    Okay.   Do you know, like, what -- what
 9    organization he is associated with?
10          A.    I think he's an independent.     I mean, he used
11    to work for the VA, which is why I know him.           He's
12    smart and good and so -- yeah.
13          Q.    Okay.
14          A.    And he also could understand some of the issues
15    a little better.
16          Q.    Okay.   And who is Dr. Westin?
17          A.    Westin?   I don't know.
18          Q.    Who was the psychologist that you visited?
19          A.    Oh, okay.    That was Tom Westin.   Yes.    He --
20    ooh, I don't even know how I got to him.         There's
21    some -- you know, this is completely speculative.
22    There's some number or something that they tell you to
23    call or they refer you to, and I landed with him out of
24    either a list of names or something.         I don't even know
25    how I got there.

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 1         Q.    Okay.
 2         A.    I have no -- no prior connection, you know.
 3    Like, nobody referred me to him.
 4         Q.    Okay.
 5         A.    That's all I know about him.
 6         Q.    Other than Dr. Westin and Dr. Rosenthal, did
 7    you see any other mental health care providers?
 8         A.    Well, like I said, I talked to Joan Kotun,
 9    who's a neighbor that -- I mean, and a psychiatrist at
10    the VA in Martinez for many, many years.         She retired
11    recently.     And she -- you know, she's the person --
12    she's the one who recommended Nick.        Oh, actually I
13    think I told you his name wrong.        It's Rosenlicht, not
14    Rosenthal.
15         Q.    Oh.   R-o-s-e-n-l-i-c --
16         A.    I'd have to open my phone because it's one of
17    those names -- or let me see if I can write it.
18    L-i-c-h-t, I believe.
19         Q.    Okay.
20         A.    I don't know.    I think it's
21    R-o-s-e-n-l-i-c-h-t, but I'd have to really open my
22    address book to see.       I'm terrible -- I flunked every
23    spelling bee.
24         Q.    Okay.   So Dr. Rosenlicht prescribed medication.
25    Is that correct?

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 1         A.    Correct.
 2         Q.    And what did he prescribe?
 3         A.    Prozac.
 4         Q.    Okay.   And what dosage?
 5         A.    I don't remember.
 6         Q.    And did you tell -- how long did you take it
 7    for?
 8         A.    I don't remember that either, other than it
 9    was -- it was multiple months, but I don't remember.
10    Three, six, something like that.        I mean, I don't
11    remember.
12         Q.    Okay.   And did your symptoms improve with that
13    medication at all?
14         A.    No.
15         Q.    Okay.   And have your symptoms -- I'm sorry.
16         A.    No change.
17         Q.    Okay.   Have your symptoms improved since
18    August 2013?
19         A.    Yes.    Time cures everything, as they say.
20         Q.    Okay.   And are you still seeing Dr. Rosenlicht?
21         A.    Yes.    But very infrequently.   We were just
22    communicating recently about meeting in person now that
23    both of us are fully vaccinated and all that stuff.
24    We're still a little bit worried because we both see a
25    lot of people.       So, you know, it was -- speaking in a

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 1    room with a mask trying to follow people's facial
 2    expressions is not very good.
 3          Q.    So other than Westin and Rosenlicht, is there
 4    any other mental health care provider?
 5          A.    I think I've mentioned Dr. Kotun who I spoke
 6    to.
 7          Q.    Oh.    Dr. Joan Kotun, yeah.
 8          A.    Okay.
 9          Q.    Anyone else?
10          A.    She's K-o-t-u-n.
11          Q.    K-o-u-t-e-n.   Got it.
12          A.    No.    K-o-t-u-n, Kotun.
13          Q.    Thank you.   And is she with the VA?
14          A.    Not anymore.   She recently retired as well.
15          Q.    Okay.   Anyone else?
16          A.    No.
17          Q.    Okay.   Are you still experiencing symptoms of
18    depression?
19          A.    Yes.
20          Q.    Okay.   And what are those symptoms?     How do
21    they manifest?
22          A.    I mean, standard symptoms of depression.      It's
23    a lack of interest in things that I was previously
24    interested in.       It's a difficulty with attention and
25    sleep.      It's feeling hopeless, helpless, whatever you

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 1    want to call kinds of feelings.        It's -- for me the
 2    main thing has been, and what bothers me the most, is a
 3    lack of joy.     My whole life I've been super active and
 4    sort of a happy person.
 5               When the Air Force tried to destroy my career,
 6    I was depressed for a while.       At that point I had a
 7    newborn baby, and therefore I was not on any medication
 8    and I didn't see anybody, but I was quite depressed.
 9    The fact that the VA relatively quickly, within six
10    months or whatever, really came to my support I think
11    mitigated the fight against the Air Force in terms of
12    the feelings of -- almost the feelings of abandonment.
13    But this time the organization just continues to
14    marginalize me.
15         Q.    Is there anything that you used to do before
16    receiving this memo that you no longer do?
17         A.    It's a hard thing to answer for me.       I -- so
18    I'm not dancing as much, I'm not laughing as much, I'm
19    not gardening as much, I'm not -- I'm not going to the
20    gym as much, I'm not -- I mean, I'm -- I feel like I'm
21    tired or don't have interest much more than I have most
22    of my life.
23         Q.    So what do you do that brings you joy?
24         A.    I do those things.    I just don't do them very
25    much, and I don't have joy like I did.         Now, I've been

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 1    an artist and an athlete most of my life in addition to
 2    being a physician, and I don't think I've painted
 3    anything in the last three years.        I'm just -- I just
 4    recently started working on some garden sculptures,
 5    but, you know, I -- I've done that kind of stuff most
 6    of my life.      I've done all kinds of different artistic
 7    things.     I continue to do some athletics but nothing
 8    like before.
 9         Q.    And is that based on the fact that gyms are
10    closed or something else?
11         A.    No, no, no.   Just my -- just me.
12         Q.    Okay.
13         A.    I'm a rower, and so I can go out on a single in
14    the bay, and I'm not doing that.
15         Q.    Well, it's a gorgeous day today.
16         A.    That's why I look out the window all the time.
17    The window's right over there, and I can see the bay.
18         Q.    And there's one behind me, so you can see the
19    sunshine.     Okay.
20               So was there anything else going on around this
21    time family wise that caused symptoms of depression?
22         A.    No.   My husband and I are stable.     The kids are
23    healthy.     We've had the usual thing that, you know,
24    my -- I mean, my father died ten years ago, so nobody
25    recent, you know, like that has died.         I've had a

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 1    couple friends pass away, but one of them was a
 2    colleague of my husband's, another was a friend of
 3    mine, but nothing -- nothing like -- this is the
 4    biggest thing.      I mean, we all have issues that happen
 5    all the time.       The dog hasn't died.
 6         Q.    Did you have any of these feelings of
 7    depression prior to the reassignment of site manager
 8    duties?
 9         A.    Not to this extent, no.     I mean, you know, like
10    I was describing before when the Air Force was after me
11    just before my daughter was born, that was a hard time.
12    You know, when my dad was in the ICU dying, that was a
13    hard time, but no, not -- not -- not like this.          No
14    other thing has sent me to try to talk to a
15    psychologist.
16         Q.    My follow-up question was have you ever had
17    mental health intervention in the past?
18         A.    Oh, I saw a family therapist when I was married
19    to my first husband and we were trying to figure out
20    whether we were going to keep the marriage going, but
21    it was not really therapy.
22         Q.    About how long ago was that?
23         A.    Jesus.   30 years, 35 years, something.      A long
24    time ago.
25         Q.    I figured it was that way since you've been in

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 1    your house for 30 years.
 2         A.    Yeah.   I was in my twenties.
 3         Q.    Okay.   So did you talk to any social workers in
 4    the past?
 5         A.    I mean, that -- the family therapist I went to
 6    might have been a social worker.        I have no idea.
 7         Q.    Okay.
 8         A.    Yeah, I don't know -- I don't know what his --
 9    what he was.
10         Q.    Okay.   And do you have any difficulty with
11    sleep as a result?
12         A.    I have had more difficulty with sleep for the
13    last couple of years.
14         Q.    Can you describe what kind of difficulty you've
15    had?
16         A.    Falling asleep, staying asleep.
17         Q.    About how many nights out of the week does that
18    happen that you have difficulty falling asleep?
19         A.    Well, less so now than a couple years ago but
20    pretty much every night or every other night.          I don't
21    take anything for it.      I don't do anything for it.       I
22    try to meditate.
23         Q.    Now, you requested to be offered each of the
24    next five vacant positions of director in the West
25    Coast VA Health Care System.

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 1               How many vacancies have there been since 2018?
 2         A.    I am not aware -- so I have not been, like,
 3    searching USA Jobs, and I've also been depressed enough
 4    that I actually don't even feel that I have the energy
 5    right now to do it.      I mean, I know that I have the
 6    ability to do it because I was doing a comparable job
 7    ten years ago easily.      So I'm -- I have not been
 8    looking for them.     I mean, I know that the director in
 9    Palo Alto retired at one point and the guy who was -- I
10    think the chief of staff became the director, but I
11    don't -- I don't know.
12         Q.    Okay.   And other than what we've discussed
13    regarding your symptoms of emotional distress, are
14    there any other symptoms that we did not discuss?
15         A.    I don't think so.
16         Q.    Okay.
17         A.    I haven't been suicidal.     That's the thing
18    everybody worries about.
19         Q.    Okay.
20         A.    I think early on Nick was worried that I might
21    be suicidal because I was so depressed, but he kept
22    giving me his number.      I'm like, I don't need it, I've
23    got four kids, I'm not gonna --
24         Q.    And I believe you also in the complaint brought
25    up reputational damages.

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 1               What is your understanding or how do you
 2    describe reputational damages?
 3         A.    What people think of you.     I mean, that's what
 4    reputation means.      That's what I understand it to mean.
 5         Q.    Okay.    So how -- how do you allege -- why do
 6    you believe you have reputational damages?
 7         A.    I think that -- well, I mean, I think it's
 8    obvious.     I think it's -- people would involve me or
 9    ask me about things that they don't believe I can do or
10    have any influence over.       I think that -- I mean, I
11    just -- to me it's sort of obvious that it's there.
12         Q.    Well, what do you claim is that damage to your
13    reputation?
14         A.    That Mr. Graham and Mr. Stockwell removed me
15    from being site manager.       That has -- it makes me
16    appear much weaker or problematic, and the fact that
17    the organization has not done anything to restore any
18    sort of other way of saying no, no, she's a valuable
19    employee, that diminishes my status, absolutely.
20         Q.    I hate to ask someone this, but how old are
21    you?
22         A.    I was born in 1958.    We already established my
23    birth date.     June 7th.
24         Q.    Right.   I got that.   How old are you?
25         A.    I am 63.

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 1         Q.    Okay.   And how long --
 2         A.    I'm going -- I'm 62.    I will be 63 this year.
 3         Q.    In another month or so?
 4         A.    So as a rower, you're like racehorses.       We
 5    basically count our age January 1st.        So all the forms
 6    that I write for rowing is always I'm 63 starting
 7    January 1st.
 8         Q.    And do you have any activities planned coming
 9    up for rowing?
10         A.    Not really.   I mean, I -- I have some emails
11    with some -- text messages with some friends about
12    maybe trying to get back out in an eight sometime,
13    which would be more fun.
14         Q.    And have you taken any vacations since 2018?
15         A.    Hm, we went to Columbia before the August -- we
16    went to Columbia in July.       We might have gone to Russia
17    that year.     I don't remember.     I don't really remember.
18         Q.    Okay.
19         A.    We might have done a two-week -- so we try to
20    go -- I've gone to Mexico for a week to a friend's
21    house a couple of times in 2019, February, and 2020
22    because we came -- actually in Mexico we were following
23    COVID in China on the news with her, yeah.         So I was
24    there 2020.
25         Q.    How long are you planning on working for?

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 1         A.    At least for another ten years.      The terms
 2    where I work with in San Francisco are basically both
 3    ten years older than me and they're both talking about
 4    retirement right now, so --
 5         Q.    Are you claiming any other injuries or damages
 6    as a result of the reassignment of the site manager
 7    duties that we have not discussed?
 8         A.    I don't -- I can't think of that right now, but
 9    it's just -- yeah.      My brain's a little bit fried.
10         Q.    Okay.   So I would like to pull up what's been
11    previously marked as Exhibit 6, which is the initial
12    interrogatory responses, and just have you take a look
13    at them.     The questions will be very minimal at this
14    point.
15               (Whereupon Exhibit 6 was shown to the witness.)
16    BY MS. SMITH:
17         Q.    Why don't you go ahead and scroll through,
18    Dr. Velez, and let us know when you're done.
19               MR. HOYER:   Sorry, Valerie, was there an
20    Exhibit 4 or Exhibit 5?
21               MS. SMITH:   No.   I'm sorry.   Some of them have
22    been marked out of order because I was saving time as I
23    was going.
24               MR. HOYER:   I see, okay.
25               MS. SMITH:   But I will -- Mr. Hoyer, I will

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 1    send you a copy of all the exhibits for your records.
 2               MR. HOYER:   Okay, thanks.
 3               MS. SMITH:   Of course.
 4               THE WITNESS:   (Witness reviews document.)       You
 5    want me to read all whatever number of them there are?
 6    BY MS. SMITH:
 7         Q.    Well, have you seen this document before?
 8         A.    Yes, absolutely.
 9         Q.    Okay.    So you're familiar with this document?
10         A.    Yeah.    We can -- if I can look at whatever
11    thing to remind me, I'd be happy to, yeah.
12         Q.    Right.    I just wanted you to take a look at the
13    document and I wanted to ask you if you recognized it.
14    Okay.
15               Did you previously review this document?
16         A.    Yes.
17         Q.    Okay.    And the information contained within --
18    within Exhibit No. 6 is true and accurate?
19         A.    I have to go down to Exhibit No. 6.       I don't
20    know what that is.
21         Q.    Oh, no.   The whole document is Exhibit No. 6.
22         A.    Okay.    I'm like -- yeah, to the best of my
23    knowledge, yes.
24         Q.    Okay.    And do you believe that you included all
25    of the -- you included full responses, meaning is there

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 1    anything you're aware of now that you need to change?
 2         A.    I'd have to look at that in detail to tell you
 3    if there's anything that I would change, but to the
 4    best of my knowledge, no.
 5         Q.    Okay.   And I will provide a copy of this to
 6    Mr. Hoyer, so if there is information that you need to
 7    change, you can deal with that with your attorney.
 8    Those are all the questions I have about this document,
 9    Dr. Velez.
10         A.    Okay.
11         Q.    Can we have what's been previously marked as
12    Exhibit 7, which is document responses?
13               (Whereupon Exhibit 7 was shown to the witness.)
14    BY MS. SMITH:
15         Q.    Why don't you take a look and let me know if
16    you recognize this document.
17         A.    (Witness reviews document.)
18         Q.    So Dr. Velez, I see you're on page 5.       So far
19    do you recognize this document?
20         A.    Yes.
21         Q.    Okay.   Have you previously reviewed this
22    document?
23         A.    Yes.
24         Q.    Okay.   And you believe everything in it to be
25    true and accurate?      Well, let me rephrase that

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 1    question.
 2               You tried to be true and accurate in your
 3    responses to these requests?
 4         A.    Yes, absolutely.
 5         Q.    Okay.   And I -- are these responses complete?
 6         A.    To the best of my knowledge, yeah.
 7         Q.    Okay.   Do you --
 8         A.    Most of them are -- most of the responses
 9    were -- the question was so broad, like, when does
10    history begin or something, like those kinds -- that
11    was part of the big problem with the questions.
12         Q.    So do you believe you provided fair and
13    meaningful documents responsive to these requests?
14               MR. HOYER:   The question is vague.
15               THE WITNESS:   Yeah.   It's -- I mean, I'm
16    looking at this:      "All documents pertaining to any
17    losses, damages and/or expenses you claim in this
18    lawsuit."     Okay.   What are you talking about, you know?
19    That kind -- I mean, when I look at this and I go any
20    documents relating to any -- this is just like, you
21    know, give me everything about everything.         It's, like,
22    how many years do you want me to be working at this?
23    BY MS. SMITH:
24         Q.    Okay.   So my question is do you believe that
25    you provided meaningful responses?

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 1         A.    Yeah.
 2               MR. HOYER:   Same objection.
 3    BY MS. SMITH:
 4         Q.    Okay.   And you believe that your responses were
 5    comprehensive?
 6         A.    They addressed the requests as written.
 7         Q.    Okay.   And do you believe that you included all
 8    the documents that you're aware of that are important
 9    to your claim?
10               MR. HOYER:   Calls for a legal conclusion.
11               THE WITNESS:   So I -- I don't have, like,
12    folders that I've been putting things into or something
13    like that that would help me prepare for this for the
14    last 15 years.     So are some of these documents in some
15    file or folder that I am no longer aware of, possibly.
16    But, I mean, I work for the VA which means every single
17    email that I ever sent is available to the
18    organization.      For me to do a query of all the emails
19    and all my archived mailboxes, half of which I can't
20    reach because IT has changed their process, is
21    virtually impossible.      The agency can relatively easy
22    do a query looking for the names or whatever they want
23    to do the query on.
24    BY MS. SMITH:
25         Q.    So other than emails, have you provided all the

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 1    documents that you believe are important to your claim?
 2         A.    Well, I -- the most --
 3               MR. HOYER:   Same objection.
 4               THE WITNESS:   I don't have, you know, calendars
 5    and notes that are filed anywhere either.
 6    BY MS. SMITH:
 7         Q.    Okay.   Have you provided all the documents that
 8    you believe are important to your claim?
 9         A.    Yes.    I mean, it's -- to the extent that -- to
10    the extent that it's feasible, yes.        "All" is a very
11    difficult word in the English language because
12    virtually nothing is absolute.
13         Q.    Other than this -- other than the EEO complaint
14    related to this underlying action for the site manager
15    duties, have you filed any other EEO complaints?
16         A.    We already talked about that this morning.
17         Q.    Just the VA one and the Air Force one and this
18    one?
19         A.    Correct.
20         Q.    Okay.   So I'm going to -- I think we're done
21    with Exhibit 7 -- what's been previously marked as
22    Exhibit 7.     I'm going to have you shown what's been
23    previously marked as Exhibit 10.
24               (Whereupon Exhibit 10 was shown to the witness.)
25    BY MS. SMITH:

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 1         Q.    It's a two -- it's a two-page document.       Just
 2    go ahead and take a look at it.
 3               Do you recognize this document, Dr. Velez?
 4         A.    Well, I recognize the format of this document,
 5    but I don't -- let me see.       I don't remember this
 6    specific document.      Yeah.   I didn't even remember Bill
 7    Winter.     That's right.   He was the one that was
 8    assigned to me.
 9         Q.    Okay.   And did you create this document?
10         A.    Yes.
11         Q.    Okay.   Is the information contained accurate?
12         A.    Yes.
13         Q.    Do you need to make any changes to this
14    document?
15         A.    Well --
16               MR. HOYER:   Calls for a legal conclusion, as
17    did the question of whether she needs to make any
18    changes to the document.
19    BY MS. SMITH:
20         Q.    I can rephrase the question, Dr. Velez.
21               Is there any information that's inaccurate in
22    here that you would like to change?
23         A.    I don't think I need to change anything.
24         Q.    Okay.   If -- we're done with that exhibit.
25         A.    I just found a typo, but that doesn't change

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 1    it.
 2          Q.    Those haunt me.   Those haunt me in my sleep.
 3    So can we have what's been previously marked as
 4    Exhibit 4 shown to the witness?
 5                (Whereupon Exhibit 4 was shown to the witness.)
 6    BY MS. SMITH:
 7          Q.    And the subject of what's been previously
 8    marked as Exhibit 4 says "Notice of Acceptance of your
 9    EEO Complaint."      It's a three-page document.
10                Can you take a look at that and let me know if
11    you recognize it?
12          A.    Yeah, I remember this document.     This is --
13    yeah.
14          Q.    Okay.   And you received a copy of this
15    document?
16          A.    I've seen this before, so I must have received
17    a copy.
18          Q.    Did you do anything in response to this letter?
19          A.    I think I filed the things that I had -- that I
20    was supposed to do.      I mean, I don't -- I don't
21    remember.      I recognize the name Sophia Eaves.      I know
22    that I did whatever it was that I was supposed to do
23    and -- yeah, that's all I remember.
24          Q.    Did you disagree with anything in this letter?
25          A.    I don't -- I don't see anything to agree or

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 1    disagree to.      Am I missing something?
 2         Q.    If you look at Paragraph 2, it indicates that
 3    the -- "Your complaint of discrimination raises the
 4    following claim:     Whether claimant was discriminated
 5    against based on national origin (Hispanic), sex and
 6    reprisal (opposition to discrimination), when Timothy
 7    Graham, Associate Director, removed her from her
 8    assignment as Site Manager for the VA Northern
 9    California Health Care System Outpatient Clinic in
10    Martinez, California on August 20, 2018."
11               Do you disagree with anything in that?
12         A.    I don't disagree with that.     I can't -- you
13    know, the date is -- it was somewhere in August, but I
14    don't -- I assume this is correct.
15         Q.    Did you raise any objections to this acceptance
16    letter?
17         A.    I don't -- I don't remember if I raised any
18    objections.
19         Q.    If you raised -- if you had raised any
20    objections, would you have done so in writing?
21         A.    Yes.
22         Q.    So I would just demand if there was any
23    objections, that they be produced.        Did you file --
24    withdrawn.     We already know you filed only two EEO
25    complaints and your history.       So I'm done with

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 1    Exhibit 4.     If we could have what's been previously
 2    marked as Exhibit 11 shown to the witness.
 3               (Whereupon Exhibit 11 was shown to the witness.)
 4    BY MS. SMITH:
 5         Q.    Okay.    This is an eight-page document.     I'm
 6    going to let you scroll through it and let me know if
 7    you recognize it.
 8         A.    Oh, I didn't realize that Scott Hundahl was my
 9    second line.       Okay.   That's been wrong.   I assume that
10    all the site managers were up the chain, not over to
11    the side.
12         Q.    Do you recognize this document, Dr. Velez?
13         A.    The answer is yes and no.     I mean, all of this
14    looks familiar, and there are things that I know, but I
15    don't -- it's not something that I would have
16    remembered.
17         Q.    Okay.    Well, I'll let you finish scrolling
18    through the document before I ask any additional
19    questions.
20         A.    Yeah.    I think that this -- I do remember
21    somewhere I had gone over dates with these individuals,
22    but -- so this must have been the document that I
23    prepared when I went over all those dates.         Oh, yeah.
24    Okay.     Obviously this looks like it was in response to
25    questions, and I don't see the question.         I just see

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 1    the answer.
 2          Q.    I can ask the question.
 3                During the EEO process, did you submit an
 4    affidavit in response to questions that they provided
 5    to you?
 6          A.    I would assume so.   So is this what this is, is
 7    the response to those questions?
 8          Q.    I believe it is.
 9          A.    Okay.   Because all I see is "Sex: Female,
10    a. Male."      Okay.   Obviously there was a question about
11    who -- there's a person that goes with this because
12    nobody is female and then male.        Well, they can be but
13    usually not in this kind of a context.         This looks like
14    it has almost all the answers to the questions you
15    asked here today.      (Witness reviews document.)      Okay.
16          Q.    Have you had the time to look through what's
17    been previously marked as Exhibit 11?         Do you recognize
18    it?
19          A.    This -- this is -- Exhibit 11?
20          Q.    Yeah.
21          A.    Yes, I've had a chance to look at it.
22          Q.    And what do you recognize it to be?
23          A.    Well, it was a response to a series of
24    questions that were sent to me, I guess, by
25    Mr. Barthel.

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 1         Q.    And the information that is contained within
 2    these responses was made under the penalty of perjury.
 3    Is that correct?
 4         A.    I assume so, I mean, I assume that everything I
 5    write is under the penalty of perjury for these
 6    matters.
 7         Q.    Okay.   And so the information contained within
 8    Exhibit 11 is accurate?
 9         A.    To the best of my knowledge.
10         Q.    Okay.   So if we could have what's been
11    previously marked as Exhibit 8 pulled up for the
12    witness.
13               (Whereupon Exhibit 8 was shown to the witness.)
14    BY MS. SMITH:
15         Q.    It's an eight-page document, and on the top it
16    says "Transmittal of Final Agency Decision."
17               Have you seen this document before?
18         A.    Yes.
19         Q.    Okay.   And did you receive a copy of it?
20         A.    I must have since I've seen it.
21         Q.    Did you do anything in response to this
22    document?
23         A.    I imagine I did since I think this is the one
24    that says that we didn't find anything.
25         Q.    Okay.

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 1         A.    I mean -- and we're here because I did
 2    something in response to this.
 3         Q.    And at the top it looks like it was directed --
 4    it was sent to Michael Remler?
 5         A.    Correct.
 6         Q.    Who is that?
 7         A.    My husband.
 8         Q.    Okay.   Is there a specific reason why it was
 9    mailed to him and not to you?
10         A.    I believe that he -- this is a time when I was
11    significantly busy and I was having a hard time -- they
12    wanted things at certain times and communication, and
13    as a surgeon, like, I'm usually available before 8:00
14    in the morning and after 5:00 p.m., which wasn't
15    working.     So Mike works -- he's a neurologist, so he
16    has access to computers during daytime hours.          And so I
17    believe that we agreed that he would be the person that
18    they would be communicating through because if there
19    was anything important, he could communicate with me.
20         Q.    Okay.   And so after you received this letter,
21    what action did you take?
22         A.    I don't remember.    I don't remember.     It's the
23    next step in the process.       This is the kind of stuff
24    that is, like, all-informing for me.
25         Q.    Okay.   So whatever the letter tells you to do,

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 1    you did?
 2         A.    Whatever I'm supposed to do and whatever I find
 3    out is the next step, then that's what I did.
 4         Q.    Okay.   Do you have -- I'm done with the
 5    exhibit.
 6         A.    Okay.
 7         Q.    Do you have any social media networks, meaning
 8    Facebook, Instagram, MySpace RIP?
 9         A.    So the answer is I probably have everything
10    because when I was in business school in 2000 everybody
11    had, like, a MySpace account, but I don't think I even
12    know if it is active or exists.        I believe the last
13    time I tried to look at something that somebody sent me
14    on Instagram -- I have an Instagram account, but I
15    don't think I've ever posted anything on Instagram.
16         Q.    Okay.
17         A.    I have a Facebook account which I have
18    primarily used -- when my father was ill in the
19    intensive care unit, I used to post status so that all
20    the relatives in Columbia could find out, without me
21    getting a thousand emails, if they wanted to find out
22    what was going on.      But I rarely post anything on
23    there.     So the answer is -- to most of those things is
24    most likely yes, but I'm not a super active user of
25    anything social media.

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 1         Q.    Do you know what your Instagram user name is?
 2         A.    I have no idea.
 3         Q.    Do you know what your Facebook user name
 4    account is?
 5         A.    It's my email.    I believe it's -- I know at one
 6    point I had two because I think I opened one with my
 7    old email, pauline@remler.com, and I believe it's not
 8    the paulinevelez@mac.com.
 9         Q.    Okay.
10         A.    I mean, I don't -- I wouldn't know what the
11    name of it is.     I know when I get posts I just open
12    Facebook on my app, so I have no idea.
13         Q.    Okay.   Have you ever posted anything related to
14    this case on the Internet --
15         A.    No.
16         Q.    -- or social media?
17         A.    No.
18         Q.    Have you ever posted anything on the Internet
19    or social media related to the site manager position?
20         A.    I highly doubt it.
21         Q.    Okay.
22         A.    The only thing I can think of would be when
23    we -- so the VA has a social media page, and at one
24    point the person who did public relations was trying to
25    get us to be more involved.       So as a site manager, when

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 1    we were doing one of those stand-downs, I might have
 2    posted something because I was a site manager but not
 3    related to this issue.
 4         Q.    Okay.   Not related to the reassignment of
 5    duties issue?
 6         A.    No.
 7         Q.    Okay.
 8         A.    No.
 9         Q.    So the next thing I want to do is go through
10    the witnesses that you identified related to this case
11    and then your interrogatory responses, which was
12    Exhibit No. 6.
13         A.    Is that the same thing we looked at at the
14    beginning of that other document we looked at?
15         Q.    Yes.    We'll pull that up, so that way we can go
16    through each of those individuals.
17               MS. SMITH:   And just so the record is clear,
18    we're going to be requesting a release for those
19    medical records as well as any documentation regarding
20    payments of medical treatment, but I'll put that in
21    writing, Mr. Hoyer, so that way you can follow up.
22    Okay.
23    BY MS. SMITH:
24         Q.    So the interrogatory response -- I believe it's
25    No. 1 that has the list of individuals, the witnesses.

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 1         A.    There we go.   Now it's moving.
 2         Q.    So we're on page 2 of Exhibit 6, and the first
 3    individual identified is Cheryl Marshall.
 4               Who is Cheryl Marshall?
 5         A.    I think she started out as my secretary.       It's
 6    an administrative assistant I worked with for many
 7    years.
 8         Q.    And her information provided here, is that her
 9    most current contact information?
10         A.    Yeah.   For most of these individuals, all I
11    know is where they're at the VA.        Like, I don't have
12    home addresses or that kind of stuff for most of these
13    people.
14         Q.    Okay.   Do you have telephone contact
15    information for them?
16         A.    Her work phone number I know by heart, but
17    she's probably one of the few that I do know.
18         Q.    Okay.   And what is her work phone number?
19         A.    (925) 372-2084.
20         Q.    What information does she have related to this
21    case?
22         A.    So she has a lot of sort of knowledge of things
23    that occurred within surgical service, especially
24    related to -- she's a timekeeper as well as
25    administrative assistant, so she would have had

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 1    conversations with Dow and Forest and Martin and pretty
 2    much all of them, except for Lee, who is in Sacramento.
 3    And she knows some of the things that went on with
 4    them, you know.     Like, they got -- they want to suspend
 5    them, they didn't send the credential forms, those
 6    kinds of things.     She would have that kind of factual
 7    knowledge.
 8         Q.    Okay.   Does she have -- what factual knowledge
 9    does she have related to the removal of the site
10    manager duties?
11         A.    Well, she -- she knows me, and she sees me
12    down -- you know, we work in the same hallway, and she
13    would have known I was quite upset and that kind of
14    stuff.
15         Q.    Okay.   So she would be able to testify to your
16    emotional state?
17         A.    Partly, yeah.
18         Q.    Anything else?
19         A.    Well, she -- I mean, she knows what the
20    environment in the organization has been, and she
21    definitely knows what the environment of Dr. Hundahl
22    and surgical service was.
23         Q.    Anything else?
24         A.    No.
25         Q.    How long have you known her for?

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 1         A.    Well, I met her first when I was a resident.
 2    She was Dr. Tumey's secretary.        So she was one of the
 3    five or six secretaries that was in the surgery office
 4    when I started out as a resident in 1985 is when I
 5    probably met her.
 6         Q.    Okay.
 7         A.    You know, yeah.
 8         Q.    And do you consider her to be a friend outside
 9    of work?
10         A.    We don't go do something together outside of
11    work, if that's what you mean.        Like, I don't think
12    we've ever gone out for coffee or dinner, but yeah, if
13    I saw her at the nursery, we would talk and -- I mean,
14    yeah, we're friends, but we haven't done things
15    together.
16         Q.    So you do not associate with her outside of
17    work?
18         A.    No.
19         Q.    Okay.   How often do you speak with her?
20         A.    Almost daily because -- it's like all the
21    recruitments that we've done.       She has to -- she enters
22    the form, she says go sign it, we talk about time
23    cards, we talk about all kinds of things almost every
24    day.
25         Q.    Okay.   And so the next individual identified is

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 1    Martha Figueroa.
 2               Who is Martha?
 3         A.    Martha was the administrative assistant for the
 4    site manager position.
 5         Q.    And where is she currently?
 6         A.    She works out of Martinez.     I think she's
 7    mostly working from home at this point.
 8         Q.    And is she still in that role of an
 9    administrative assistant?
10         A.    No, no.   I think they -- well, actually perhaps
11    she is.     Perhaps she's just detailed.      I don't know.
12    She's working for -- oh God, what are they called?
13    It's the people who deal with the schedules but not
14    BDMS.     It's the program managers?     Practice managers.
15    That's what they call them.
16         Q.    Okay.   And what information does she have
17    related to the reassignment of site manager duties?
18         A.    Well, she was sort of caught in the crossfire
19    because I was her supervisor.       Nobody told her what was
20    going on.     She had no idea what was happening in the
21    office.     So she definitely would have that kind of
22    information.       She -- she worked with Derrick, who was
23    the -- so the administrative officer that was hired
24    under Mr. Graham, instead of under me, when they
25    decided to hire the vacancy for the secretary position.

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 1    So unbeknownst to me, they had me write the PD.          They
 2    had me write the whole thing.       Then they submitted it
 3    to come under the associate director and not under the
 4    site manager, even though they'd talked to me about
 5    this is a position to support the site manager.          So --
 6         Q.    When was that?
 7         A.    This was probably the spring of 2018, late -- I
 8    didn't find out till somewhere around May or June.
 9         Q.    Okay.
10         A.    And when I spoke to Mr. Graham, he basically
11    said, well, you know, this is what we decided.          I'm,
12    like, okay.
13         Q.    Did she have --
14         A.    So --
15         Q.    Sorry?
16         A.    Go ahead.
17         Q.    Did she have any basis of knowledge to testify
18    as to the reasons why this decision was made?
19         A.    I don't know.    I don't know.   She worked at the
20    office that Mr. Graham works in, and, you know, we were
21    sort of in the same area.       So she may have information
22    that I don't have.
23         Q.    How long have you known her?
24         A.    Just a second.    My son's -- the person who's
25    taking care of him is leaving.        I've known her at least

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 1    ten years, maybe more.      She was -- she was one of the
 2    people who did scheduling back when Ernie Johnson was
 3    around.     So she was one of the people that I was sort
 4    of second line supervisor to many years ago.
 5         Q.    And do you socialize with her outside of work?
 6         A.    No.   I also don't know her home address or --
 7    you know, I haven't done anything with her.
 8         Q.    Derrick Shelton, who is that?
 9         A.    Derrick Shelton is somebody that I hired as a
10    patient advocate.     As a site manager, I hired him as a
11    patient advocate, and then I actually supported him in
12    becoming the administrative officer that I was just
13    saying, the position that got hired under Mr. Graham.
14    And I don't know, about a year -- maybe a year and a
15    half ago he got promoted to being the site manager in
16    Oakland, and I believe just recently he moved to be the
17    site manager in Fairfield, Mare Island.
18         Q.    Do you know his national origin?
19         A.    He looks very much like an African American.
20    He's dark skin, but his father is actually from the
21    Dominican Republic.      I lived in the Dominican Republic
22    for six years, so we frequently tease each other about
23    he's Dominican.     So he's -- I don't know what he would
24    describe himself as, but he's half Latin black and half
25    American black.

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 1         Q.    And identifies as a male?
 2         A.    Yes, very much so.    An ex-Marine.
 3         Q.    And what information does he have related to
 4    the issue of the site manager reassignment?
 5         A.    He probably has more information than Martha.
 6    He was working directly for Mr. Graham.         He was at a
 7    lot of the meetings.      He knows -- he knows the way the
 8    site manager office worked with me.        He knows that --
 9    the things that were said that they would be able to do
10    were not done, and, I mean, he would know -- he would
11    know sort of like the reality of what that change
12    really accomplished.
13         Q.    Anything else?
14         A.    I mean, I don't know.    He's -- he's been in the
15    system.     He knows people in the organization, and he's
16    done the job.       So he's had lots of contact with these
17    individuals, so I don't know what he knows.
18         Q.    And --
19         A.    I rarely talk to him.    We talk whenever there's
20    things that we have to talk about.
21         Q.    Do you consider him -- do you socialize with
22    him outside of work?
23         A.    No.
24         Q.    All right.
25         A.    I'm -- I'm quote-unquote his friend, but I

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 1    don't know where he lives.       I know he has a young son.
 2    I see pictures every once in a while, but that's it.
 3         Q.    Okay.   Through social media or from him showing
 4    them to you?
 5         A.    Oh, him showing them to me.     Whenever we meet
 6    in person, he's got to show me baby pictures.
 7         Q.    Proud parent.   How long have you known
 8    Mr. Shelton?
 9         A.    I met him when he interviewed for the job of
10    patient advocate.     I'm going to guess or say it was
11    about six years ago or so, more or less.         It's --
12         Q.    Okay.   And Ruben Soto, who is that?
13         A.    Ruben Soto was the sort of lead patient
14    advocate.     He's one of the first patient advocates we
15    had in Northern California, and I've known him for
16    quite along time.     He ex-Army, sort of solving patient
17    problems all the time.      So whenever there was
18    complaints about a physician or a therapist or anybody
19    in the campus, he would get that from patients, and
20    frequently I would sort of step in to help, you know,
21    meet the patients' needs.
22         Q.    Do you have any contact information for
23    Mr. Soto?
24         A.    I believe -- I'd have to look at my phone to
25    see -- at one point I was sending text messages to a

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 1    number that was no longer valid, but I think I have at
 2    least a valid number.
 3         Q.    And do you socialize with him outside of work,
 4    or did you socialize with him outside of work?
 5         A.    No, no.
 6         Q.    How long have you known him?
 7         A.    Oh --
 8         Q.    I just heard you say a long time.
 9         A.    A long time.   Probably -- I believe he was
10    already in that position when I became site manager.
11         Q.    Okay.
12         A.    So close to three years ago.     That's why I
13    said, oh, about 20 years.
14         Q.    Okay.
15         A.    I don't know what he did before that, but I
16    have a feeling that he was around the organization
17    then, too.     He's one of those faces that I've known
18    forever.
19         Q.    What information would he have related to the
20    site manager reassignment?
21         A.    So he was also on campus when this occurred and
22    would -- he'd have some information about sort of me
23    and my state of mind and stuff like that to the extent
24    that any of them do.      I tend to be a very private
25    person.     I'm one of these people who will have a

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 1    massive migraine and nobody, except people who know me
 2    closely, will even know I'm in pain.
 3         Q.    So Miguel Sanchez, who is that?
 4         A.    Miguel Sanchez was a residential fellow that is
 5    a Ph.D. from Berkeley that works -- came to Martinez as
 6    a residential fellow.       He was assigned to be -- after
 7    Lee Miller left, he worked as the sort of
 8    administrative officer for me, for the site manager
 9    office for a few months.       Then he -- when he finished
10    his fellowship, he became the administrative officer
11    for the research service.       He was primarily in
12    Sacramento.     He is -- he had to deal a lot with both
13    Mr. Graham, Dr. Cahill, and Dr. Stockwell's office.
14    And he's a Mexican American male who is also ex-Marine
15    with -- who left the organization quite upset at the --
16    in essence, at the way he was treated.
17         Q.    Do you have --
18         A.    I do have his contact information also.       If I
19    can -- can I get my phone and give you the number?
20         Q.    Well, we'll go through this, and then you can
21    provide that information to your attorney and he can
22    provide that to me.
23         A.    All right.
24         Q.    It's more important to get through our
25    questions today than to pull out phone numbers.          As

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 1    long as you have it, then you can provide it to me.
 2         A.    I know I have Miguel's.
 3         Q.    Okay.
 4         A.    Because it took me a while to get it, and he's
 5    still living in Berkeley.       So I know -- we've been
 6    talking about just meeting up for coffee to just talk
 7    to him, but I haven't done that yet.
 8         Q.    And so do you socialize with Miguel outside of
 9    work?
10         A.    Well, "socialize" is a strong word.       I invited
11    him over for dinner once I finally found his contact
12    information because I'd heard through the grapevine
13    that he wasn't doing so well.       So he came over for
14    dinner one night, and we talked about getting together
15    again and that hasn't happened.        So I'm not sure that I
16    would call that socializing.
17         Q.    Okay.   And so how often do you think that you
18    speak to Miguel?
19         A.    Oh, I've spoken with him two or three times in
20    the last six months.      I mean, not much.     Just around
21    the time I was trying to reach out to him and make sure
22    he was okay.
23         Q.    Have you discussed this lawsuit with him?
24         A.    He knows that I filed this lawsuit, yes,
25    because he was telling me how upset he was.          And so,

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 1    you know, we commiserated, but not a lot of detail.            It
 2    was just that yes, I was following through with the
 3    lawsuit.
 4         Q.    Did you ask him to testify on your behalf?
 5         A.    I asked him if it was okay to contact him.
 6    Everybody that I put on this list I've at least warned
 7    that is it okay if somebody calls you.         I don't want
 8    people to get blind-sided.
 9         Q.    Okay.   And what information does he have
10    related to the site manager reassignment?
11         A.    Well, I don't know related to the specifics of
12    the site manager reassignment.        He has information on
13    the organizational culture.       He has information
14    regarding how Mr. Stockwell and Dr. Cahill support
15    diversity or don't support diversity or that kind of
16    information, as someone who was in Sacramento working
17    relatively closely with him.
18         Q.    Okay.   And Dr. -- so this is Ron Chun.
19               Is that the doctor that we previously talked
20    about?
21         A.    Correct.
22         Q.    Okay.   And so just briefly, what's the -- his
23    basis of knowledge?      What would he testify to?
24         A.    The only thing was that he was also -- I mean,
25    I just wanted to make sure to be inconclusive.          He's

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 1    somebody that was the site manager in Oakland, was
 2    removed and became the chief medical officer and then
 3    decided to retire because he also felt that it was a
 4    loss of status.      I believe that he works as a part-time
 5    consultant in Oakland every once in a while, but I'm
 6    not sure.
 7               (Break requested by court reporter.)
 8               MS. SMITH:   Yeah.   It's convenient now if we
 9    want to take five minutes.
10               (Break, 3:49 p.m. to 4:01 p.m.)
11    BY MS. SMITH:
12         Q.    So do you socialize with Dr. Chun outside of
13    work?
14         A.    No.
15         Q.    Let's move on to Maria Miller-Carelock.
16               Who is that?
17         A.    She was a site manager at Fairfield and Solano.
18    She since left Northern California and I believe is
19    working for the Long Beach VA.
20         Q.    Okay.   And do you know her national origin?
21         A.    She's African American.
22         Q.    Identifies as female?
23         A.    Yes.
24         Q.    Okay.   Who did she report to?
25         A.    Graham.

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 1         Q.    From Solano she reported to Graham?
 2         A.    Correct.   The associate director was in charge
 3    of the East Bay program.       I think I talked about that
 4    earlier.
 5         Q.    Yes.
 6         A.    Fairfield, Mare Island, Martinez.
 7         Q.    And when was she site manager, over what
 8    period, if you know?
 9         A.    Well, I don't really know, but she was a site
10    manager for several years before 2018 and for maybe
11    about a year after that.       I think she's been gone for
12    two years more or less.
13         Q.    Do you have contact information for her?
14         A.    I believe I have a cell phone number.       I think
15    she didn't change the cell phone number.
16         Q.    Do you have contact information -- sorry.
17         A.    I think she lives in Indio and she works for
18    Long Beach.
19         Q.    Do you have contact information for Dr. Chun?
20         A.    I probably do.   I would -- I just have to look
21    at my phone.
22         Q.    Okay.   And how long did you -- let me rephrase
23    the question.
24               What information would Maria be able to provide
25    related to the reassignment of site manager duties?

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 1         A.    Well, so because Maria is -- was a nondoctor
 2    site manager, she relied on me and then on Dr. Chun to
 3    help her out with issues in Solano County.         So she knew
 4    what the job of being a site manager was.         She knew --
 5    she coordinated with us so that the sites were
 6    coordinated across, but she -- she clearly, I think,
 7    valued having some outside doctor help that wasn't just
 8    the main doctor that was in charge in Solano.
 9         Q.    Does she have any information related to the
10    decision?
11         A.    I don't know.
12         Q.    Okay.   Do you socialize or have you socialized
13    with her outside of work?
14         A.    No.   She's invited me to go to Indio, which is
15    why I know she lives in Indio.        I just haven't been
16    there.
17         Q.    Do you have any vacations planned coming up?
18         A.    I'd like to go back to Mexico, but I don't have
19    any -- to go kayak and waterboard, you know.
20         Q.    Ethyl Warren, who is that?
21         A.    She's a nurse that does quality assurance in
22    Oakland.
23         Q.    And what information would she have related to
24    this claim, this lawsuit?
25         A.    She would have information just related to the

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 1    discriminatory actions in the VA.        I think she's also
 2    filed a EEO complaint.      She's got -- she -- I mean,
 3    she's had issues within the QI group who report
 4    directly to, I believe, the chief of staff.          It might
 5    be the director.
 6         Q.    Okay.   And does she have any information
 7    related to the removal of site manager duties?
 8         A.    I don't know.   She also worked closely with
 9    Dr. Chun, so I don't know what information she has.
10         Q.    Do you or have you socialized with her outside
11    of work?
12         A.    No.   I'm not even sure I have her personal cell
13    phone, you know, or cell phone outside of work.          Her
14    phone would just be listed in the directory.
15         Q.    Who is Kathleen Toms?
16         A.    A nurse known as Kitty.     She is an older Army
17    nurse, I believe, military definitely, but I think it's
18    Army, who has also had a lot of discriminatory and some
19    retaliatory actions against her.
20         Q.    And what, if any, information does she have
21    related to the removal of site manager duties?
22         A.    I don't know that she has any direct
23    information.       She is in the nursing world.    She works
24    in the same hallway as I do but -- so anything that she
25    knows would be what she's heard.

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 1         Q.    Do you have her contact information?
 2         A.    I can get that.
 3         Q.    Do you or have you socialized with her outside
 4    of work?
 5         A.    No.
 6         Q.    What about Ingrid Kwee?
 7         A.    She's a neurologist, and she was the medical
 8    director when I wrote this, I believe.         She has since
 9    stepped down from that position and is I believe just a
10    staff neurologist.      She -- she and I worked together
11    for many years in terms of setting up the long-term
12    facility and also collaborated in getting the sort of
13    brain wealth and -- health and wellness, sorry, center
14    set up, which is to manage patients with a combination
15    of traumatic brain injuries and PTSD, and so she is
16    sort of another go-getter.       She's boarded in medicine,
17    neurology, geriatrics.
18         Q.    And who was -- and her position is medical
19    director at CREC, C-R-E-C?
20         A.    It's Center for Rehab and Extended Care.
21         Q.    Thank you.   Who did she report to?
22         A.    She might actually have reported to my husband
23    as chief of neurology.       From sort of an administrative
24    point of view, she sort of was in that in between
25    medicine and neurology.

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 1         Q.    Okay.   And what, if any, information does she
 2    have related to the removal of site manager duties?
 3         A.    I don't know what information she has.       She
 4    might have some information because of the sort of
 5    restructuring that was happening with long-term care,
 6    which is when ultimately she decided to step down from
 7    that position.
 8         Q.    And do you socialize with her outside of work,
 9    or have you socialized with her outside of work?
10         A.    I have socialized with her outside of work to
11    some extent.       She -- I've also known her since I was a
12    resident.     She was a junior faculty person, and there
13    was some resident sexually harassing another resident,
14    a committee that was put together, and she -- I was the
15    surgery representative, and she was the outside person
16    that spearheaded that investigation.
17               So I met her first then, and then because my
18    husband and she had worked together for many years,
19    I've seen her at multiple -- I mean, I wouldn't
20    consider her a close friend.       I've been to her house
21    several times for neurology events or events associated
22    with a craft or something like that.
23         Q.    And how often do you speak with her?
24         A.    Speak with her.   She calls me not infrequently.
25    She calls me because she knows I know where she can get

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 1    patients to.       I spoke to her this week, for instance,
 2    either yesterday or the day before yesterday because
 3    she wanted to know who to send somebody with an ear,
 4    nose and throat problem to in Redding.         So I would say
 5    I speak to her, on average, once a week.
 6         Q.    Okay.   Who is Arthur Akkerman?
 7         A.    Art Akkerman is the social worker who worked in
 8    Northern California in sort of the administrative
 9    domain.     He was the administrative officer for the
10    nurse executive at Mather in Sacramento, and he is a --
11    he's a homosexual guy who sort of started the LGBT
12    support group within the VA.       He experienced -- and I
13    don't know any details of his complaint or what went on
14    with him.     I just know that he had -- he got moved from
15    that position to a human resource position, and he
16    worked straight down the hall from where I worked, on
17    the same floor in Martinez, as part of some sort of
18    settlement with his dispute with the nurse executive.
19               He has a lot of knowledge of how the culture
20    works at the directors level, at the directors suite.
21    He is now the chief of social work.        He just got a
22    promotion recently to be the chief of social work at
23    the Denver VA.      I would have to -- the only contact
24    information I would have is looking at the VA
25    directory.

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 1         Q.    When he -- where was his office located when he
 2    was in the Northern California VA?
 3         A.    About five, six doors down from mine on the
 4    same floor.
 5         Q.    At Martinez?
 6         A.    Yeah.
 7         Q.    Okay.   And so --
 8         A.    Like many of the staff on that -- in that
 9    corridor, they depended on my secretary Jean Peterson,
10    for support.       Jean would sort of, you know, bide the --
11    make sure they had paper in the copy machine and --
12         Q.    Okay.
13         A.    -- mark, you know, things like that.
14         Q.    And what information would he have related to
15    the reassignment of site manager duties?
16         A.    He would have a little bit of information about
17    how I reacted to it, but other than that, I'm not sure
18    he'd have any direct information.        He does have a lot
19    of information on the sort of culture of the
20    organization.
21         Q.    Who is Jane Inaura?
22         A.    So it's -- I think she pronounces it Inaura.
23    She looks white, but the name doesn't sound white.           I
24    don't know what her national origin is.         Jane was the
25    employee nurse, employee -- you know, the employee

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 1    health nurse, and I went to her -- she might have been
 2    the person who told me about the mental health.          But I
 3    went to her probably also the day after -- you know,
 4    one or two days after I spoke to Mr. Graham.          She knows
 5    how upset I was.
 6         Q.    And any other information that she would have?
 7         A.    I don't think so.
 8         Q.    And did --
 9         A.    I don't think I have contact information for
10    her.    She recently retired, like, about a month ago or
11    so, and I don't think I have any information on her.
12         Q.    Do you socialize with her in any way outside of
13    work?
14         A.    No.
15         Q.    Okay.    How long have you known her for?
16         A.    I mean, because she ran employee health,
17    probably ten years maybe, maybe a little bit more.           I
18    don't know.       Not -- I had to get her an office.     I had
19    to help her with a person to support her at one point,
20    you know, just knowing her at work.
21         Q.    And the next person listed is Joan, Dr. --
22         A.    Yes.
23         Q.    Dr. Joan Kotun.   How do you say that again?
24         A.    Kotun.
25         Q.    Kotun.   And that's the individual we previously

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 1    talked about?
 2         A.    Correct.
 3         Q.    And do you have contact information for her?
 4         A.    Yes.    Because she lives in Berkeley closeby.
 5         Q.    Okay.   And do you socialize with her outside of
 6    work?
 7         A.    We've had a couple of things that we've met at
 8    or -- our kids are approximately the same age.          So when
 9    she was pregnant -- in fact, I think her second
10    daughter and my second son were born within a month of
11    each other.       So when they were little we would get
12    together for birthday parties at the park and things
13    like that but not -- we don't -- I mean, I wouldn't say
14    we socialize very often.       Probably once a year.
15         Q.    And how often do you speak to her?
16         A.    Oh, I haven't spoken to her since the beginning
17    of COVID until I ran into her on the street this last
18    week -- or two weeks ago and found out she'd had her
19    hip replaced and she'd retired and all kinds of things
20    I didn't know.      Yeah, not very often obviously.
21         Q.    And other than what we've testified to
22    regarding emotional distress, does she have any other
23    information related to the site manager position?
24         A.    I don't think so.
25         Q.    Okay.   Chris Howell, who is that?

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 1         A.    He's the chief of human resources until not too
 2    long ago.     He also retired, hm, within the last six
 3    months.
 4         Q.    Okay.   And do you have contact information for
 5    him?
 6         A.    I don't have contact information for him
 7    outside of the organization at this point, and I don't
 8    know -- I don't know.
 9         Q.    And what was -- where did he fall in the chain
10    of supervision?
11         A.    He was under Mr. Graham and then Stockwell, and
12    then he was acting associate director before Mr. Graham
13    was hired.
14         Q.    Okay.   What information does he have related to
15    the reassignment of site manager duties?
16         A.    He may have a significant amount of
17    information.       He was the chief of human resources.      So
18    I don't -- you know, I don't -- I don't know exactly
19    what information he has.       He's the one, though, that
20    told me that Mr. Stockwell had told him he wanted him
21    to do that when he was acting.
22         Q.    Is this documented anywhere?
23         A.    No.
24         Q.    Okay.   It was just a verbal conversation?
25         A.    Yeah.   He was one floor down from where I am,

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 1    and he might have actually told my husband first.
 2    They're on the same floor in Martinez.
 3         Q.    Anything else?
 4         A.    No.   I mean, he's got plenty of organizational
 5    management information given that he was chief of human
 6    resources for many years.
 7         Q.    Have you socialized with him outside of work?
 8         A.    No.   I think he lives somewhere up in
 9    Sacramento.
10         Q.    Who is Wafa Samara?
11         A.    Wafa Samara is a pharmacist who went -- so she
12    was a stay-at-home mom when her husband was -- when the
13    kids were little, and then she decided to come back and
14    be a pharmacist and she wanted to do administrative
15    stuff.     So she moved up the chain relatively quickly.
16    I sort of, you know, helped her out with a couple
17    projects and stuff early on as a pharmacist.          Then she
18    went off and did leadership VA and came back and was
19    the acting associate director in Sacramento.          Then she
20    was -- I believe she was chief of pharmacy in
21    Sacramento first for a couple years, and then she --
22    she was not chief of pharmacy because Julio was still
23    chief of pharmacy.
24               She had some prominent role in the organization
25    in pharmacy in Sacramento, and then she was the acting

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 1    associate director in Sacramento for a while.          I know
 2    she applied for the position.       She wasn't selected.
 3    Then she went to the Fresno VA as chief of pharmacy and
 4    was disenchanted with the organization as she was not
 5    supported to become the VISN chief of pharmacy and left
 6    the organization, went to work at the NIH as -- in
 7    charge of their research program and then was just
 8    relatively recently, within the last six months or
 9    maybe a year, probably about six months -- it was
10    during COVID -- was recruited by City of Hope to be a
11    vice president of City of Hope in Pasadena.
12         Q.    And who was she supervised by?
13         A.    She would have been supervised by Dr. -- by
14    Mr. Stockwell when she was acting associate director.
15    Before that, she would have been supervised by Julio
16    Lopez under pharmacy when she was in Northern
17    California.
18         Q.    And as chief of pharmacy, who was she
19    supervised by?
20         A.    I don't know because that was at a different VA
21    in Fresno.
22         Q.    Okay.   And do you socialize with her outside of
23    work?
24         A.    No.   I was supposed to call her a couple nights
25    ago because she's about to become a grandmother, but I

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 1    haven't socialized with her.
 2         Q.    How often do you speak with her?
 3         A.    Oh my God.   I hadn't spoken with her for two or
 4    three years until I wanted to try to find out her
 5    contact information.
 6         Q.    Okay.   What information would she have related
 7    to the removal of site manager duties?
 8         A.    I don't know that she has any direct
 9    information.       I believe she had already left the
10    organization around that time, but she most definitely
11    has information about the culture of the organization
12    and discriminatory activities within our organization.
13         Q.    Okay.   Who is Victoria McGregor?
14         A.    She's a vascular technologist that I supervise.
15    She -- I got her -- she's, like, an amazingly good
16    technologist.      I got her because she was herself
17    experiencing some discrimination within the radiology
18    department and was getting absolutely no support, and
19    so I actually met with the chief of radiology and we
20    agreed to sort of transfer -- I had a vacancy in the
21    vascular lab, so she came to work for me instead.
22         Q.    What information does she have related to the
23    removal of site manager duties?
24         A.    I don't think she has any information directly
25    about that.

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 1         Q.    Who is Eugene Lee?
 2         A.    He's the physician that we've talked about
 3    Hundahl going after and that I supported.
 4         Q.    And what information would he have related to
 5    the removal of site manager duties?
 6         A.    I don't think that he'd have much information.
 7    He has information about things that Dr. Hundahl
 8    would have said or done and a bit about Dr. Cahill as
 9    well.
10         Q.    And things he would have said regarding you?
11         A.    Perhaps.   I mean, I know that when I first met
12    Eugene Lee, he'd been there already for several years.
13    He was surprised I was actually a nice person because
14    he told me actually that Dr. Hundahl had told him that
15    I was out to destroy his program or destroy him or
16    something.
17         Q.    Anything else?
18         A.    I believe there's been at least one other thing
19    that he's told me.      Oh, that I'm -- I don't -- I don't
20    remember exactly what, but it was something about my
21    EEO activities that he had heard from Hundahl.
22         Q.    Anything else?
23         A.    I believe he lives in the organization as well.
24         Q.    Okay.   And do you have his contact
25    information?

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 1         A.    I would have his contact information, yes.
 2         Q.    Sandra Martin, who is that?
 3         A.    She's a podiatrist that we talked about a while
 4    back that I helped who Dr. Lazarino was trying to get
 5    fired even though she was one of the most productive
 6    podiatrists in the entire system.
 7         Q.    Sorry.   I just want to go back to one quick
 8    question about Dr. Lee.
 9               Do you socialize with him outside of work?
10         A.    No.
11         Q.    Okay.    How about Dr. Martin, do you socialize
12    with her outside of work?
13         A.    I've met her outside of work, yes.
14         Q.    Okay.
15         A.    So it's interesting.    She is a referee for
16    the -- or I think she might have quit being that, but a
17    referee for the U.S. Rowing Association.         So we would
18    always meet at the regattas or races and things like
19    that to kind -- she held the state boat -- she was at
20    the state boat holding my boat on more than one
21    occasion before the start of a race, and she loves
22    water sports.       So she and I have gone paddling and
23    stuff like that, and I've actually met her in Mexico to
24    do water sports a couple of times.
25         Q.    Okay.    How many times -- so you've vacationed

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 1    with her?
 2         A.    Yeah.   I've talked to her very little in the
 3    last couple of years, but yeah.
 4         Q.    How many times have you vacationed with her?
 5         A.    Either two or three times.
 6         Q.    And have you been over to her house?
 7         A.    I've been to her house in Sacramento when she
 8    had a knee replacement surgery and I was in Sacramento
 9    and I stopped by to give something to her, but that's
10    the only time I've been to her house.
11         Q.    Okay.   Has she been to your house?
12         A.    I don't think so.
13         Q.    Okay.   How often do you speak with her?
14         A.    Hm, she sends me a text message every once in a
15    while.     She was in Mexico this year, so she sent me a
16    picture of Mexico.
17         Q.    And what information would she have related to
18    the removal of site manager duties?
19         A.    She wouldn't have any information about that.
20    She has information about the handling of the way
21    Lazarino and the administration handled that whole
22    thing.
23         Q.    Okay.   And John Green, who is that?
24         A.    He's a physician.    He's an internist who is the
25    associate chief of staff for ambulatory care who

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 1    co-chairs the credentials committee with Dr. Cahill.
 2    So he would know -- what he knows is some of the
 3    actions that Dr. Hundahl brought against providers
 4    who -- through the credentialing process.         That's
 5    really about it.
 6         Q.    Okay.    Any information related to the site
 7    manager position?
 8         A.    Well, he relied -- still to this day actually
 9    relies on me -- he calls me up and says, Okay, you know
10    more about space than anybody else around here and asks
11    me questions, but he -- he was aware of the action, but
12    I don't think that he has any direct knowledge.
13         Q.    Do you have his contact information?
14         A.    Just at work.
15         Q.    Do you socialize with him outside of work?
16         A.    No.   Never have.
17         Q.    It says --
18         A.    I've known him since 1985.     He was chief of the
19    emergency room back then.
20         Q.    Who is his -- what's his line of supervision?
21         A.    Cahill would be the first line.
22         Q.    And --
23         A.    At least that's what -- you never know in this
24    organization, but it should be Cahill.
25         Q.    Who is Gloria Salter?

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 1         A.    She's the social worker who was the union
 2    president around the time when the actions against
 3    Dr. Forest, Dr. White, and Dr. Dow, I believe -- maybe
 4    it was Dr. Lee as well -- were going on.         She hasn't
 5    been president in the last couple of years.          I think
 6    she's running again for reelection.
 7         Q.    And where --
 8         A.    I've known her because she was a social worker
 9    in the CREC, the Center for Rehabilitation and Extended
10    Care.
11         Q.    What information would she have related to the
12    site manager position?
13         A.    I don't think that she'd have anything related
14    to the site manager position.       She has extensive
15    information about my involvement with some of these
16    people and some of the doctors.
17         Q.    Involvement related to the EEO activities?
18         A.    Correct.
19         Q.    Okay.   And contact information would be through
20    the VA?
21         A.    Yeah.
22         Q.    Do you socialize with her outside of work?
23         A.    No.
24         Q.    Thomas White, who is that?
25         A.    Tom White was the ENT surgeon that we talked

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 1    about.     It's the Dr. White that Dr. Hundahl sort of
 2    forced out.
 3         Q.    And what information would he have related to
 4    the site manager position?
 5         A.    None.
 6         Q.    None, okay.   Ken Fox, who is that?
 7         A.    Ken Fox was the administrative assistant to
 8    Mr. Graham, and then he -- I don't know if it was
 9    compete for, but he was given the position as site
10    manager of Mare Island and Fairfield and he -- I'm sure
11    he has knowledge of the plan that Mr. Graham had to
12    eliminate the site manager position, as I had been told
13    by two people at least that he had told them, You don't
14    need to pay attention to Dr. Velez, she's not going to
15    be the site manager for long.       So I know he would have
16    had information about that.
17         Q.    And was that information communicated to you
18    directly?
19         A.    Yeah.   I think I wrote that down.     In one of
20    the documents that we looked at, it actually had that
21    information.       Doreen Valerio was a nurse anesthetist
22    that worked for us and then the sort of lead scheduler,
23    lead admin person in primary care.
24         Q.    Was that information communicated in writing or
25    documented in any way?

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 1         A.    No.    They told me.
 2         Q.    Okay.   And what about him to them, what about
 3    from Mr. Fox to those individuals, do you know if that
 4    information was documented?
 5         A.    I have no idea.
 6         Q.    Okay.
 7         A.    No one's ever sent me an email.
 8         Q.    Okay.   Do you associate with Mr. Fox outside of
 9    work?
10         A.    No, not at all.
11         Q.    Do you have his contact information?
12         A.    I do not.   He -- my understanding is sometime
13    during the summer he disappeared and that he was sort
14    of forced out or resigned.
15         Q.    Do you know his national origin?
16         A.    He's African American.
17         Q.    Okay.   And identifies as male?
18         A.    Yes.
19         Q.    Who is Brian O'Neill?
20         A.    He was the director at the time when the
21    Lazarino problem started as well -- I'm going the wrong
22    direction.       Sorry guys.   He's -- so he has significant
23    amount of knowledge about Dr. Hundahl's behavior toward
24    staff.     He was the director at the time of the Bonzani
25    events and the outside report that looked at and said,

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 1    you know, this is what we need -- that there's a
 2    problem with the way Dr. Hundahl relates to employees.
 3         Q.    And would he have any information related to
 4    the reassignment of site manager duties?
 5         A.    No.   He had retired by then.
 6         Q.    Okay.   I just want to go back for a second.
 7               What was Ken Fox's chain of supervision?
 8         A.    Well, it was Mr. Graham and I -- I mean, I
 9    don't know who the second line is, but I would assume
10    it's Mr. Stockwell.
11         Q.    Okay.   Who is -- is it Zenna Moore?
12         A.    Zenna Moore was the surgery quality nurse
13    who -- she was also an Air Force nurse beforehand, and
14    the only thing I would say is that -- I don't actually
15    know what prompted her sort of abrupt departure, but I
16    know she actually wrote a letter to the person who was
17    in charge of EEO at the time because she was quite
18    upset when she left the organization, but she did not
19    want to waste energy on pursuing an EEO complaint.           She
20    just wanted to document it.
21         Q.    And what, if any, information does she have
22    related to the position of site manager?
23         A.    None.
24         Q.    Okay.
25         A.    She'd already left.

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 1         Q.    Karen Putnam, who is that?
 2         A.    She's the supervisor for the operating room in
 3    Sacramento who also has experienced Dr. Hundahl's
 4    behavior and also has some information as to the
 5    credibility of some of his actions because, as the
 6    operating room nurse supervisor, they sort of know how
 7    various different surgeons operate or don't operate.
 8         Q.    Does she have any information related to the
 9    removal of site manager duties?
10         A.    No.   She's in Sacramento.
11         Q.    Who is Elizabeth Blohm?
12         A.    Elizabeth -- so Liz Blohm is a -- the chief of
13    BDMS, and she oftentimes functions as acting associate
14    director for Mr. Graham.       They communicate a lot, and I
15    would expect that she may actually have some
16    information about the process or the removal.          She also
17    was, I believe, friends with Mr. Stockwell back in the
18    '90s when he was there.      At that point he was in
19    Martinez, and they had kids that were approximately the
20    same age.
21         Q.    Who was -- what was her line of supervision?
22         A.    Her line of supervision is still Mr. Graham and
23    then Mr. Stockwell.
24         Q.    Okay.   Do you associate with her outside of
25    work?

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 1         A.    No.
 2         Q.    Do you have her contact information?
 3         A.    Just through work.
 4         Q.    Okay.   Monica Santistevan?
 5         A.    Santistevan.
 6         Q.    Santistevan.   Who is she?
 7         A.    She's now a patient advocate.      She was
 8    Mr. Graham's secretary.
 9         Q.    Okay.   And when was she Mr. Graham's secretary?
10         A.    Well, definitely 2018.     I think she just got
11    the job of patient advocate less than a year ago, when
12    Ruben retired, which I think was last July or August.
13         Q.    What, if any, information would she have
14    related to the site manager position?
15         A.    She is likely to have some -- at least more
16    information than I have since, you know, she's the
17    secretary.
18         Q.    Of Mr. Graham?
19         A.    Correct.
20         Q.    And do you have her contact information?
21         A.    Just through work.
22         Q.    Do you associate with her outside of work?
23         A.    No.
24         Q.    And Scott Hundahl we already talked about.
25    David Mastalski?

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 1         A.    Mastalski.   Mr. Mastalski was the associate
 2    director before Mr. Graham.
 3         Q.    Okay.   So was he employed with the VA at the
 4    time of the action?
 5         A.    No.   He had retired.
 6         Q.    Okay.
 7         A.    But he's the person that when my administrative
 8    officer left, they would recruit that position and
 9    he -- I believe he was also -- he worked closely with
10    Mr. Stockwell and I think -- and he decided he did not
11    want to remove me from being site manager.
12         Q.    And is that documented anywhere?
13         A.    It might be, but not to me, not to -- not to my
14    knowledge.
15         Q.    It was not documented in any correspondence to
16    you?
17         A.    No.
18         Q.    Okay.
19         A.    He would never --
20         Q.    And is it -- what, if any, other information
21    would he have?
22         A.    I mean, he -- he may have some -- you know,
23    what the motivation is, but I don't know.
24         Q.    And are you friends with him or do you
25    associate with him outside of work?

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 1         A.    No.   I have totally lost contact with him
 2    unfortunately.     He retired in Tucson, Arizona.
 3         Q.    Is there anyone else that we have not discussed
 4    who would have information related to the removal of
 5    the site manager or the reassignment of site manager
 6    duties?
 7         A.    Well, I mean, the other person who might know
 8    but I don't have any -- you know, I just know her is
 9    Beverly Atherton-Pierce.       She was the administrative
10    assistant to the director.
11         Q.    She's the administrative assistant to
12    Mr. Stockwell?
13         A.    Correct.   And she was the administrative
14    assistant for Dr. O'Neill as well.
15         Q.    And her -- it's Deborah?     What's her last name?
16         A.    No.   I just blanked -- it's Beverly.      The first
17    name is Beverly.      Last name is Atherton-Pierce, and I
18    don't know how to spell that.
19         Q.    She's still in that position?
20         A.    Correct.
21         Q.    And she was in that position in 2018?
22         A.    Correct.
23         Q.    Okay.   And do you associate with her outside of
24    work?
25         A.    No.

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 1         Q.    Okay.   Is there anyone else?
 2         A.    That's all the people I can think of right now.
 3         Q.    Okay.   And have you asked any of these
 4    individuals to provide you a statement?
 5         A.    I have not.
 6         Q.    Have they provided any written statements?
 7         A.    I don't know.
 8               MR. HOYER:    I'm going to object and instruct
 9    the witness not to answer to the extent that her
10    information is based on communications with her
11    attorney.
12               MS. SMITH:    Okay.   I am done with this exhibit.
13    If we could pull up what's been previously marked as
14    Exhibit 9.
15               (Whereupon Exhibit 9 was shown to the witness.)
16    BY MS. SMITH:
17         Q.    Take a second.    Exhibit 9 is a two-page
18    document, Dr. Velez.       Take a second and look through it
19    and let me know once you've had the opportunity to look
20    through it.
21         A.    (Witness reviews document.)
22         Q.    Have you had an opportunity to review the
23    document?
24         A.    Yes.
25         Q.    And do you recognize it?

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 1         A.    Yes.
 2         Q.    What do you recognize it to be?
 3         A.    A list of people that I would consider
 4    similarly situated.
 5         Q.    Who created this list?
 6         A.    I would have created this.
 7         Q.    Okay.
 8         A.    Because the organization just sent something
 9    saying I don't know what they are.
10         Q.    So the individuals I see are broken down by
11    subheading, the chief of staff's office, and you have
12    listed one, two, three -- five individuals.
13         A.    Correct.
14         Q.    Do any of those -- were any of those
15    individuals supervised by Mr. Graham?
16         A.    No.    These individuals would have been under
17    Dr. Cahill's supervision, Stockwell as second.
18         Q.    Okay.   And the deputy chief of staff, what are
19    her duties and responsibilities?
20         A.    It's always been a little bit murky, but to
21    help out Dr. Cahill with the clinical services.          I
22    think there was a few services -- clinical services,
23    like pharmacy, that she directly supervised, but she
24    became involved in a lot of different things that the
25    chief of staff had become involved with.

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 1         Q.    Okay.   And the assistant chief of staff, John
 2    Green, what were his duties and responsibilities?
 3         A.    Ostensibly to oversee what they call CBOC,
 4    which is the, I don't know, clinical ambulatory centers
 5    or something like that.      I don't know what the acronym
 6    stands for, but it's looking at all the smaller places
 7    and care provided there.
 8         Q.    And where was he staffed, at Martinez or
 9    somewhere else?
10         A.    He's sitting in Martinez.
11         Q.    Okay.   And what about Raja --
12         A.    So Raja was the assistant chief of staff for
13    education.
14         Q.    Okay.
15         A.    I think he since is no longer doing that.        I
16    don't know exactly what he's doing.        Tony -- because I
17    got an email message that Tony Albanese is now the
18    assistant chief of staff for education.
19         Q.    Okay.   And --
20         A.    This document is in constant flux, obviously.
21    Some of these people have retired.        Some have left.
22    Some have been replaced.       This is as of that date.
23         Q.    Okay.   So in terms -- who did the -- there's a
24    second section, Physician Service Chiefs.
25               Who did they report to?

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 1         A.    Cahill.
 2         Q.    Okay.   And then who is their second line
 3    supervisor?
 4         A.    Most likely would have been Stockwell.
 5         Q.    Okay.   There's also a second column on the
 6    right, and it starts -- the first line is "white,
 7    white, white."
 8               Who created this identification?      What does
 9    this stand for?
10         A.    This is me.   What is their race, I mean, what
11    do they look like.
12         Q.    Okay.   And that's just based on your visual
13    observations?
14         A.    Well, from -- for some of them it could be just
15    their visual observation.       Some of them I know fairly
16    well.
17         Q.    Okay.   Does site managers -- we've already
18    discussed their lines of supervision.
19               Who supervised Jane Addagatla?
20         A.    Oh, I don't remember who the associate director
21    was at the time.     Now it's -- it's John Hinson, but I
22    don't remember who the associate director was in
23    Sacramento at the time.
24         Q.    Okay.   If we can scroll down to the
25    additionally similarly situated individuals.

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 1         A.    Maybe I can.   It seems to need a warm-up try.
 2         Q.    There's another heading that says "Clinic Lead
 3    Physicians."
 4               What does that mean?
 5         A.    So in the sites that are small -- Fairfield,
 6    Mare Island, Redding, Chico -- there is a lead
 7    physician title.      These were the site -- at the time,
 8    these were the sites that had a nonphysician site
 9    manager.
10         Q.    I'm sorry.   Can you say that again?
11         A.    In the places where the site manager was not a
12    physician, there was the lead -- clinical lead
13    physician's title.
14         Q.    Okay.   So there was -- so in addition to having
15    a clinical lead physician, there would also be a
16    separate site manager?
17         A.    Correct.
18         Q.    Okay.
19         A.    That and an admin person.
20         Q.    Got it.    Do you know who supervised Joann?
21         A.    Dr. Basaram's supervisor would probably have
22    been who was supervising primary care at the time, and
23    it might have been Stroheker.       I believe all three of
24    these are primary care physicians with Dr. Stroheker as
25    first line, Dr. Cahill as second.

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 1         Q.    But it would not have been Mr. Graham?
 2         A.    No.
 3         Q.    Okay.    In medicine, the heading of "Medicine,"
 4    who were these individuals?
 5         A.    These are the section chiefs in medicine, and I
 6    wrote down what section so it is sort of more obvious.
 7    The cardiologists, the gastroenterologists, the
 8    hematologists, the dermatologists, that's who these
 9    people are.      And the supervisor would have been the
10    person we saw at the beginning, Dave Siegal.          Second
11    line would have been Cahill.
12         Q.    David Siegal, what was his position?
13         A.    Chief of medicine.
14         Q.    Okay.    And in here is there listed the
15    assistant chief?
16         A.    They did not have an assistant -- they did
17    actually.     No.   I failed to put that person in.      That
18    would have been Art Swislocki, who was located in
19    Martinez.     His first line would have been Dave Siegal.
20         Q.    Okay.    And if you scroll down a little bit
21    further, you have surgery?
22         A.    Correct.
23         Q.    And who would have been the supervision in this
24    section?
25         A.    Most likely -- well, Dr. Hundahl.

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 1         Q.    Okay.   And what, if any, supervision did you
 2    have over these individuals?
 3         A.    None.   All of these individuals are in
 4    Sacramento except for Linda Margulis in Martinez.
 5         Q.    Who supervises her at Martinez?
 6         A.    Dr. Hundahl supervised her even though she's
 7    stationed in Martinez.
 8         Q.    Okay.   And as well as -- so are all of these
 9    individuals just physicians or are they section chiefs
10    or something else?
11         A.    They're all section chiefs.
12         Q.    Okay.
13         A.    They were section chief for the section that is
14    listed following their name.
15         Q.    Okay.   Thank you for clarifying.     And the last
16    section you have is the CREC.       You have two individuals
17    listed.
18               How were they organized?
19         A.    So Dr. Agarwal is associate chief of staff for
20    geriatrics.     Her first line supervisor would have been
21    Dr. Cahill.     And Dr. Heinrich is now the chief medical
22    officer.
23         Q.    In 2018, what was his position?
24         A.    Oh, he would have been a staff physician in
25    2018.     Dr. Kwee -- when I wrote this document, he was

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 1    already the chief medical officer.        In 2018, I believe
 2    Dr. Kwee was still the chief medical officer.
 3         Q.    Okay.   And as chief medical officer, what are
 4    his duties and responsibilities, if you know?
 5         A.    Oversight of the long-term care unit and the
 6    physician and nurse practitioners.
 7         Q.    And who was he supervised by?
 8         A.    I believe that they've changed -- I mean,
 9    they've now changed the organizational structure so
10    that Dr. Agarwal supervises all the -- supervises him,
11    maybe actually supervises all the long-term -- I don't
12    know.     She might supervise all of them in the first
13    line or she's supervising the rest of them in second
14    line.     I don't know.
15         Q.    So there might be someone in between
16    Dr. Agarwal and Heinrich?
17         A.    No.   There's somebody -- it's possible that the
18    other physicians, the first line is Dr. Heinrich,
19    second line Agarwal.
20         Q.    Okay, okay.    So do any of these individuals you
21    have listed as being similarly situated, were they
22    supervised -- withdrawn.       I've already asked who they
23    were all supervised by, so we know.
24         A.    I believe that it's -- the similarly situated
25    is more appropriately the physicians who have

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 1    administrative duties and not the individuals who are
 2    full-time administration, like the administrative
 3    service chiefs, who don't have that balance of clinical
 4    duties and administrative duties.        The administrative
 5    service chiefs were first line supervision to
 6    Mr. Graham, but their duties would have been 100
 7    percent administrative services.        These are all
 8    individuals who are a mix of administrative and
 9    clinical leads.
10         Q.    Okay.   And even in your role as assistant chief
11    of surgical service, you have a mix of administrative
12    duties and clinical duties?
13         A.    Correct.
14         Q.    Okay.   Why do you think the individuals listed
15    in this Exhibit 9 -- or do you think the individuals
16    listed in Exhibit 9 were treated more favorably than
17    you?
18         A.    I think some of them have definitely been
19    treated more favorably, and it's a -- I don't think
20    anybody has had similar actions.
21         Q.    Who do you believe was treated more favorably
22    than you?
23         A.    I think what I said is I don't believe anybody
24    was treated as unfavorably.
25         Q.    Is there anything else that you want to add

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 1    about your claims that we did not discuss today?
 2         A.    I don't think so.    I'm in a bit of a fog.
 3         Q.    Okay.   Do you know of any discriminatory
 4    action -- looking at Exhibit No. 9, do you believe that
 5    there were any discriminatory actions taken against
 6    any of these individuals based on their national
 7    origin?
 8         A.    No.
 9         Q.    And do you believe that there -- again looking
10    at Exhibit No. 9, do you know if any discriminatory
11    actions were taken against any of these individuals
12    based on their sex?
13         A.    No.
14         Q.    Do you know if any of the individuals
15    identified in Exhibit 9 were retaliated against for
16    involvement in EEO activity?
17         A.    I don't know that any of them were involved in
18    EEO activities.
19         Q.    Okay.
20         A.    Just looking at this, I think there's only
21    about five, six women.
22         Q.    Okay.   Is there anything about your injuries as
23    a result of the removal of the site -- reassignment of
24    site manager duties that we have not discussed?
25         A.    Oh, in looking at this --

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 1               MR. HOYER:   Objection, calls for a narrative,
 2    calls for a legal conclusion.
 3    BY MS. SMITH:
 4         Q.    Dr. Velez, you can respond.
 5         A.    I don't remember the question anymore.
 6         Q.    Is there anything about your injuries that we
 7    have not discussed?
 8         A.    No.   All I was going to say is that looking at
 9    this list, what stands out to me is that I used to
10    collaborate with virtually every single one of these
11    positions and I no longer do.
12         Q.    Okay.   So I just want to take a minute to
13    review and make sure that I haven't over -- you know,
14    sometimes you check things off to come back to.          Just
15    give me a few seconds.
16               How many times did you discuss the reassignment
17    of the site manager duties with Mr. Graham?
18         A.    I don't remember.    More than once, but I don't
19    remember how many times.
20         Q.    And did you submit a written grievance to him?
21         A.    I believe so.
22         Q.    Okay.   Can I have what's been previously
23    identified as Exhibit 5 shown to the witness?
24               (Whereupon Exhibit 5 was shown to the witness.)
25    BY MS. SMITH:

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 1         Q.    You're looking at a one-page document dated
 2    September 27th, 2018, addressed to you, Pauline Velez,
 3    M.D.
 4               Can you take a moment to look at it?
 5         A.    (Witness reviews document.)
 6         Q.    Have you seen this document before?
 7         A.    Yes.
 8         Q.    What do you recognize it to be?
 9         A.    His response to my -- my initial message.
10         Q.    Okay.   And within his response he includes an
11    explanation as to why those -- the actions were taken,
12    or is this just related to your request for the chief
13    medical officer?
14         A.    I think it's mainly just requests -- I didn't
15    see that, but I'd have to read it more carefully.
16    Yeah.     He says "with the expectation of similarly
17    situated assistant chiefs and service chiefs."
18         Q.    Okay.   So he clarifies your duties and
19    responsibilities as an assistant chief?
20         A.    Sort of.   Not really but sort of.
21         Q.    Okay.   And it indicates that you had the
22    opportunity to meet in person to discuss your informal
23    grievance?
24         A.    That's what it says.    It says that we met on
25    September 12th.

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 1         Q.    Okay.   Do you --
 2         A.    I know the previous -- we looked at another
 3    document that said August 20th and I was unsure of the
 4    date.     Now I can see why I was unsure of the date.        It
 5    looks like it was August 27th.        So I don't know what --
 6    why those discrepancies.
 7         Q.    Did you meet with him more than once?
 8         A.    Well, I met with him the day he handed me the
 9    letter and obviously September 12th, but I don't -- I
10    might have met with him other times.        I don't know.
11         Q.    Okay.   And that -- that's the rest of the
12    questions I have regarding that.        Give me one more
13    second.
14               So I don't have any questions -- any additional
15    questions at this time.        However, we had made some
16    document demands for records.        So I'm going to leave
17    this deposition open, and if we have additional
18    questions, then we will continue discussions of
19    rescheduling and continuing this deposition.
20               MR. HOYER:   Well, I don't know that there are
21    grounds to continue the deposition, and we won't
22    stipulate to that certainly at this point, but I don't
23    have any questions for the witness.
24               MS. SMITH:   Thank you very much for your time,
25    Dr. Velez.

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 1              MR. HOYER:    Thank you.
 2              COURT REPORTER:    Mr. Hoyer, would you like a
 3    copy of the transcript?
 4              MR. HOYER:    No, thanks.
 5
 6              (Deposition adjourned at 5:00 p.m.)
 7
 8
 9
10                     ______________________________
11                              PAULINE VELEZ
12
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 1    STATE OF CALIFORNIA             )
 2                                    ) ss.
 3    COUNTY OF SAN FRANCISCO         )
 4                     I hereby certify that the witness,
 5    PAULINE VELEZ, in the foregoing deposition was by me
 6    duly sworn to testify to the truth, the whole truth and
 7    nothing but the truth, in the within-entitled cause;
 8    that said deposition was taken at the time and place
 9    herein named; that the deposition is a true record of
10    the witness's testimony as reported by me, a duly
11    certified shorthand reporter and a disinterested
12    person, and was thereafter transcribed into typewriting
13    by computer.
14                     I further certify that I am not interested
15    in the outcome of the said action, nor connected with,
16    nor related to any of the parties in said action, nor
17    to their respective counsel.
18                     IN WITNESS WHEREOF, I have hereunto set my
19    hand this 12th day of May, 2021.
20    Reading and Signing was:
21    _X_ requested     ___ waived    ___ not requested
22
23
24
25                         CYNTHIA F. DAMMANN, CSR No. 10610

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